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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re
                                                                Chapter 11
SAMSON RESOURCES CORPORATION,
                                                                Case No. 15-11934 (BLS)
                 Reorganized Debtor.


PETER KRAVITZ, as Settlement Trustee of
and on behalf of the SAMSON
SETTLEMENT TRUST;
                                                                Adv. Pro. No. 17-51524 (BLS)
                      Plaintiff,
v.                                                              Filed Under Seal

SAMSON ENERGY COMPANY, LLC, et al.,
         Defendants.


                 DECLARATION OF LIJUN ZHANG IN SUPPORT OF
        TRUSTEE’S MOTIONS IN LIMINE TO EXCLUDE EXPERT TESTIMONY OF
                   SUZANNE B. ROSKI AND STEVEN T. ALMRUD

          1.          I, Lijun Zhang, am over 18 years of age and am able to testify to the matters

stated herein of my own experience and knowledge.

          2.          I am an attorney with the law firm of White & Case LLP, counsel to Peter

Kravitz, as the Trustee of and on behalf of the Samson Settlement Trust (the “Settlement

Trust”) established pursuant to the Global Settlement Joint Chapter 11 Plan of Reorganization

of Samson Resources Corporation and Its Debtor Affiliates (with Technical Modifications) (the

“Plan”) [Bankr. D.I. 2009] in this matter.

          3.          I submit this declaration in support of the Trustee’s Motion in Limine to Exclude

Expert Testimony of Suzanne B. Roski [Adv. Pro. D.I. 378] and the Trustee’s Memorandum of

Law in Support of Its Motion in Limine to Exclude Expert Testimony of Suzanne B. Roski [Adv.

Pro. D.I. 379], as well as the Trustee’s Motion in Limine to Exclude Expert Testimony of Steven


AMERICAS 102633558
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T. Almrud [Adv. Pro. D.I. 380] and the Trustee’s Memorandum of Law in Support of Its Motion

in Limine to Exclude Expert Testimony of Steven T. Almrud [Adv. Pro. D.I. 381].                     This

declaration is based on my personal knowledge and upon my review of the records of this and

related matters.

          4.          Attached hereto as Exhibit A is a true and correct copy of Expert Report of Todd

W. Filsinger issued in the above-captioned adversary proceeding, dated as of July 27, 2021.

          5.          Attached hereto as Exhibit B is a true and correct copy of Expert Report of Scott

Baxter (Part 1 of 2) – Samson Onshore Transaction issued in the above-captioned adversary

proceeding on July 27, 2021, as amended on August 23, 2021.

          6.          Attached hereto as Exhibit C is a true and correct copy of Expert Report of Scott

Baxter (Part 2 of 2) – Samson GoM Transaction issued in the above-captioned adversary

proceeding on July 27, 2021, as amended on August 23, 2021.

          7.          Attached hereto as Exhibit D is a true and correct copy of Expert Report of

Richard F. Strickland, PhD, PE issued in the above-captioned adversary proceeding on July 27,

2021, as amended on August 23, 2021.

          8.          Attached hereto as Exhibit E is a true and correct copy of Expert Report of

Suzanne B. Roski issued in the above-captioned adversary proceeding on October 20, 2021, as

amended on November 9, 2021.

          9.          Attached hereto as Exhibit F is a true and correct copy of the excerpted transcript

of Suzanne B. Roski’s deposition in the above-captioned adversary proceeding, dated as of

March 2, 2022.




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          10.         Attached hereto as Exhibit G is a true and correct copy of the excerpted transcript

of Marc Lipschultz’s deposition in the above-captioned adversary proceeding, dated as of

December 13, 2019.

          11.         Attached hereto as Exhibit H is a true and correct copy of Expert Report of Steven

T. Almrud issued in the above-captioned adversary proceeding on October 20, 2021.

          12.         Attached hereto as Exhibit I is a true and correct copy of the excerpted transcript

of Steven T. Almrud’s deposition in the above-captioned adversary proceeding, dated as of

March 22, 2022.




                                                       3
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Executed on this 6th day of July 2022 in New York, NY.




                                               /s/ Lijun Zhang
                                               Lijun Zhang




                                                   4
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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

In re
                                                      Chapter 11
SAMSON RESOURCES CORPORATION,
                                                      Case No. 15-11934 (BLS)
          Reorganized Debtor.


PETER KRAVITZ, as Settlement Trustee of
and on behalf of the SAMSON
SETTLEMENT TRUST;
                                                      Adv. Pro. No. 17-51524 (BLS)
            Plaintiff,
v.                                                    Filed Under Seal

SAMSON ENERGY COMPANY, LLC, et al.,
         Defendants.




                                  Expert Report

                                          of

                                Todd W. Filsinger

                                   July 27, 2021




                                                                                     1
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                              Expert Report of Todd Filsinger



I.   Introduction

     A.      Scope of Assignment

     1. I, Todd W. Filsinger, have been retained by White & Case, LLP, on behalf of its

          client, Peter Kravitz, the Settlement Trustee of and on behalf of the Samson

          Settlement Trust, in connection with Peter Kravitz v. Samson Energy Company, LLC,

          Adv. Proc. No. 17-51524 (BLS) (Bankr. D. Del).

     2.           I have been retained to address the following questions related to the

     December 21, 2011 acquisition (the “Transaction” or “LBO”) of Samson Investment

     Company (“SIC” or “Samson”) by a consortium of equity sponsors (the “Sponsors”) led

     by Kohlberg, Kravis, & Roberts (“KKR”):

          a) Were the stress case commodity price assumptions in the models prepared by

             KKR to evaluate the Transaction reasonable in light of what was known and

             reasonably foreseeable at the time of the leveraged buy-out (“LBO”) and, if not,

             what would have been reasonable stress case commodity price assumptions at the

             time of the Transaction?`

          b) Were the hedging assumptions in KKR’s models reasonable in light of what was

             known and reasonably foreseeable at the time of the Transaction and, if not, what

             would have been reasonable hedging assumptions?

          c) What is the financial impact under KKR’s models of replacing KKR’s

             assumptions for stress case commodity prices and hedging with what I consider to

             be reasonable assumptions?

                                                                                                 1
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B.     Expert Qualifications and Compensation

3.         I am the Senior Managing Director of Filsinger Energy Partners (“FEP”).

FEP is an energy advisory firm that provides high-level strategy, economic and market

evaluation, corporate budget development, compensation program design, gross margin

forecasting, power and fuel price forecasting, risk management, independent engineering,

expert testimony, operational observation of electric operations and wildfire mitigation

programs, and complete interim management solutions to energy, industrial, and

manufacturing companies and their stakeholders. In managing FEP, I have assembled a

team of experts who have been intimately involved in over a dozen restructurings and

financings of gas, oil and electric assets and companies over the past three decades. In

addition, I have experience managing trading programs which included analysis and

implementation of hedges.

4.         After graduating from Colorado State University with a degree in mechanical

engineering, I began my career in 1986 at the former R.W. Beck, one of the leading

independent engineering and technical due diligence firms within the electric power

industry. I served at R.W. Beck for 13 years, during which time I rose to Senior Director

and Partner. During that time, I also earned a Master of Business Administration from

the University of Colorado in 1990 and earned distinction as an Accredited Senior

Appraiser in the electric power industry. While at R.W. Beck, I participated as the lead

energy advisor and market consultant to several merchant plant financings during the

1990s. I briefly served as Vice President at the consulting firm PHB Hagler Bailly before

that firm was acquired by the British-based PA Consulting Group in 2000. During this

time, I participated as an advisor in the financing of multiple merchant plants.


                                         2
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          5.          In 2002, I became the head of PA Consulting Group’s global energy practice,

          overseeing a staff of more than 100 employees and managing a number of high-profile

          energy company restructurings, appraisals, and financings. I directed the firm’s efforts

          and was actively involved in the Chapter 11 restructurings of the following energy

          companies: SemGroup LP, Star Gas, NRG Energy Inc., Mirant Corporation, Calpine

          Corporation, the predecessor to the Entegra Power Group, and PG&E’s National Energy

          Group. In these engagements, I reviewed company budgets, developed market price

          forecasts, and provided appraisals. In addition, I provided expert testimony in a number

          of cases, including the restructurings of Mirant Corporation, Calpine Corporation, and the

          predecessor to the Entegra Power Group.

          6.          During the Calpine restructuring, which at the time was the sixth largest non-

          financial sector bankruptcy in United States’ history 1, I was retained as a strategic energy

          advisor to Calpine’s Chief Executive Officer (CEO) and the commercial operations

          division. When the company emerged from bankruptcy in early 2008, I was engaged by

          the board of directors as the company’s interim Chief Operating Officer (COO). As

          COO, I oversaw the Power Plant Operations, Commercial, Environmental Health and

          Safety, Engineering, and Project Development disciplines. Notably, in my role as COO

          of Calpine, I was responsible for establishing strategic initiatives, developing, and

          managing annual and monthly budgets, managing day-to-day operations, directing

          commodity trading and hedging activities, and deriving the annual incentive

          compensation programs for my commercial and operations staff. This included the

          evaluation of acquisitions and dispositions of assets.


1
    www.bankruptcydata.com/Research/Largest_Overall_Non-Financial.pdf

                                                      3
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7.         In 2010, I resigned from my position as head of PA Consulting Group’s

energy practice and founded FEP. Under my executive management, FEP has provided

advanced modeling, advisory services and testimony for numerous utilities, independent

power producers, industrial engineering and project management firms, equity

investment funds, and banks involved in the energy industry.

8.         In 2010, FEP was hired as the energy restructuring advisor to Hawkeye

Growth, a major ethanol producer in Iowa. I served as CEO and Chief Financial Officer

(CFO) of Hawkeye Growth. Importantly, in my roles at Hawkeye Growth, I was

responsible for establishing strategic initiatives, developing and managing annual and

monthly budgets, managing day-to-day production operations including environmental

compliance, directing commodity trading and hedging activities, overseeing the financial

reporting process, and the development of incentive compensation plans and initiatives

for both management and operating personnel within the organization.

9.         FEP was retained by Energy Future Holdings Corp. (EFH) in December 2012.

EFH was an integrated, Texas-based power generation, transmission and distribution, and

retail electric provider. FEP was engaged to provide energy advisory services, including

independent advice regarding EFH’s annual planning process and incentive-based pay

programs, as well as third party review and evaluation of its earnings before interest,

taxes, depreciation and amortization, operating expense and capital expenditure (CapEx)

projections. FEP’s independent analysis and advisory services helped inform EFH’s

executive management on issues ranging from—but not limited to—long range power

price forecasting, independent review of multiple generating stations, environmental

regulatory compliance, transmission and distribution operational observations, executive


                                         4
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          compensation, asset acquisitions, customer acquisition and maintenance, and retail

          margin maximization.

          10.         In 2017, I was appointed the Chief Financial Advisor to the Puerto Rico

          Electric Power Authority (PREPA). In my role there, myself, as well as FEP staff, were

          responsible for financial oversight, including cash management of PREPA expenditures,

          implementing transformation and fiscal plans, and budgeting throughout the Title III

          proceedings. FEP also assisted in collaborating with the Puerto Rico Governor’s Office to

          craft policy addressing the future of PREPA, worked with the Puerto Rico Energy Bureau

          and PREPA to establish a rebuilding and integrated resource plan for PREPA, and

          developed and led a corporate-wide operational and cost improvement effort that resulted

          in the development of a multi-year business plan.

          11.         My hourly rate for this and similar assignments is $1,000.00.

          12.         A copy of my Curriculum Vitae is included in Appendix A.

II.       Background

                a) Background of 2011 LBO

          13.         Samson Investment Company was the parent company of a number of

          companies (collectively referred to herein as “Samson”) that operated since 1971,

          primarily as an onshore oil and gas exploration and production enterprise. 2 Around

          March 2011, the owners of Samson began a process to market the company for a

          potential sale. 3 That process culminated with the November 22, 2011 signing of a stock

          purchase agreement (“Deal Signing”) by which the Sponsors agreed to purchase the stock



2
    KKR-SAM_0099394, at -402.
3
    JEFF00019453, at -454.

                                                   5
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          of Samson Investment Company (excluding certain Gulf Coast and Deepwater assets) as

          part of a leveraged buyout with a purchase price of approximately $7 billion. 4 The

          Transaction closed on December 21, 2011 (“Deal Close”). 5

          14.         The Transaction was predicated on a business plan and stress case that was

          developed by KKR. For purposes of this report, the base case business plan will be

          referenced as the “KKR Fund Model” or “KKR Fund Case” and the stress case will be

          referenced as the “KKR Stress Model” or “KKR Stress Case.”

          15.         The KKR Fund Model and KKR Stress Model 6 each presented a forecast of

          cash flows and subsequent debt service coverage ratios, returns, and valuations for the

          assets included in the purchase. The primary assumptions in the models that drove the

          cash flows were the forecasted prices for natural gas and oil, the amount and price of

          hedges, the output from the proved developed producing oil and gas reserves (PDP), the

          output from the unproven reserves, and the forecast of operating costs and capital

          expenditures.

          16.         Relevant for this report, the KKR Stress Model assumed:

                  •   Henry Hub Gas Prices:




4
    SEC-00249904, at -905.
5
    KKR-SAM_0099394, at -402.
6




                                                   6
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                 •    WTI Cushing Oil Prices: $70/barrels (bbl)



                 •



                 •



        17.           Oil and gas assets are unique, as once a well is drilled the production often

        quickly declines. When a well is drilled into a virgin hydrocarbon reservoir, the pressure

        is typically high, allowing easy production of the hydrocarbons. As this pressure

        declines, the driving force of the production decreases, leading to lower production rates.

        As wells get older, production typically levels off, and sometimes artificial lift is required

        to keep the well producing, especially in the case of oil wells, as oil is much more dense

        than natural gas, and therefore requires higher reservoir pressure to produce. The steep

        decline in production often results in the majority of the hydrocarbons being produced in

        the first few years. This requires continuous drilling of new wells to keep overall

        production from declining, which in turn requires continuous investment of new capital

        to fund new wells.




7
 Gas and oil contracts are traded on the NYMEX. Futures prices are the closing prices for the trades on any given
day for future contracts. For example, a January 2012 contract is transacted on 11/11/2011.
8




                                                         7
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        18.           When companies use debt to finance new drilling, it is important to ensure

        that they have sufficient liquidity to weather downside commodity price scenarios for

        unhedged volumes and for margin 9 associated with hedged volumes. The combination of

        volatile commodity pricing and the need to continue to borrow money to fund new

        drilling can lead to a liquidity problem that is sometimes referred to as the “death spiral.”

        The “death spiral” is a phenomenon that occurs when (i) revenues decline, whether due to

        commodity price declines or other factors; leading to (ii) reducing cash flow, and/or

        access to capital funds available to invest in new drilling; leading to (iii) reduced

        production from the assets due to less new drilling; leading to (iv) less free cash flow to

        pay existing debts; leading to (v) the inability to borrow additional money for new

        drilling. 10 As the name implies, this cycle continues to “spiral” until the business

        ultimately cannot pay its debts.

        19.           This “death spiral” occurred for the Sponsors after the LBO in 2011. In early

        2012, natural gas prices continued to decline, reaching a low of $1.82/MMBtu in April. 11

        At that time, as discussed in more detail below, the sponsors had not achieved their

        hedging targets in terms of pricing or volumes as of Deal Close. 12 Moreover, the wells

        being drilled were not meeting the production projections in their financial models,



                                                                                                              ” 13


9
  Margin is collateral posted to an exchange (e.g., NYMEX) as default security in the event the market price moves
against the hedge initial position. Margining refers to the act of providing additional security, or the return of
security, as the market price of the contract moves from day to day.
10
   See also, e.g., Upadhyaya Deposition, at 202:9-203:10 (Nov. 8, 2019).
11
   U.S. Energy Information Administration (EIA) – Henry Hub Natural Gas Spot Price -
https://www.eia.gov/dnav/ng/hist/rngwhhdD.htm
12
   See, e.g., KKR-SAM_0099394, at -427; NGP00041615, at -628.
13
   Smidt Deposition, at 248:8-11 (Mar. 17, 2021).

                                                         8
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        This combination led to less free cash flow to fund drilling operations and required the

        Sponsors to borrow more money to meet the drilling requirements than they had

        forecasted, 14 while also trying to divest certain oil and gas assets. 15 However, this was a

        short-term solution, as divesting assets feeds the “death spiral” by reducing the

        company’s ability to generate cash flows through drilling. In 2015, the price of oil fell to

        below $60/bbl, 16 further reducing the cash flow from drilling operations and essentially

        completing the “death spiral.” Samson filed for bankruptcy in September 2015. 17

        20.          Samson’s difficulties, however, began well before 2015.

                                                                                            . 18 And, by

        2013, Samson’s new CEO concluded that, based on what was known at the time about

        the company’s assets, the company could not be sustainable in the long term without new

        equity capital. 19

III.    Overview of Natural Gas and Oil Prices

        21.          Price forecasts for natural gas and oil are a key component of the cash flow

        forecast for natural gas and oil producing assets. This section provides a brief overview

        of natural gas and oil prices leading up to the date of the Transaction.

        A.       2011 Natural Gas Price Overview

        22.          Natural gas prices were relatively stable prior to deregulation in the mid-

        1990s after which they began increasing due to increasing demand and decreasing

        conventional domestic supplies. In the late 2000s, natural gas prices began to decrease


14
   NGP00041615, at -622.
15
   See, e.g., KKR-SAM_0208180.
16
   Energy Information Administration
17
   In re Samson Resources Corp., No. 15-11934, (Bankr. D. Del. Sept. 16, 2015).
18
   KKR-SAM_0204954.
19
   Limbacher Deposition, at 171:19-177-3 (Mar. 10, 2021).

                                                        9
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        substantially due to increasing domestic gas supply from the development of shale gas

        resources using technological advancements such as horizontal drilling and hydraulic

        fracturing. Figure 1 20 shows the historic Henry Hub 21 spot price for natural gas.

                         Figure 1 – Historic Henry Hub Natural Gas Price




        23.          Much of the increase in natual gas supply can be attibuted to the the drilling of

        shale gas resources which began in the mid-2000s. As horizontal drilling and hydraulic

        fracturing technologies advanced, exploration and production companies were able to

        exploit tight shale formations. Horizontal wells, while more expensive, were significantly

        more prolific in producing the natural gas from these formations. By 2010, the number of

        horizontal wells (oil and gas) being drilled overtook the number of vertical wells being




20
   U.S. Energy Information Administration (EIA) – Henry Hub Natural Gas Spot Price -
https://www.eia.gov/dnav/ng/hist/rngwhhdD.htm
21
   Henry Hub is the main U.S. natural gas benchmark and is generally the location for NYMEX futures.

                                                      10
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        drilled, as shown in Figure 2. 22 This increase in horizontal well drilling resulted in a

        corresponding increase in shale gas production, as shown in Figure 3. 23

                        Figure 2 – Weekly Rotary Rig Count by Well Type




22
  Baker Hughes – North America Rotary Rig Count - https://rigcount.bakerhughes.com/na-rig-count
23
  U.S. Energy Information Administration (EIA) – Dry shale gas production estimates by play -
https://www.eia.gov/naturalgas/data.php

                                                     11
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                        Figure 3 – U.S. Monthly Dry Shale Gas Production




        24.          The U.S. recession beginning in late 2008 caused demand to decrease slightly,

        but even as the economy recovered the glut of new shale gas production, (commonly

        referred to as the “Shale Boom”) caused the supply to significantly outpace demand. As

        shown in Figure 4 24, supply and demand (production and consumption) were relatively

        stable and tracked each other through the mid-2000s. In the late 2000s, supply began to

        increase much more quickly than demand. After being relatively steady from 1995 to

        2005, production increased in the five years from 2006 through 2011 by 21% while

        consumption increased 13%, which lead to excess supply of natural gas in the U.S. of 4




24
  U.S. Energy Information Administration (EIA), https://www.eia.gov/naturalgas/data.php. Per www.eia.gov/about,
the U.S. Energy Information Administration (EIA)” collects, analyzes, and disseminates independent and impartial
energy information to promote sound policymaking, efficient markets, and public understanding of energy and its
interaction with the economy and the environment.”

                                                      12
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        billion MMCF 25 in 2011 and contributed to the decline in natural gas prices in the second

        half of 2011.

        25.           The advent of these new technologies resulted in a significant change to the

        natural gas market. Horizontal drilling and hydraulic fracturing allowed companies to

        more efficiently and economically extract shale gas that was previously uneconomic to

        recover. This led to an increase in proved reserves with exploration and production

        companies increasing their focus on drilling shale gas. In the 2011 Annual Energy

        Outlook (2011 AEO), the United States Energy Information Association (EIA) 26 forecast

        U.S. shale gas supply to increase almost four-fold by 2035, offsetting declines in other

        U.S. supply, suggesting that the change in supply could be a long-term shift in the

        industry.




25
  When gas production exceeds consumption, excess supply is put into storage.
26
  EIA Annual Energy Outlook 2011 – www.eia.gov. The AEO “presents an assessment by the EIA of the outlook
for energy markets through 2050”. This assessment is often used by market participants as an independent forecast
of possible market conditions and prices.

                                                        13
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                  Figure 4 – Annual U.S. Natural Gas Consumption and Production




           26.          Prices declined in 2011 as the glut of new shale production continued to come

           online, with a sharp drop in the second half of the year. EIA’s Today in Energy report 27

           from August 3, 2011, stated the following:

                   •    “Average spot natural gas prices…generally declined in most U.S. regional

                        markets about 7% to 10% during the first half (January 1 to June 30) of 2011

                        compared to the same period in 2010.”

                   •    “Natural gas production has been growing faster than consumption, putting

                        downward pressure on spot gas prices…”

                   •    EIA figures indicate that dry natural gas production in 2011 was up 6%, or

                         over 500 BCF from January through May, compared to the same period last

                         year.


27
     EIA – Today in Energy August 3, 2011 - https://www.eia.gov/todayinenergy/detail.php?id=2490

                                                        14
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                   •   “Domestic natural gas production gains more than offset declines in LNG

                        deliveries and net gas imports via pipelines. EIA figures show that natural

                        gas consumption was only up 2%, or 212 BCF, through the first five months

                        of the year.”

           27.         Natural gas prices were sharply declining during KKR’s due diligence period.

           From July 2011 through December 2011, natural gas prices declined approximately 30%,

           reaching approximately $3.00/MMBtu. Likewise, NYMEX natural gas futures prices

           declined with January 2012 futures prices falling $1.50/MMBtu from July 2011 to

           December 2011 as shown in Figure 5, 28 from which the balance of the futures strip also

           declined.




            Figure 5 – Natural Gas Spot & Futures Prices during Due Diligence Period


                            January 2012 Forward Contract Price Fell
                            ~$1.50 from July to December 2011




28
     Hitachi ABB Power Grids Velocity Suite

                                                               15
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        B.       2011 Oil Price Overview

        28.           The price of crude oil in the U.S. was relatively stable in the 1990s and early

        2000s, generally staying below $40/bbl before increasing dramatically from the mid-

        2000’s until 2008 when it hit a high of approximately $147/bbl. Various explanationss

        were attributed to the increase, including geopolitical events, increasing demand from

        growing economies such as China, declining reserves, and financial speculation. The

        global recession in 2008 resulted in a large decrease in demand and a drop in prices to

        below $40/bbl by the end of the year. Prices rebounded in 2009 and remained strong,

        between $70 and $120/bbl through the end of 2011. Figure 6 29 shows the historical West

        Texas Intermediate (WTI) oil prices 30.

                                    Figure 6 – Historic WTI Oil Price




 Energy Information Administration
29

 West Texas Intermediate is the main U.S. light sweet crude benchmark and is generally the location basis used for
30

NYMEX futures contracts.

                                                       16
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29.        In the second half of 2011, West Texas Intermediate (WTI) oil prices were

averaging more than $90.00/bbl. While oil prices were strong in late 2011, there were

observations that the increased drilling of oil wells in shale formations using horizontal

drilling and hydraulic fracturing could cause an increase in supply similar to what was

being experienced for natural gas. However, unlike natural gas, the increased drilling of

domestic oil was just beginning, and as can be seen in Figure 7, the U.S. crude oil supply

had not yet reflected a significant increase.

                   Figure 7 – U.S. Domestic Crude Oil Supply




30.        EIA’s November 2, 2011, Today in Energy report discusses how oil

production growth in the Bakken shale play mirrors the growth in natural gas production

in the Barnett shale play, and that production increased due to the use of horizontal




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           drilling and the addition of hydraulic fracturing 31. The EIA states that Bakken production

           averaged 2,000 bbl/day in 2000 and increased to 260,000 bbl/day in 2010, with 90% of

           the total volume in 2010 being attributed to horizontal wells.

           31.         The EIA released the AEO2011 in April of 2011 32. As noted above, the AEO

           “presents an assessment by the EIA of the outlook for energy markets through 2050”.

           This assessment is often used by market participants as an independent forecast of

           possible market conditions and prices. In the AEO2011, the EIA included world oil price

           projections for its reference case as well as a high case and low case. The AEO states

           that “The world oil price is represented in AEO2011 as the price of light, low-sulfur

           crude oil delivered at Cushing, Oklahoma.”, which is consistent with the price delivery

           point discussed in this report and used in the models. The three oil price projections from

           the AEO2011 are shown in Figure 8 below. The low oil price case shows prices

           dropping to just more than $50/bbl in 2009 dollars. When the data is put in nominal

           dollars, the first five years averages $61.38/bbl.




31
     EIA – Today in Energy, November 2, 2011 - https://www.eia.gov/todayinenergy/detail.php?id=3750
32
     EIA Annual Energy Outlook 2011 – www.eia.gov

                                                        18
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                   Figure 8 – EIA 2011 Annual Energy Outlook Oil Price Forecasts




           C.      Gas and Oil Decoupling

           32.          Historically, oil and gas prices have been loosely correlated based on the ratio

           of their BTU contents, with short-lived divergences due to changing market conditions.

           However, in 2006 natural gas and oil prices had decoupled and were not returning to their

           historical correlation. This was due to a fundamental change in the natural gas market as

           a result of the glut of natural gas supply related to the shale boom and the introduction of

           new horizontal drilling and hydraulic fracturing techniques.

           33.          The price divergence can be illustrated by the R2 correlation factor. The R2

           correlation factor is measured on a 0.0 to 1.0 scale where 1.0 indicates full correlation

           and 0.0 indicates no correlation. Figure 9 33 and Figure 10 34 below show that before



33
     Source: U.S. Energy Information Administration
34
     Source U.S. Energy Information Administration

                                                       19
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2006, the R2 was 0.74 and the R2 lowered to 0.19 after 2006. Given the decoupling of oil

and gas prices after 2006, price forecasts for each need to consider current and future

market conditions as independent commodities.

Figure 9 – Henry Hub and Cushing WTO Prices and Correlation Before 2006




                                        20
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      Figure 10 – Henry Hub and Cushing WTO Prices and Correlation 2006 and After




IV.     Summary of Opinions

        34.          As discussed in further detail below, it is my opinion that:

              a) The commodity price assumptions for natural gas and oil used in the KKR Stress

                 Case appear not to be based on any rigorous analysis and did not capture a

                 reasonable downside based on information known at the time of the Deal Signing

                 and Deal Close.

              b) A reasonable stress case for gas prices would assume that prices continued to

                 decline for some period after the Deal Close, as they had been for the months

                 leading to the deal close, after which point it would then be reasonable to hold the

                 stress case gas price flat for five years,


                                                    21
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      c) A reasonable stress case for oil prices would be based on actual and normal

         distributions for the historic oil prices over the preceding five years and would use

         the price at the percentile equal to one standard deviation to the downside from

         the mean (P15.9).

      d) The hedging assumptions used in the KKR Fund Model and KKR Stress Case

         were not achievable nor reasonable.

      e) If reasonable stress case commodity prices and hedges had been used in the KKR

         Stress Case, particularly in combination with the KKR downside drilling, it would

         demonstrate a scenario in which (i) cash flows after interest payments were

         negative for the foreseeable future, (ii) debt covenants were broken after 2 years,

         and (iii) the debt limit was exceeded in the fifth year. In sum, under this

         reasonable stress case scenario, Samson would have been unsustainable as a going

         concern.

35.          With respect to these conclusions, I note that in various places in this report I

replace certain of KKR’s assumptions for pricing and hedging with assumptions that are,

in my opinion, reasonable, and calculate certain outputs from KKR’s models leaving all

of KKR’s other assumptions in place. I understand that the Settlement Trustee is

challenging many of those other assumptions, and my report’s reliance on KKR’s own

model should not be viewed as an endorsement of those assumptions, the reasonableness

or unreasonableness of which is beyond the scope of my report. Rather, I have

endeavored to isolate the financial impact of modifying only the hedging and stress case

pricing assumptions.




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V.         Opinions and Analysis

           A.        Stress case commodity price assumptions

                     1.        KKR’s Stress Case Pricing Methodology

           36.             As noted above, price forecasts for natural gas and oil are a key component of

           deriving forecasted cash flows from oil and gas producing assets. Furthermore, natural

           gas and oil commodity prices can be volatile, and as discussed above, the market for

           natural gas in particular was changing in the years and months leading up to the 2011

           LBO. The NYMEX futures prices

                          are a data point for the market’s view of prices at that point in time, but they

           will continue to move with changing market fundamentals and are only guaranteed if

           they are locked in through hedges.

           37.             While the NYMEX futures price curve may be said to reflect a “market view”

           of expectations regarding future commodity prices, it is important to understand the

           limitations of the price curve as a predictor of future prices. While the futures curve

           reflects actual trades or reported bid/ask spreads 35 over the period reflected in the curve,

           it does not, of course, predict what actual spot prices will be in the future. Indeed, we can

           say with almost absolute certainty that future oil and gas spot prices will not be the prices

           reflected in the futures curve. Instead, prices will almost certainly be higher or lower than

           the prices reflected in the forward curve. Thus, while it is not uncommon for industry

           participants to project future cash flows using the futures curve as a default tool,

           sophisticated industry participants understand that the futures curve does not actually

           predict future prices and that future prices may vary quite drastically from what the



35
     The bid/ask spread is the difference in the price between the seller of a contract and what a buyer is willing to pay.

                                                             23
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forward curve would “predict.” Therefore, industry participants understand that pricing

forecasts are best thought in terms of a reasonable range of possible future prices. The

low end of that range is sometimes called a “stress”, or “downside” case and should

reflect what an industry participant believes is the low end of reasonably foreseeable

price ranges.

38.        Moreover, besides the fact that all sophisticated industry participants

recognize that future spot prices will likely not be consistent with the NYMEX forward

curve, the NYMEX curve should not be thought of as a market consensus, particularly

beyond the very short term. As explained below, there is often very little trading

reflected in the futures curve beyond the first six to eighteen months, and therefore the

prices in the curve beyond that point may reflect only a handful of trades, a single trade,

or just the midpoint of the day’s bid/ask spread rather than a “market consensus.”

39.        Separate from the issue of whether the NYMEX curve is a useful predictor of

future prices, some industry participants may use the NYMEX curve as an indicator of

the prices at which future natural gas or oil volumes can be hedged. However, there are

important limitations on the use of the NYMEX curve for that purpose, as well. First, the

futures prices change every day, and the ability to lock in the futures prices diminishes

rapidly after the prompt six to eighteen months, as the liquidity in the market decreases




                                         24
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         rapidly. Market liquidity 36 is generally indicated by the average daily contracts transacted

         and the contract open interest 37.

         40.           Open interest is the total number of outstanding derivative contracts that have

         not been settled or delivered. A contract is considered open from the time the buyer or

         seller opens the contract, or until the contract is closed. For example, if Sampson sells a

         January 2013 natural gas contract in December 2011, that contract will remain as open

         interest until they deliver the contract quantity of gas to the buyer or Sampson buys an

         offsetting position (closes the contract before delivery). Figure 11 38 and Figure 12 39

         show the average daily volume of contracts transacted in December of 2011 for futures in

         Henry Hub natural gas and WTI Crude Oil, respectively. As shown, the average daily

         volumes of contract transactions (blue lines) rapidly decline after the prompt month

         (January 2012 is the prompt trading month to December 2011) to a few percent of the

         prompt month volume, or less, after 6 months. Additionally, open interest falls off

         rapidly after the first few months into the future indicating there are fewer market

         participants holding those future contracts relative to the number of open contracts

         associated with the first several months. Taken together, the lack of open interest and

         transaction volumes in the later months of the forward price strip suggests there may be

         few buyers for offered sales contracts, the bid/ask spread may be quite wide, and market

         price indications may be based on few, if any, transactions.


36
   “Liquidity” refers to the relative ability to transact a given volume of futures contracts. For example, highly liquid
markets may transact in seconds, while it may take days or weeks to move a given volume in illiquid markets. Note
that a given commodity, such as Henry Hub NYMEX NG, is considered to have separate markets for each future
delivery month contract with near month contracts typically being highly liquid while contracts several years out
being less liquid or illiquid.
37
   Further explanation of open interest can be found at https://www.thebalance.com/open-interest-1031298.
38
   Source: S&P Global
39
   Source: S&P Global

                                                          25
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         Figure 11 – December NYMEX Henry Hub Open Interest and Traded Volume40




40
     Volume and Open Interest was calculated as the average over the month of December.

                                                        26
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        Figure 12 – December NYMEX WTI Cushing Open Interest and Traded Volume 41




           41.          Therefore, when evaluating projected cash flows from natural gas and oil

           assets, careful and thoughtful scenario analysis is important to understand potential

           outcomes for different levels of commodity pricing. It is particularly important to model a

           reasonable downside commodity price to ensure there is sufficient funding to support

           drilling so as not to become trapped in the “death spiral” described above. To evaluate

           the effect of commodity prices on the cash flows of Samson, KKR prepared the KKR

           Fund Model, the KKR Stress Model, and a high commodity price model.




                     . For the KKR Stress Case, KKR assumed $3.00/MMBtu gas and $70.00/bbl oil


41
     Volume and Open Interest was calculated as the average over the month of December.

                                                        27
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        prices.



                    . 42

        42.           To my knowledge, there is no documented analytical methodology used by

        KKR in selecting the KKR Stress Case. However, I have reviewed deposition testimony




        43.



                                      45




42
   See below at paragraph 42.
43
   See, e.g., Upadhyaya Deposition, at 52:11-54:23 (Nov. 8, 2019); Lipschultz Deposition, at 59:17-61:19 (Dec. 13,
2019).
44
   Smidt Deposition, at 78:14-24 (Mar. 17, 2021).
45
   Smidt Deposition, at 78:8-79:9 (Mar. 17, 2021).

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         44.          The marginal cost of production 46 for natural gas is the cost to produce each

         additional unit (MMBtu) of output and generally consists of the following incremental

         costs:

                  •   Operating costs: lease operating costs, gathering and transportation costs,

                      processing fees;

                  •   Royalties;

                  •   Production Taxes; and

                  •   Cost of Capital.

         45.          The marginal cost of production varies by region and by company. Industry-

         wide marginal cost of production data is generally not collected and/or published due to

         the proprietary nature of the information. The marginal cost of production also changes

         over time, specifically with changes in technology such as horizontal drilling and

         hydraulic fracturing. When technologies such as these emerge, as they did in the mid-

         2000s, it changes the marginal cost of production as new technologies become more

         prolific. As these technologies mature, their cost typically decreases and/or the

         technology becomes more efficient. Therefore, using the 2011 marginal cost of

         production as the gas prices in a stress case may even result in higher-than-expected

         future marginal costs, as industry participants would likely expect that the marginal cost

         of production would decline as these technologies mature.




46
  Per https://www.myaccountingcourse.com/accounting-dictionary/marginal-cost, “Marginal cost is the additional
cost incurred for the production of an additional unit of output. The formula is calculated by dividing the change in
the total cost by the change in the product output.” As applied to oil or gas markets, the market marginal cost is
thought of as the total cost to drill a new well, including the full cost of capital associated with the incremental
investment decision, divided by the relevant unit of production from that well.

                                                          29
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46.        I did not find any evidence that a marginal cost analysis was actually used in

the development of the KKR Stress Case gas and oil prices. First, as explained below, I

note that KKR revised the KKR Stress Case gas and oil prices multiple times in the

weeks leading up to the Deal Close, which is not consistent with the use of marginal cost

pricing, as marginal costs would have little to no change over that short of a time period.

Second, I note that the gas prices used in the KKR Stress Case were much higher than the

marginal cost of production in KKR’s models.

               a)      KKR changes KKR Stress Case gas and oil prices multiple times

47.        In the weeks leading up to the Deal Signing, KKR adjusted the KKR Stress

Case gas prices downward as gas spot prices continued to decline.




Despite natural gas spot prices continuing to decline from approximately $3.50/MMBtu

in early November 2011 down to the $3.00/MMBtu level at the time of the Deal Signing

and Deal Closing,

                     Essentially, in its Stress Case, KKR optimistically assumed natural

gas prices would not continue to decline despite the downward natural gas price

trajectory of the preceding months.




                                         30
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                     Table 1 – KKR Changes to Stress Case Commodity Pricing

         Source             Email “FW:         October 2011        Email “Re:       November 2011
                           Tulip Investor     Presentation to       Tulip -         Presentation to
                             Models” 47         Investors 48                          Investors 50
                                                                     Case 49
           Date              10/18/2011         10/21/2011          11/1/2011         11/29/2011
        Gas Price
       ($/MMBtu)
     Oil Price ($/bbl)

           48.           Additionally, KKR changed the KKR Stress Case oil prices in the weeks

           leading up to the Deal Signing.




           49.           The above implies that not only was a marginal cost analysis not performed

           by KKR, but no rigorous analytical method was used when determining the KKR Stress

           Case pricing.




47
   Email Dated October 18, 2011 – Summary of Base Upside Downside Cases – 2011.10.18 KKR-SAM_0023401
48
   October 2011 Tulip Investment Overview – Tab 15_2011.10.21 KKR-SAM_0040190
49
   Email Dated November 1, 2011 – RE: Tulip -              Case – Tab 19_2011.11.01 KKR-SAM_0207906
50
   November 2011 Tulip Investment Overview – Tab 41_2011.11.30 KKR-SAM_0044674
51
   Email Dated November 1, 2011 – RE: Tulip -              Case – Tab 19_2011.11.01 KKR-SAM_0207906
52
   Email Dated November 29, 2011 – FW: - 2011.11.29 KKR-SAM_0111238

                                                      31
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presentations. In other words, the revision                             appears to have been

outcome driven, rather than based on any analysis of market fundamentals.

               b)    KKR Fund Model marginal costs are lower than the KKR Stress
               Case prices

50.        The $3.00/MMBtu gas price and $70/bbl oil price used in the KKR Stress

Case was higher than the marginal costs implied by the KKR Fund Model. I calculated

those marginal costs of production by drilling region from the KKR Fund Model, using

KKR’s inputs for operating costs, royalties, taxes, capital costs, and G&A.




                However, as I explain below, I do not view the marginal cost of

production for oil as a reasonable data point for a stress case for oil prices.

               c)    KKR Stress Case gas prices are not a downside to actual market
               natural gas prices

51.        As noted above, natural gas prices were significantly declining from July 2011

through December 2011 and the Henry Hub natural gas spot price was $3.06/MMBtu on

the date of Deal Signing, and $3.05/MMBtu on the date of Deal Close. The

$3.00/MMBtu used as the KKR Stress Case gas price in the KKR Stress Model was more

consistent with actual market prices and therefore was not actually a downside to the

actual, known pricing as of the Deal Signing or Close. Given the quickly declining

natural gas prices and the indication that supply would continue to increase and outpace

demand, it is unreasonable to assume prices remained flat at the then-current spot price


                                          32
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for a stress case. Essentially, KKR did not consider any scenario in which natural gas

prices continued to decline for any period of time.

                d)   Conclusions regarding KKR’s assumptions for Stress Case
                commodity prices

52.          As discussed, understanding potential downside commodity prices is

important to understanding the impact on potential cash flows. The KKR Stress Case

commodity prices did not appear to actually be based on the methodology KKR

discussed of using marginal cost, and in fact did not appear to reflect any analytical

methodology. The marginal cost of natural gas calculated from the KKR Fund model was

                , which was well below the $3.00/MMBtu natural gas price that they used.

KKR’s Stress Case gas prices also assumed that gas prices would not go lower than the

actual price of gas price as of Deal Closing. A Stress Case should have considered the

possibility of a continued downward trend. KKR’s Stress Case oil price appears to be

based on a desired outcome as opposed to any analysis



        2.      FEP’s Stress Case Commodity Price Methodology

                a)      FEP’s Stress Case Gas Prices

53.          I considered three methodologies for determining reasonable gas prices for a

stress case. First, I considered the actual and normal distributions of historical natural gas

prices over the previous 5 years. Second, I considered the marginal cost of production

from the KKR Fund Model, as discussed above. Third, I considered the stochastic trend

of the previous twelve months of natural gas prices. These three methodologies are

discussed below.



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54.        Historic Pricing. I considered using a five-year look back of the historic

natural gas. However, as discussed above, as of 2011 there had been a fundamental shift

in the underlying supply and demand fundamentals that drive natural gas prices. Natural

gas was coming out of a period of strong prices, and due to the glut of production from

recent advancements in shale gas extraction prices were declining rapidly, a change that

could reasonably be forecasted as potentially long lasting and would not be reflected in

the historical prices. Given this fundamental change from what was occurring

historically, I concluded that using the previous five years of actual price data was not a

reasonable method to determine gas prices for a stress case.

55.        Marginal Cost. I considered the marginal cost of production using the KKR

Fund Model as a proxy for industry marginal cost, as discussed above, which resulted in

a weighted average marginal cost of production for natural gas from the KKR Fund

Model of                 . Given the large number and geographic diversity of shale gas

plays that Sampson was projecting to operate in, their marginal cost could be seen as a

reasonable proxy for the projected industry marginal cost of gas.



                                        I agree that marginal cost could be a reasonable

data point to consider for gas when modeling a stress case, particularly in context of other

analyses, such as the stochastic analysis described below. However, as explained below,

I do not believe that historical marginal cost is the optimal method for determining a

stress case for natural gas as of Deal Close, as it does not take into account the possibility

that the severe decline in prices over the previous months reflected changing expectations




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         regarding long-term future costs and/or other market fundamentals as discussed in

         previous sections.

         56.          Stochastic Model. I considered the stochastic trend of gas prices over the 12

         months prior to Deal Signing. A stochastic analysis utilizes measures of uncertainty

         reflected in historical prices to provide a range of possible future prices assuming that

         underlying market fundamentals remain unchanged. The stochastic model relies on two

         fundamental concepts, historical volatility of prices and average daily return 53 (or drift) in

         historical prices, to estimate the range of uncertainty of prices into the future. As of the

         Deal Signing, natural gas prices had been declining for a period of time. The stochastic

         modeling methodology determines what would happen to natural gas prices if the same

         or similar market forces continued to drive the price down. In this stress pricing scenario,

         a stochastic model with drift is appropriate as it incorporates random, historical day-to-

         day fluctuations in prices to project probability distributions of prices, with the same

         downward trend that had been driving overall price movements over a given period of

         time.

         57.          For the stochastic model, I used the previous twelve months 54 of EIA Henry

         Hub natural gas pricing data to determine the Standard Deviation of Log Returns to

         estimate the volatility in the stochastic forecast, and I used the Mean of Log Returns to

         estimate the drift term, or the trend for the data. By utilizing the previous twelve months

         of natural gas prices to determine the volatility and drift, this methodology captures the


53
   “Average daily return” is computed as the natural logarithm of the ratio of the price today to the price yesterday
and represents the shift in the expected price distribution as time progresses forward. The methodology is further
described at https://sixfigureinvesting.com/2018/11/predicting-price-ranges-with-historic-volatility/.
54
   As shown in my workpapers, I also considered looking back over 24-month period, a 6-month period, and a 10-
year period. The results for the 12-month period are similar to using the 24-month period, and my use of 12 months
was conservative as compared to the 6-month and 10-year periods.

                                                         35
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scenario that natural gas prices continue to fall for a period of time driven by the same

forces that caused the prices to decline over the previous twelve months, such as new

shale production continuing to come online as there was no indication that the drilling

was slowing. As shown in Figure 3 above, the shale gas production accelerated

beginning in 2011 and therefore this period of time was used as it represented the shift in

the fundamentals. Using twelve months of data also captures all seasonal cyclicality that

occurs in the natural gas market. I used the average November Henry Hub natural gas

spot prices up until Deal Signing of $3.28/MMBtu as the starting price for the stochastic

simulations, as that would have been the information available as of the Deal Signing. I

then ran 10,000 trials on the stochastic model to build a probability distribution of price

forecasts, the results of which are provided in Figure 13. I used this model to forecast

natural gas price distributions 24 months into the future. As described above, this method

assumes that the same forces causing the gas price to decline over the previous twelve

months would continue into the future.

58.        I chose the P15.9 case from the stochastic model for the FEP stress case gas

price, which represents the price path for one standard deviation down from the mean for

each forecast monthly price. After six months, I assumed the gas price stays flat at

$2.24/MMBtu,

                      and then escalates at 1.5% beginning in year 6,

                                                       The inputs and results of this model

are shown in Table 2 below.




                                         36
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                     Figure 13– Stochastic Model Gas Price Forecasts




                     Table 2– Inputs and Outputs to Stochastic Model

       Inputs            Std. Deviation of          Mean of Log          Starting Price
                           Log Returns               Returns              ($/MMBtu)
                            (volatility)              (trend)
Parameters governing           0.24                  (0.0010)                $3.28
   daily spot price
  movement (fixed
over entire projection
       period)


      Outputs             December 2011              May 2012            November 2012

   (percent rank)        Prices ($/MMBtu)         Prices ($/MMBtu)     Prices ($/MMBtu)

        2.5%                   $2.70                   $1.75                 $1.23
        10%                    $2.87                   $2.08                 $1.59
        16%                    $2.95                   $2.24                 $1.77
        71%                    $3.40                   $3.36                 $3.15
        90%                    $3.64                   $4.06                 $4.13



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59.         FEP Stress Case Gas Prices.



                                                        The stochastic model produces a

price of $2.24/MMBtu and represents a downside based on a continuing trend of the prior

twelve months. Given that there were indications that the market factors such as sustained

excess supply that had caused the downward trend of the prior twelve months could

continue, I believe this is a reasonable gas price to use in a stress case.

                b)      Stress Case Oil Prices

60.         As with my analysis of natural gas pricing, I considered oil prices using the

historical price distribution, the marginal cost, and the stochastic model with a drift term.

61.         Historic Pricing. Using a five-year look back, I calculated the actual and

normal distributions for the historic oil prices and determined the price at the percentile

equal to one standard deviation down from the mean (P15.9). The results can be seen in

Table 3, which shows that the P15.9 is approximately equal to $60/bbl. As discussed in

Section III above, unlike the natural gas market, the oil market had not yet undergone a

significant shift in the long-term underlying supply and demand fundamentals that would

cause one to believe that the prior 5-year price information would not reflect the likely

distribution of prices. I also note that the price is consistent with the downside case that

EIA published in the 2011 Annual Energy Outlook,




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   Table 3–Actual and Normal Distribution of Oil Prices (5-year lookback)

          Percentile               Actual Distribution             Normal Distribution
                                         ($/bbl)                        ($/bbl)
             P10                           $57.35                         $52.72
            P15.9                          $60.65                         $58.46
             P25                           $64.92                         $65.05
             P50                           $75.65                         $78.75


62.        Marginal Cost.

                                                    the weighted average marginal cost of

production for oil                                                . At the time of Deal

Signing and Deal Close, the U.S. was an importer of oil. Therefore, the marginal cost of

oil in the U.S. was set by the imported cost, not the domestic marginal cost of production.

The imported costs would consist of the marginal cost to produce oil outside of the U.S.,

plus the cost to transport the oil to the U.S. Therefore, I do not believe that the marginal

cost of production for a U.S. producer would be a valid basis to determine a stress case

for oil prices in 2011.

63.        Stochastic Model. I also considered the stochastic model methodology,

described above for gas. However, given the upward trend of oil prices, the stochastic

model includes a positive trend (drift term) based on the previous twelve months of data,

resulting in an overall trend of increasing oil prices. Since a stress case should capture

the possibility of downward trends, I concluded that a stochastic model results for oil was

not a proper means of determining a stress case for oil prices.

64.        FEP Stress Case Oil Prices. Based on the above analyses, I have determined

that the P15.9 of the historic distribution of prices of $60.00/bbl provides a reasonable oil


                                         39
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        price for a stress case. As noted above, oil and natural gas prices became uncorrelated

        with the onset of shale gas; therefore, relying primarily on different methodologies for

        each commodity price analysis is warranted. It should also be noted that the $60.00/bbl

        Stress Case Oil Price isin line with EIA’s low case oil price in the AEO2011 55 shown in

        Figure 7 above, which averages $61.38/bbl over the first five years.



        65.           I have run the KKR Stress Model with the oil prices equal to $60.00/bbl held

        flat (until escalation begins in year six). Holding all other KKR Stress Case assumptions

        equal and changing only the oil price in the Stress Model, the Gross Internal Rate of

        Return (“IRR”) 56 decreases from 4.6% to -2.5%. Making the additional change to apply

        my gas stress case prices above, the Gross IRR further decreases to -8.2%. Please refer

        to Appendix A for a summary of the cases run and the results.

        B.       Hedging assumptions

                 1.       KKR’s hedging assumptions

        66.           In the KKR Stress Model, the hedge assumptions are a significant driver of

        the projected cash flows from the assets KKR was acquiring in the LBO as they lock in a

        price and therefore mitigate any downside price exposure except for the non-hedged

        portion. As I will discuss below, KKR’s hedge volume and price assumptions, which are

        the same in both the KKR Fund Model and the KKR Stress Model, are unreasonable.




55
  EIA Annual Energy Outlook 2011 – www.eia.gov
56
  “Gross IRR” is provided in the KRR models as the internal rate of return calculation before inclusion of KKR
carried interest.

                                                       40
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67.          The KKR Fund Model and KKR Stress Model included the following

assumptions related to hedging of natural gas and oil production (forecast monthly

through 12/31/2016):

         •



         •



         •



68.          As discussed below, at Deal Close KKR was significantly underhedged in

natural gas as compared to the KKR Hedging Target, and underhedged in oil in years

four and five of the KKR Hedging Target. As further explained below, the lack of

liquidity in the market made the forecast hedge volumes unachievable at the assumed

prices. Due to the lack of liquidity, if KKR were to attempt to immediately execute the

assumed hedges (or a significant portion thereof) in such a market, the price would

further decrease resulting in hedge prices even lower than the Gas and Oil Futures

Curves. The contemporaneous communications and documents I have reviewed reflect

that

                             . However, the more time that passed after Deal Close, the

greater the chance that the hedge prices could decline significantly below the hedge

prices assumed in KKR’s model, potentially to the extent that such prices would not

meaningfully mitigate the financial impact of a downside commodity price environment

particularly in the short term.

                                            41
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               a)     KKR Hedge Volume Assumptions

69.        At the time of Deal Close, Samson held hedge positions in both natural gas

and oil. I have reviewed a document provided to me by counsel with the bates number

SAMDSUB00053295, which contains the title “Samson Investment Company, Mark to

Market Information, 12/21/2011,” and which appears to contain information regarding

certain hedges (the “Hedge Book”). I have no knowledge regarding the source,

authenticity, or accuracy of the Hedge Book, other than that I understand it was a

document produced in this case. I note further that the determination of what enforceable

hedges existed as of Deal Close would depend on the underlying hedge contracts

themselves, not Samson’s internal Hedge Book. However, only for purposes of

discussion in this report, I have assumed that the Hedge Book reflected Samson’s hedges

as of Deal Close.




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70.




71.       The




 Table 4 – Gas PDP Hedge Volume – Hedge Book vs KKR Hedging Target

 Year              Hedge Book            Required to Meet       Difference
                                          KKR Hedging
                     (BCF)                   Target               (BCF)
                                             (BCF)
  2012
  2013
  2014
  2015
  2016
 Total




                                    43
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 Figure 14 – Gas PDP Hedge Volume –Hedge Book vs KKR Hedging Target




72.        In the case of oil hedges as compared to the Hedging Plan, based on the

Hedge Book, Samson was over hedged in the near term (2012-2014) as compared to the

KKR Hedging Target, but would still need to add hedges for 2015-2016 to

                                                  . To achieve the additional hedging

based on the existing Hedge Book as of Deal Close, the Sponsors would have been

required to execute hedges for            in 2015 and               in 2016, as shown in

Figure 15 and Table 5 below. Just as with natural gas, it is unrealistic to assume that

KKR could execute hedges of this volume in a short amount of time without moving the

price, especially for 2016 volumes, at which the hedges could be executed, as explained

below.




                                         44
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      Table 5 – Oil Hedge Volume –Hedge Book vs. KKR Hedging Target

  Year                 Hedge Book             Required to Meet            Difference
                                               KKR Hedging
                        (000 bbls)                 Target                 (000 bbls)
                                                 (000 bbls)
  2012
  2013
  2014
  2015
  2016
 Total


      Figure 15 – Oil Hedge Volume – Hedge Book vs KKR Hedging Target




73.         In order to determine whether sufficient liquidity existed in the market to

execute such a large volume of hedges at the time of Deal Close, I reviewed the average

daily transaction volumes and open interest for both NYMEX Henry Hub natural gas

futures and the NYMEX Cushing WTI light sweet crude oil futures relative to the

outstanding volumes needed to meet the KKR Hedging Target, as of the Deal Close.

                                         45
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          74.         As shown in Figure 16 57, there appears to be sufficient average daily volume

          of transactions and market participation as indicated by the open interest to execute

          additional hedges needed to meet the KKR Hedge Target for natural gas in 2012-2013.

          However, as shown in Figure 17, 58 in 2014-2016 the volume of natural gas hedges

          required was significantly above the average daily volume and close to or exceeding

          current market participation as shown by the open interest. Therefore, this indicates there

          was not sufficient liquidity in the market for KKR to execute the outstanding Hedging

          Targets for gas in 2014-2016 at the time of Deal Close. Moreover, even for 2012-2013,

          while the execution hedges at the targeted volumes was theoretically possible based on

          the indications of liquidity at the time, this does not mean that executing such targeted

          volumes would not move prices lower. Indeed, given the substantial volumes that

          Samson needed to hedge for those years to meet its target, it is very possible that

          executing those hedges would have caused prices to move significantly, as

          representatives of the sponsor group acknowledged, as discussed earlier.




57
     S&P Global and Downside NG Hedging Projection After Close 20210722
58
     S&P Global and Downside NG Hedging Projection After Close 20210722

                                                     46
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 Figure 16 – December 59 Gas Open Interest and Average Volume Traded vs KKR
                                   Hedge Volume
                                                      2012-2013




59
   Volume and Open Interest was calculated as the average over the month of December. The “Unhedged Target
Volume at Deal Close” is not zero, but small relative to this scale; this graph is meant to be illustrative of the short-
term as compared to later-term volume and open interest relative to the hedges.

                                                           47
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     Figure 17 – December 60 Gas Open Interest and Average Volume Traded vs KKR
                                        Hedge Volume
                                                    2014-2016




           75.          As discussed above, for oil, Sampson was hedged above the KKR Hedging

           Target in 2012-2014. However, as shown in Figure 18 61, the volume of oil hedges

           required was above the average daily volume and exceeding current market participation

           as shown by the open interest in most of 2016, indicating, there was not sufficient

           liquidity in the market for KKR to execute the KKR Hedging Target for oil in 2016.




60
     Volume and Open Interest was calculated as the average over the month of December.
61
     Source: S&P Global and Downside Oil Hedging Projection After Close 20210722

                                                        48
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     Figure 18 – December 62 Oil Open Interest and Average Volume Traded vs KKR
                                        Hedge Volume
                                                    2015-2016




                            b)      KKR Hedge Price Assumptions

           76.          The KKR Fund Model and KKR Stress Model assumed that the additional

           hedges required to meet the Hedging Target

                                                                                                    As of

           Deal Close, these Gas and Oil Futures Curves were more than five weeks old during

           which time both gas spot prices and futures prices had been declining, while oil prices

           were relatively flat.

           77.          Figure 19 shows the price of the natural gas hedges in place as of Deal Close,

           the hedge price forecast used by KKR                                                  and the



62
     Volume and Open Interest was calculated as the average over the month of December.

                                                        49
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                                                     Over the duration of the Gas Futures Curves, the

        11/11/2011 Gas Futures Curve averages $0.37/MMBtu more than the 12/21/2011 Gas

        Futures Curve. I have compared the value of the additional hedge volumes required to

        meet the

                                                                and determined that using the

        11/11/2011 Gas Futures Curve in the KKR Stress Case overstates the value of these

        hedges by approximately $141MM and overstates EBITDA by $36MM in 2012, $31MM

        in 2013, $26MM in 2014, $26MM in 2015 and $22MM in 2016 as compared to using the

        12/21/2011 Gas Futures Curve. 63


                              Figure 19 – Natural Gas Hedge Pricing




63
  As calculated in KKR-SAM_0208022 - Last Modified Nov. 29 -- 3-70 Stress Final - 12-21 Fwd Curve for Hedge
Pricing

                                                    50
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78.        Figure 20 shows that the hedge price forecast used by

                                                                       are very close. I

have compared the value of the additional hedge volumes required to meet the KKR

Hedging Target at the

                                      and determined that using the 11/11/2011 Oil

Futures Curve overstates the value of these hedges by approximately $1MM in the KKR

Stress Case.

                         Figure 20 – Oil Hedge Pricing




79.        In addition, there was insufficient liquidity in the market for KKR to execute

the volume of hedges required to meet the KKR Hedging Target without impacting

pricing. This suggests that if KKR were to begin executing hedges, the market would

react to this supply and the price of the available hedges would decrease with the more

hedges executed.



                                        51
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       80.         Based on the above, it is clear that




                                                                    Thus, the lack of liquidity in the

       market made the forecast hedges in the model unachievable at or around the Deal Close.

       And though the price impact could be mitigated by layering in hedges gradually over

       time, a delay in implementing the hedges posed the risk that prices would continue to

       decline, and the available prices would be materially lower than the prices in the Hedge

       Target.

                       c)      Disagreement of Project Sponsors on Hedging Plan

       81.         Upon reviewing email correspondence of the Sponsors around the time of

       Deal Close, and deposition transcripts, it is also clear that




 Email Dated December 9, 2011 – Re: Tulip Natural Gas Hedging – 2011.12.09 KKR-SAM_0069941
64

 See Email Dated January 10, 2012 – RE: Updated Tulip Hedge Pricing – 2012.01.10 KKR-SAM_0078243;
65

Rockecharlie, at 161:4-164:10 (Sept. 30, 2019).

                                                  52
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       82.




66
   Email Dated January 04, 2012 – RE: Samson Gas Hedging – 2012.01.04 KKR-SAM_0099167
67
   KKR-SAM_0205406.
68
   Smidt Deposition, at 177:5-181:19 (Mar. 17, 2021).

                                                  53
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                                                     This                    is yet another

reason why the hedging assumptions in the KKR Fund Model and KKR Stress Model,

both as to prices and volumes, were not reasonable or achievable.

        2.      FEP’s Hedge Assumptions

83.          As explained above, KKR’s assumed additional hedges were unachievable

immediately after Deal Close and Samson’s ability to layer in the Hedge Target volumes

gradually over time at the assumed prices was highly speculative and would be

unachievable if prices continued to decline. Therefore, I have replaced KKR’s hedging

assumptions in the Stress Model with what are, in my opinion, far more reasonable

assumptions. Because the hedges are most economically relevant in a stress case, I have

assumed that Samson achieved its Hedge Target gradually over time, but at prices

consistent with my stress case pricing scenario, which is set forth above in Section 2.

84.          I developed a projection of the post-Deal Close natural gas hedge volumes

assuming the level of hedge activity conducted during the intervening month between

Deal Signing and Deal Close would continue at the same rate for the prompt month

(January 2012 was the prompt month for trading conducted in December 2011) and

subsequent months until the target hedge volumes were met. In other words, if during the

month between Deal Signing and Deal Close they were able to hedge

in January 2012, then in January 2012 it was assumed they would be able to hedge

                  in February 2012, and so forth. The hedges assumed in my analysis are

shown in Figure 21 below. As shown, under this scenario, Samson would have achieved

its targeted hedge volumes for natural gas by April 2012, four months after close.


                                         54
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           Figure 21 – Forecasted Natural Gas Hedge Volumes Post Close by Month




             85.      I then developed a forecast of futures curves at which they could place these

             hedges accounting for my stress case natural gas prices. I did this by assuming the

             relationship between the average of spot prices from 11/1/2011 through 11/21/2011 69

             to the prompt month futures price would be maintained and applied to my assumed

             monthly natural gas spot price stress case forecast, as discussed in Section 2. As an

             example, the December 2012 futures prices as of 11/21/2011 was $3.40/MMBtu, and

             the average spot prices from 11/1/2011 through 11/21/2011 was $3.28/MMBtu,

             which represents a prompt month premium of $0.12/MMBtu. I therefore applied the




69
  An average price was used so as not to have any bias impact from using one day, if that day happened to be the
lowest price of the month, for example.

                                                        55
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prompt month premium of $0.12/MMBtu to the stress case price in January 2012 of

$2.95/MMBtu, resulting in a February 2012 futures price forecast of $3.07/MMBtu. I

then used the same futures price shape (differences in prices between each month) of

the 11/21/2011 futures price curve for the remaining months of the forecast. The

resulting assumed futures gas price curves at which Samson could have hedged in my

FEP stress case are shown in Figure 22.

            Figure 22 – Forecasted Stress Case Hedge Prices




86.    I considered the same analysis for oil, but because

                        for the first three years and therefore had no new hedges to be

put in place to meet their targets during that time period, the impact of this analysis

would not have a material change to the conclusion and therefore, I assumed the oil

hedge profile from the KKR Stress Case.




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C.     FEP Stress Case: The Impact of Applying FEP’s Assumptions Regarding
Stress Case Pricing and Hedging to the KKR Stress Drilling Case.

87.        As set forth above, KKR’s Stress Model was unreasonable because it

contained unreasonable assumptions regarding hedging and stress case pricing. I also

note that it was unreasonable for a third reason: it did not take into account a downside

drilling or operational scenario. Drilling forecasts have inherent uncertainty in them, as

the results of drilling a well cannot be known until the well is drilled. Engineers and

geologists use data such as that from existing wells and seismic data to try to predict the

size and extent of a hydrocarbon reservoir, and model well performance based on wells

previously drilled within that reservoir. As more wells are drilled, more information is

gathered, and the forecasts are updated. To prepare the KKR Fund Model and the KKR

Stress Model, the Sponsors were required to model drilling results for

locations and               , forecast out for   years. As the drilling program gets

farther away from the existing wells, the uncertainty continues to increase.

88.




                                         57
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        89.         The KKR Stress Case should have evaluated a combination of downside

        commodity pricing as well as a downside drilling case.




        90.         Therefore, I have created a stress case scenario that (1) replaces KKR’s stress

        case prices with FEP’s stress case prices discussed above in Section V.A.2, FEP’s Stress

        Case Commodity Price Methodology; (2) replaces KKR’s hedging assumptions with

        FEP’s hedging assumptions discussed above in Section V.B.2, FEP’s Hedge

        Assumptions; and (3) applies those FEP assumptions for stress case pricing and hedging

        to KKR’s Downside Drilling Case. It is important to note that my use of KKR’s

        Downside Drilling Case is not in any way an endorsement of that case, as I have not



70
   Email dated October 18, 2011 – FW: Tulip Investor Models – 2011.10.18 KKR-SAM_0023401
71
   Email dated October 21, 2011 – RE: Additional Investor Deck Slides - Tab 15_2011.10.21 KKR-SAM_0040190
72
   Email dated November 30, 2011 – RE: Tulip Model – Tab 41_2011.11.30 KKR-SAM_0044674

                                                   58
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evaluated whether the assumptions and projections in the KKR Downside Drilling Case

are reasonable or whether they are overly optimistic for a downside case. That analysis is

outside the scope of my report. However, at a minimum, KKR should have considered

its own downside drilling projections together with reasonable downside stress prices and

reasonable hedging assumptions. That is the analysis shown below in Tables 6 and 7.

Table 6 compares the outcomes under different scenarios discussed in this report,

including the FEP Stress Case. Table 7 presents detailed cash flows for the FEP Stress

Case.

                    Table 6 – FEP Stress Case Sensitivities
 Base Model          KKR Stress   KKR Stress        KKR Stress         KKR Stress           FEP Stress
                                                                  Gas Stochastic & Oil
                                                 Gas Stochastic &                        Gas, Oil, Hedging,
 Assumption                       Oil Historic                      Historic & Gas
                                                   Oil Historic                          Downside Drilling
                                                                        Hedges




                                          59
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           91.          As shown in Tables 6 and 7, under the FEP Stress Case:

                    a. Gross IRR is -19.0%

                    b. Free cash flows are negative through 2022

                    c. The Credit Agreement borrowing limit 73 is reached in 2016

                    d. The Credit Agreement Debt to EBITDA ratio covenant is broken in Q1 2014

                    e. The assets would not generate sufficient cash flow to repay debt, with the

                        Credit Facility increasing well above the borrowing limit by 2016.74

                    f. Free cash flows (after debt service obligations) are substantially negative in

                        the early years, with the negative free cash flows increasing to negative $370

                        million in 2017 and remaining negative over the projected 10-year period.

           92.          The cash flow outlook is similarly negative even under KKR’s Base Case

           Drilling scenario, assuming FEP’s stress case commodity prices and FEP’s hedging

           assumptions, as shown below in Table 8.




73
     Per, 2011.12.21 RBL Revolver Credit ,the borrowing limit in the Credit Agreement was $2,250,000,000.
74

                                                           My conclusion is based on the when the amount of debt
under the Credit Facility exceeds the borrowing limit of $2.25 billion reflected in the model.

                                                         60
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      Table 8 – Key Metrics from KKR Stress Case with FEP Pricing & Hedging
            Assumptions and KKR Base Case Drilling Assumptions




93.        As shown in Table 8, even using KKR’s Base Case drilling assumptions with

the FEP stress case commodity price and hedging assumptions, levered free cash flows

are -$113 in year 1, and then are negative by at least $237 million for the next 5 years.

94.        Based on my experience, it is clear that, under the scenarios shown in Tables 7

and 8, Samson would not have been sustainable as a going concern. And, once again,

Tables 7 and 8 assume KKR’s own drilling projections (stress case drilling and base case

drilling, respectively), which I have not evaluated but which I understand are being

challenged by the Plaintiff as overly optimistic.

95.        KKR’s own stress case, however, would not have warned them of the

potential adverse outcomes of a realistic stress case scenario, with realistic hedging

assumptions.

                     as compared to the Gross IRR in the FEP Stress Case of negative

19% (and as compared to the negative 9.5% Gross IRR when using FEP commodity and

hedging assumptions with KKR’s base case drilling projections). And, as shown below

                                         61
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           Table 9 – Key Metrics from KKR Stress Case Scenario




96.        In summary, KKR’s Stress Case reflected a scenario in which Samson was

potentially sustainable, and in which the Sponsors’ Gross IRR was positive. Had KKR

used reasonable assumptions for stress case commodity prices and hedges, the Sponsors

would have been confronted with a stress case in which Samson was clearly

unsustainable as a going concern, using KKR’s stress case drilling assumptions, or even

KKR’s base case drilling assumptions.




                                 Respectfully Submitted,




                                 __________________________________________

                                 Todd W. Filsinger

                                 Date: July 27, 2021


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Appendix A: Curriculum Vitae of Todd Filsinger




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                              65
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Appendix B: Record of Testimony of Todd Filsinger

I have testified as an expert at trial or by deposition in the following cases in the past four years:
   •   The Financial Oversight and Management Board for Puerto Rico as representative of Puerto Rico
       Electric Power Authority (“PREPA”), Case 17 BK 04780 (LTS), PROMESA Title III, in the United States
       District Court for the District of Puerto Rico, 2019.
   •   Ampersand Chowchilla Biomass, LLC, as Massachusetts limited liability company, and Merced
       Power, LLC, a California limited liability company, Case 1:14-cv-00841-MCW, Unites States Court
       of Federal Claims, 2017-2018.
   •   The Financial Oversight and Management Board for Puerto Rico as representative of Puerto Rico
       Electric Power Authority (“PREPA”), Case 17 BK 04780 (LTS), PROMESA Title III, in the United States
       District Court for the District of Puerto Rico, 2018.
   •   Sandy Creek Energy Associates, L.P. versus Lower Colorado River Authority, AAA No. 01-16-0002-
       6892, American Arbitration Association, 2017.
   •   NRG Renew LLC versus SunPower Corporation, Case MSC14-00504, Superior Court of the State of
       California in and for the County of Contra Costa, 2017.




                                                    66
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Appendix C: Materials considered in forming opinions

2017-11-07 Complaint
JEFF00019453
SEC-00249904
KKR-SAM_0099394
KKR-SAM_0208021
KKR-SAM_0208022
KKR-SAM_0044674
Data from the United States Energy Information Association
NGP00041615
KKR-SAM_0208180
In re Samson Resources Corp., No. 15-11934, (Bankr. D. Del. Sept. 16, 2015)
KKR-SAM_0204954
Baker Hughes – North America Rotary Rig Count - https://rigcount.bakerhughes.com/na-rig-
count
2011 Annual Energy Outlook, United States Energy Information Association
EIA – Today in Energy August 3, 2011
Data from Hitachi ABB Power Grids Velocity Suite
Data from S&P Global
Upadhyaya Deposition
Lipschultz Deposition
Smidt Deposition
Limbacher Deposition
Rockecharlie Deposition
Zohair Deposition
Giseleman Deposition
Farley Deposition
https://www.myaccountingcourse.com/accounting-dictionary/marginal-cost
KKR-SAM_0023401
KKR-SAM_0040190
KKR-SAM_0207906

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KKR-SAM_0044674
KKR-SAM_0111238
SAMDSUB00053295
KKR-SAM_0069941
KKR-SAM_0078243
KKR-SAM_0099167
KKR-SAM_0205406.
KKR-SAM_0023401
KKR-SAM_0040190
KKR-SAM_0044674
RBL Revolver Credit Agreement
Supporting workpapers (to be provided separately)




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Samson Resources Corp., et al.,
Case No. 15-11934 (BLS)


Expert Report of Scott Baxter
Part 1 of 2 - Samson Onshore Transaction
BRG Solvency and Reasonable Equivalent Value Analyses

July 27, 2021 (Amended August 23, 2021)




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   I. ASSIGNMENT




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    A. Assignment
    1.       Berkeley Research Group, LLC (“BRG”) has been retained by White & Case LLP (“Counsel”) in connection with its representation
             of Samson Settlement Trust (“Settlement Trust” or “Plaintiff”) in the above-referenced matter. I have been asked to evaluate and
             form opinions (the “Part 1” or “Onshore Report”) regarding the solvency (or insolvency) of Samson Investment Company (“SIC”)
             and certain of its affiliates, parent, and/or subsidiaries (collectively, “Samson”, “Samson Onshore”, or the “Debtor”)1 regarding the
             Samson Onshore Transaction2 (the “Transaction” or “Samson Onshore Transaction”) which occurred on December 21, 2011 (the
             “Samson Onshore Closing Date,” the “Closing Date” or “Closing”), in the context of 11 U.S.C. §§ 544 and 550 and applicable state
             law including Uniform Fraudulent Transfer Act as enacted in Delaware, Nevada, and/or Oklahoma. I address in Part 2 of my report
             (the “Samson GoM Report” or “Part 2”) the transaction involving the Gulf Coast and Offshore Gulf of Mexico assets (the “Samson
             GoM Assets”) with the Schustermans                                                                 (collectively, the “Samson GoM
             Transaction” and “Samson GoM Closing Date”). In this Onshore Report (Part 1), I will specifically address the following questions
             posed to me by Counsel:
                     A. As of the time of the Samson Onshore Transaction, was Samson insolvent under any one of the following three tests:
                                       i.    “Balance Sheet Test”: Whether the fair market value (“FMV”) of Samson’s assets exceeded the FMV of
                                             Samson’s liabilities as of the Transaction;
                                      ii.    “Capital Adequacy Test”: Whether Samson was engaged (or was about to engage) in a business or a
                                             transaction for which the remaining assets of Samson were unreasonably small in relation to the business
                                             or transaction, including in light of the debt incurred in the Transaction; and
                                     iii.    “Cash Flow Test”: Whether Samson incurred debts that it reasonably should have known would be beyond
                                             its ability to pay as they come due?
                     B. Did Samson receive reasonable equivalent value for the consideration it paid to the sellers (“Selling Stockholders” or
                      “Sellers”) in the Transaction led by the LBO Buyer Consortium?3


1
  I have been asked by Counsel to assume that the affiliates falling within the defined term “Samson,” in addition to SIC and SRC, include those debtor subsidiaries that may
   have made transfers in connection with the Samson GoM Transaction, including: Samson LS, LLC; Samson Contour Energy E&P, LLC; Samson Resources Company;
   and Samson-International, Ltd (the “Subsidiary Debtor Transferors”).
2
  The Samson Onshore Transaction refers to the acquisition of the stock of Samson Investment Company pursuant to the November 22, 2011 Stock Purchase Agreement.
   (“SPA”).
3
  The LBO Buyer Consortium refers to the consortium led by Kohlberg Kravis & Roberts L.P. (“KKR”) and including two additional private equity firms, Natural Gas
   Partners IX, L.P. (“NGP”) and Crestview Partners II, L.P. (“Crestview”), along with other investors, (collectively we refer in this Onshore Report to either “KKR” or the
   “LBO Buyer Consortium”) that acquired the stock of Samson Investment Company in the Samson Onshore Transaction; further details are in Section III of this Onshore
   Report.



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   2.     The documents I have relied upon in reaching my opinions are listed in Appendix Z. I would note for the Court, Samson was privately
          held both prior to, and after, the Closing Date. Accordingly, we do not have any public market equity trading values of Samson either
          prior to or post the Transaction to evaluate.
   3.     A list of defined terms and abbreviations is contained in Appendix A




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   II. QUALIFICATIONS




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   A. Mr. Baxter’s Qualifications
   4.     I am a Managing Director in the Global Energy Group of BRG, a leading global strategic advisory, investment banking, financial
          consulting, and restructuring advisory firm. BRG has over 44 offices globally with approximately 1,500 professionals and over 250
          Managing Directors. BRG’s services also include providing independent fairness opinions, valuation opinions, expert witness
          testimony, data analytics, authoritative studies, forensic investigations, dispute consulting, and regulatory testimony. BRG’s clients
          span large public and privately held corporations, financial institutions, government agencies, law firms, and regulatory bodies. BRG,
          through an affiliated entity, is also a FINRA-regulated Broker-Dealer and provides securities and capital advisory services.
   5.     BRG’s Energy & Climate Practice comprises 15 Managing Directors, over 40 professionals, and since January 2019 has been
          involved in advisories totaling over $100.0 billion.
   6.     I have over 30 years of energy investment banking experience with over $200.0 billion in advisory transactions, including:
               A. Primary advisor in executing over $150.0 billion in corporate and asset energy mergers and acquisitions (“M&A”) transactions
                  spanning upstream exploration and production (“E&P”), oil field services (“OFS”), midstream gathering, intra-and-interstate
                  pipelines and processing (“Midstream”), refining & marketing (“R&M”), and renewables including wind, solar and ethanol
               B. Advised on over $40.0 billion in energy-related restructurings and bankruptcy-related transactions with significant
                  restructuring expertise in upstream E&P, OFS, Midstream, R&M, and renewables
               C. Advised on over $30.0 billion in energy-related public and private capital raises
               D. Rendered over 40 formal energy-related fairness and valuation opinions
               E. Advised on hundreds of detailed valuations spanning the energy industry
   7.     My career includes being a Managing Director in Citigroup’s Global Energy Group, Head of Americas for the Global Energy Group
          for JPMorgan Chase, Head of Global Energy for Houlihan Lokey, and various positions with other firms.
   8.     My formal education includes receiving an MBA from the University of Chicago Graduate School of Business, including courses
          from the University of Chicago Law School such as Structuring M&A Transactions and Advanced M&A Tax.
   9.     My professional experience also includes serving for many years as an adjunct professor at the Columbia University Graduate School
          of Business teaching an Advanced M&A and Valuations course to their full-time MBA program.
   10.    For the last 15 years, I have also served as an independent director and member of the audit committee on the board of directors of a
          large New York Stock Exchange (“NYSE”) publicly traded company.




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   11.    I hold current FINRA securities licenses including Series 79 (investment banking license), 24 (principals license), 7 (securities
          license) and 63 (state securities license).
   12.    A copy of my current curriculum vitae is attached to this Report as Appendix B and a listing of trial testimony during the past four
          years is attached as Appendix C.
   13.    BRG is being compensated at $950/hour for my time in connection with this matter. BRG is being compensated for staff who have
          assisted me on this engagement at their hourly rates. Our fees are not contingent upon either the outcome of the litigation or the
          conclusions expressed herein.




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   III. BACKGROUND




                                                                               7
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   14.    Samson: SIC was a privately held upstream E&P company, headquartered in Tulsa, OK, that was engaged in the exploration,
          development and production of natural gas, oil, and natural gas liquids (“NGLs”), both onshore in the lower 48 United States, and
          the Gulf Coast and offshore Gulf of Mexico.4 Samson Onshore had operations primarily in seven onshore basins: the Anadarko,
          Arkoma, Haynesville, Green River, Powder River, San Juan, and Williston Basins.
    15.




    16.




    17.




4
  Consolidated Financial Statements of Samson Investment Company, June 30, 2011 and 2010, p. 7 (000036).
5
  Jefferies & Company, Inc. Engagement Letter, dated June 9, 2011 (SEC-00190144-55).
6
  Jefferies’ Weekly Update of External Communications Regarding Project JV dated July 7, 2011 (JEFF00006311).
7
  September 19, 2011 Indicative Bid Proposal from KNOC (SEC-00190543-6).
8
  September 8, 2011 Offer to Purchase from Apache (SEC-0272734-8) and October 13, 2011 Offer to Purchase from Apache (JEFF00018092-6).
9
  September 19, 2011 Non-Binding Offer Letter from KKR (KKR-SAM_0191736-39).
10
   November 22, 2011 Stock Purchase Agreement, p. 5 and 8 (SAMS0039852-41129 at 39873 and 39876).
11
   November 22, 2011 Stock Purchase Agreement, Recitals and Annex A (SAMS0039852-41129 at -39869 and 39949). Samson Resources was formerly known as Tulip
   Acquisition Corporation.
12
   Consolidated Balance Sheet of Samson Energy Company, LLC (“Samson Energy”) and Subsidiaries as of January 31, 2012, note 2 (SEC-00195134). It is my understanding
   that Samson Energy. is and/or was owned by SFT (Complaint dated September 15, 2017, p. 7).
13
   This term is defined in the Samson GoM Report.



                                                                                                                                                                  8
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   18.    Financings and Financial Transactions of Samson: The Samson Onshore Transaction’s $6.9 billion Gross Cash Consideration
          paid at Closing was funded with approximately $3.6 billion in new debt consisting of: (i) approximately $1.3 billion drawn from a
          new first lien revolving credit facility (the “1st Lien RCF”) led by JPMorgan Chase (“JPM”) which was secured on a first-lien basis
          by the assets of Samson Onshore,14 and (ii) a $2.25 billion bridge loan, also from a syndicate of lenders led by JPM.
     19.    On or about February 8, 2012, Samson Onshore completed a “take-out” of this bridge loan by issuing a private placement of debt for
            approximately the same amount of $2.25 billion of 9.75% Senior Unsecured Notes due 02/15/20 (the “Senior Unsecured Notes”), the
            proceeds of which were used to pay off the $2.25 billion bridge loan.15
     20.    On or about September 25, 2012, as part of Samson’s negotiations with JPM regarding covenant relief discussions,16 Samson paid
            down approximately $1.0 billion of its 1st Lien RCF by taking on a second lien secured term loan (the “2nd Lien Term Loan”) (which
            continued to also be secured by the Samson Onshore assets). Samson did not obtain any material new or incremental borrowings in
            this transaction and its total debt level remained about the same.17
     21.    On or about August 25, 2014, Samson Onshore completed a public listing of its Senior Unsecured Notes which resulted, by way of
            an exchange offer, the Senior Unsecured Notes becoming registered and publicly-traded, but again, this was not a new borrowing or
            financing, and no new debt capital was raised in this transaction. 18 The trading values of the Senior Unsecured Notes dropped
            precipitously low almost immediately after their public listing19 (please see later in this Report) .
     22.    Samson Onshore Bankruptcy and Present Dispute: On or about September 16, 2015, Samson filed for relief under Chapter 11 of
            the Bankruptcy Code.20 On November 7, 2017, the Settlement Trust filed this present suit, which alleges that
                         “The Debtors’ LBO-related borrowings, and transfers of funds and other assets to the Selling
                         Shareholders and Samson Energy and its subsidiaries (and the remaining recipients of related
                         transfers), left the Debtors balance sheet insolvent and inadequately capitalized on the day of the
                         closing. From the beginning, the Selling Shareholders left the Debtors with unreasonably small
                         assets to support their billions of dollars of debt and unable to withstand the systemic foreseeable
                         shifts in the energy market.”21

14
   Consolidated Financial Statements for the three months ended March 31, 2012 and 2011 for Samson Resources Corporation and subsidiaries, p. 14 (SAMS0187441-61,
   at -55).
15
   2012 Annual Report of Samson Resources Corporation and subsidiaries, p. 21-22 (SAMS0187756-819, at -779-780).
16
   See, e.g., KKR-SAM_0142079, at -099; SAMS0050245, at -355 & -356.
17
   2012 Annual Report of Samson Resources Corporation and subsidiaries, p. 22 (SAMS0187756-819, at -780).
18
   Samson Resources Corporation, Form 10-Q for the quarter ended June 30, 2014, p. 6.
19
   Samson Resources Corporation, Form 10-K for the year ended December 31, 2014, p. F-25.
20
   Complaint dated September 15, 2017, p. 41.
21
   Complaint dated September 15, 2017, p. 29.



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   IV. INDUSTRY STANDARDS DEFINITIONS AND RISKING




                                                                               10
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     A. Industry Standard Definitions of Reserves and Resources
     23.     This section provides a high-level overview of industry standard definitions of petroleum reserves and resources.
     24.     Industry standards classify oil and gas reserves using definitions put forth by the Petroleum Resources Management System
             (“PRMS”).22 The PRMS resulted from the consensus of several energy industry professional organizations, one of the most prominent
             being the Society of Petroleum Engineers (“SPE”). In this Report, we will refer collectively to industry-standard definitions of
             petroleum reserves and resources as “SPE PRMS” standards and/or definitions.
     25.     Reserves are defined by SPE PRMS as “those quantities of oil and gas which, by analysis of engineering and geoscience data, can be
             estimated … to be commercially recoverable… Estimates of reserves may increase or decrease as a result of market conditions, future
             operations, changes in regulations, or actual reservoir performance”23 but they must be “discovered, recoverable, commercial, and
             remaining.”24 The risk and uncertainty of reserves vary by SPE PRMS category:
             A. Proved reserves (“1P” reserves) are those quantities that “can be estimated with reasonable certainty to be commercially
                recoverable.” In order to be defined as Proved reserves, there must be a probability of recovering at least 90% of the estimated
                quantities.25 Proved reserves are divided further into at least three common sub-categories:
                        i.    Proved Developed Producing (“PDP”) reserves are “expected quantities to be recovered from existing “producing”
                              wells and facilities.”26
                       ii.    Proved Developed Non-Producing (“PDNP”) reserves are quantities from existing wells that are currently “shut-in”
                              or “behind-pipe,” (not producing) meaning that their “production can be initiated or restored with relatively low
                              expenditure compared to the cost of drilling a new well.” 27,28




22
   Petroleum Resources Management System, Sponsored by: Society of Petroleum Engineers, American Association of Petroleum Geologists, World Petroleum Council,
   and Society of Petroleum Evaluation Engineers, 2007 (“PRMS 2007”) and Petroleum Resources Management System, Sponsored by: Society of Petroleum Engineers,
   American Association of Petroleum Geologists, World Petroleum Council, Society of Petroleum Evaluation Engineers, Society of Exploration Geophysicists, Society of
   Petrophysicists and Well Log Analysts, and European Association of Geoscientists & Engineers, Revised June 2018. (“PRMS 2018”).
23
   November 2011 NSAI Reserve Report (SAMS0098903-8935, at -04).
24
   November 2011 NSAI Reserve Report (SAMS0098903-8935, at -07).
25
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -14).
26
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -13).
27
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -13).
28
   PDNPs are frequently grouped together with PDPs in summaries of reserves.



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                      iii.   Proved Undeveloped (“PUD”) reserves are “quantities expected to be recovered” from “known” reservoirs through
                             future investments in drilling and/or facilities projections.29 Reserves in undeveloped locations may be classified as
                             PUDs if the undrilled locations “can be judged with reasonable certainty to be commercially productive.”30
            B. Probable reserves are those which analysis of geoscience and engineering data indicate are less likely to be recovered than
               Proved reserves. The sum of Proved plus Probable reserves is referred to as “2P” and, by SPE PRMS definitions, there is only a
               50% probability that the actual quantities of reserves will be equal to, or higher than, the estimated volumes for 2P reserves.31
            C. Possible reserves are those which analysis of geoscience and engineering data indicate have a lower probability of recovery than
               either Probable or Proved reserves and the sum of Proved plus Probable plus Possible reserves are referred to as “3P” and, by
               SPE PRMS definitions, there is only a 10% probability that the actual quantities of reserves will be equal to, or higher than, the
               estimated volumes for 3P reserves. In other words, there is only a one-in-ten chance that at least the estimated quantity of 3P
               reserves will be recovered, when defined by third-party reserve engineering firms using SPE PRMS definitions.32
            D. Contingent Resources (“CR”) are: “quantities of petroleum estimated, as of a given date, to be potentially recoverable” but are
               “not yet considered mature enough for commercial development due to one of more contingencies.” These contingencies could
               be “no viable markets,” “technology under development,” or insufficient evaluation.33 SPE PRMS does not even assign such a
               low probability of recovery to CR (e.g., in Possible reserves as 10%). When it comes to valuation analysis in practice, they are
               generally assumed to be near zero probability by market convention.
            E. Prospective Resources are “quantities of petroleum estimated, as of a given date, to be potentially recoverable from undiscovered
               accumulations by application of future development projects.” SPE PRMS specifies that such potential volumes must have both
               “an associated chance of discovery” and “a chance of development”34 depending on whether the discovered volumes are sufficient
               to be commercial. Here again, SPE PRMS does not assign even a low probability of recovery to Prospective Resources. When it
               comes to valuation analysis in practice, they are generally assumed to be near zero probability by market convention.


     B. RAFs and RADRs Used for Valuation and Cash Flow Projections
     26.    For over 30-years, as a practitioner of upstream E&P M&A valuations, I have used and observed certain fundamental methods in
            valuing upstream E&P companies and assets, including how to risk and value the projected cash flows coming from reserves. We as

29
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -14).
30
   November 2011 NSAI Reserve Report, Table 3 (SAMS0098902-35, at -14).
31
   November 2011 NSAI Reserve Report, Table 3 (SAMS0098902-35, at -14).
32
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -15), Deposition of Lee George, February 25, 2020, p. 208 (line 23-25) – 209 (line 2-6).
33
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -07).
34
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -07).



                                                                                                                                                    12
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          practitioners typically will use two methods for risking the projected cash flows derived from upstream E&P reserves: (i) RAFs--one
          method uses what we call Risk Adjustment Factors (“RAFs”); and (ii)RADRs--the other method uses what we call Risk Adjustment
          Discount Rates (“RADRs”). Both of these methods apply a market valuation to the projected free cash flows and preliminary value
          estimates from the various SPE PRMS reserve categories. These RAFs and RADRs market valuation “riskings” are in addition to
          the SPE PRMS commercial and technical reserve probability “riskings” applied to the reserves discussed earlier.
       27.     RAFs and RADRs are widely used by credible valuation experts in this industry when valuing upstream E&P companies and assets.
               In Part 1, I have elected to cite from one particular industry source for these RAFs and RADRs given the opposing expert firm is
               Opportune, a firm which I will note I have the utmost respect. This industry source which documents RAFs and RADRs is the Society
               of Petroleum Evaluation Engineers (“SPEE”). SPEE is a professional petroleum industry organization which has been in existence
               since 1962, and this organization has a stated goal that focuses on the development of professional and ethical petroleum valuation
               standards. The Chair of SPEE’s Evaluation Parameter Survey Committee is Steve Hendrickson, who is also the President of the
               petroleum engineering firm, Ralph E. Davis Associates, a subsidiary of Opportune. SPEE issues, collects, and publishes annual
               Evaluation Parameter surveys that report these widely used RAF and RADR metrics (collectively, we will refer to these annual
               surveys in this Report as the “SPEE Surveys”).
       28.     Decades ago, SPEE began to survey many of us oil and gas valuation practitioners as to how we were valuing and evaluating oil and
               gas properties, and specifically, how we were accounting for various market and valuation risks in our DCF Analyses beyond, and in
               addition to, the probabilities assigned by the third-party reserve engineers using SPE PRMS definitions of Proved, Probable and
               Possible reserves, and CR.35
       29.     Practitioners use RAFs and RADRs to factor into the valuation and free cash flow projections various market risks inherent in the
               development and ultimate profitability of oil and gas reserves including, but not limited to: commodity price uncertainties (including
               basis differential risks), operating expense overrun risks (including lease operating costs, labor costs and other production expense
               risks), mechanical failure risks, production timing risks (including initial production rate risks), profitability and margin risks, drilling
               capital expenditure and completion cost overrun risks, and regulatory environmental risks.36 Just as the SPE PRMS probabilities
               decrease materially as you move from riskier reserve categories of Proved to Probable to Possible, so do the RAFs and RADRs also
               adjust for these additional market risks more and more as you move down the SPE PRMS reserve categories when valuing Proved to
               Probable to Possible reserves. I’ll comment more regarding RAFs and RADRs and their applications later in this Part 1 (Onshore
               Report), as well as in Part 2 (Samson GoM Report).




35
     https://spee.org/about-us and June 2011 SPEE Survey, p. 29.
36
     Adapted from 2014 SPEE Survey page 36, Table 10 – Factors that Influence the Choice of RADRs.



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   V. OPINIONS AND ANALYSIS




                                                                               14
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          A. Solvency (Insolvency) Opinion
       30.      It is my opinion that Samson was insolvent as of the Samson Onshore Transaction Closing Date,37 as measured and evaluated
                by the three solvency tests referenced above.
                        1. The KKR Projections Were Not Reasonable, Realistic or Credible
       31.      I will specifically address each of the three solvency tests in turn below. However, I begin by addressing the KKR projections used
                by the LBO Buyer Consortium (led by KKR), upon which the Transaction was predicated, (referred to as the “KKR Projections”),38
                as they form the foundation of Samson failing all three solvency tests. The material errors in assumptions embedded in the KKR
                Projections resulted in the LBO Buyer Consortium materially overestimating the projected production volumes and projected free
                cash flows. These mistakes in turn impacted the LBO Buyer Consortium’s views regarding their valuation assessments, how much
                debt was reasonable to be placed on Samson, and their downside sensitivity scenarios.
       32.      The KKR Projections were not reasonable by industry standards and, if the KKR Projections had used reasonable industry standards
                and assumptions, the LBO Buyer Consortium would or should have known, that Samson was technically insolvent as of the Closing,
                and further, that reasonably foreseeable scenarios would cause Samson to go bankrupt. It is my opinion that the KKR Projections
                (and the LBO Buyer Consortium) failed to use reasonable projections and valuation assumptions regarding several critical areas,
                including, but not limited to, the items described below.
       33.      Since the KKR Projections were flawed in many areas as documented below,




37
     Including also                                     , on the Samson GoM Closing Date.
38




39
     Form 10-K of Samson Resources Corporation for the Fiscal Year Ended December 31, 2014, p. F-2. See discussion in Section V.A.4.d.



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          (spot) price of natural gas was within 5%40 of the spot price of natural gas at Closing—this fact highlights there were many very
          material issues with the KKR Projections.
                            a. The KKR Projections drastically overstated the production volume estimate which would come from
                               Samson’s reserves, particularly from their “Risked Undeveloped Reserves” category, because they did not
                               conform to SPE PRMS definitions41
       34.     The KKR Projections, especially for their “Risked Undeveloped Reserves” category, did not conform to SPE PRMS definitions. One
               result of this mistake was that the KKR Projections materially overestimated the production and the resulting free cash flows which
               would come from their “Risked Undeveloped Reserves” category, a group of reserves that encompassed all reserves and resources
               outside of PDP and PDNP in the KKR Projections.42 The KKR Projections failed to calibrate and adjust these Risked Undeveloped
               Reserves with the more credible and independent reserve estimates which were known and knowable at the time of the Transaction.
               In fact, independent estimates of production and free cash flows were conducted, for them and at their request, by the credible third-
               party reserve engineering firm Netherland, Sewell & Associates, Inc. (“NSAI”) in its November 16, 2011 report (“November 2011
               NSAI Reserve Report”). This November 2011 NSAI Reserve Report was a Proved reserve 1P report and was conducted by NSAI at
               the request of KKR, it conformed to SPE PRMS reserve definitions,43 and KKR supplied the commodity price and cost assumptions
               upon which NSAI based their 1P reserve volumes and SPE PRMS reserve category classifications.44
       35.


                                                                                                             More precise reserve categorization,
               more credible production and cash flow estimates, and more credible and industry standard market and commercial risking measures
               were known or knowable at the time of the Transaction.45




40
     December 21, 2011 spot gas price was $3.05/mmbtu and the average spot gas price for the first quarter of 2015 was $2.90//mmbtu (Henry Hub daily spot prices from
     http://www.eia.gov/).
41


42
   KKR Projections (KKR-SAM_0208022, "NAV" and “Asset Summary” worksheets.
43
   Deposition of Lee George, February 25, 2020, p. 210, line 7-11.
44
   November 2011 NSAI Reserve Report (SAMS0098902-35, at -17).
45
   For definition of hydrocarbon reserves and resources categories, see Section IV.A.



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   36.    In computing their Risked Undeveloped Reserves category, KKR used what they termed “Risked Net Locations,” derived by KKR’s




     37.


     38.    In addition, perhaps for a number of potential reasons, KKR elected not to have NSAI further quantify the Samson reserves (and
            report back to KKR), the Samson Onshore 2P (Proved plus Probable) and 3P (Proved plus Probable plus Possible) reserves either
            prior to signing the SPA, or prior to the Closing Date. However, the information to estimate the 2P and 3P reserves was “known or
            knowable” at the time of the Transaction. KKR and/or the LBO Buyer Consortium could have either estimated the 2P and 3P reserves
            themselves, or elected to have such a 2P and 3P reserve report prepared for them by NSAI prior to the Closing.
     39.    As part of our work for this Onshore Report, BRG estimated Samson’s Probable 2P and Possible 3P reserves as of the Closing Date
            using the information which was available to KKR and the LBO Buyer Consortium at or before the Closing. In addition, a full 3P
            reserve report was completed just six months after the Closing by NSAI as of June 30, 2012 (the “June 2012 NSAI Reserve Report”).47
            The June 2012 NSAI Reserve Report, with certain adjustments to account for certain parameters applied by NSAI, confirms the
            reasonableness of BRG’s 2P and 3P estimates for approximately what Samson Onshore 2P and 3P reserves were as of the Closing
            Date (described and commented further in this Onshore Report).
     40.




     41.




46
   Input from RPM (KKR-SAM_0205380).
47
   June 2012 NSAI Reserve Report (CRE-SAM_0021446-88, at -47).
48
   See Table 29 in this Onshore Report for volume breakdown.



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                                                                  Table 1.
                                              KKR’s Risked Undeveloped Reserves as Compared to
                              KKR Provided PUDs to NSAI in Aries Database and NSAI Undeveloped Reserves Estimates50




49
     Deposition of Lee George, February 25, 2020, Pp. 119, line 14-20.
50
     Values have been rounded to the nearest first decimal point. Volumes are in Tcfe (where one barrel of oil or NGLs equals 6,000 cubic feet of gas).



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           (1) PUD values for each area have been retrieved from the Aries databases provided to NSAI: BAKKEN PUD ONELINE 2011-10-26,
               CLEVELAND PUD ONELINE 2011-10-26, EAST TEXAS PUD ONELINE 2011-10-26, FORT UNION PUD ONELINE 2011-10-26,
               GRANITE WASH PUD ONELINE 2011-10-26, MARMATON PUD ONELINE 2011-10-26, PRUE WASH PUD ONELINE 2011-10-26,
               SAN JUAN PUD ONELINE 2011-10-26, SUSSEX PUD ONELINE 2011-10-26, WOODFORD PUD ONELINE 2011-10-26, EAST
               TEXAS HZ CV PUD ONELINE 2011-10-26.
           (2) NSAI, Estimates of Reserves and Future Revenue to the Project Tulip Acquisition Interest (UBS-SAM000267-317, at -282, -288, -293).
           (3) June 2012 NSAI Reserve Report (SAMS0309537-580, at -559, -566, -573, -579).
           (4) June 2012 NSAI Reserve Report (SAMS0309537-580, at -560, -567, -574, -580).
           (5) KKR-SAM_0208022, "Asset Summary" tab, calculated with NYMEX 12/21/11 pricing.
           (6) Probable is assumed by BRG as the same quantity as NSAI's PUD quantity in the November 2011 Reserve Report; development capital and
               production costs per Mcfe are consistent with KKR Undeveloped.
           (7) Possible is assumed by BRG the same quantity as NSAI's PUD quantity in the November 2011 Reserve Report; development capital and
               production costs per Mcfe are consistent with KKR Undeveloped.




   42.




                                                                                                                                                     19
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                                                               Table 2.
                                      KKR’s PDP Reserves as Compared to NSAI PDP Reserves Estimates51




                               (1) November 2011 NSAI Reserve Report (SAMS0098902-8935, at -8903).
                               (2) KKR Projections (KKR-SAM_0208022, Asset Summary tab, cell F33.)




       43.

       44.




51
     PDP also includes PDNP.



                                                                                                            20
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52
     November 2011 NSAI Reserve Report (SAMS0098902-35, at -15).



                                                                                                          21
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                                          Table 3.
                            SPE PRMS Reserve Probability of Volumes




                                                                                22
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                                     (1) November 2011 NSAI Reserve Report (SAMS0098902-35, at -14-15). Probability for
                                     PDP inferred from total 1P probability of 90%.
                                     (2) Per BRG judgement.




       45.



                               such, the KKR Projections facilitated an unreasonable and overly optimistic view by many outside parties of Samson’s
               realistic valuation, production projections, and projected free cash flows, including the unsecured creditors who participated in the
               February 2012 private placement of the Senior Unsecured Notes, the use of proceeds of which were used to pay down the bridge
               loan.


                            b. The KKR Projections failed to




       47.




53




54
     Deposition of David Rockecharlie, September 30, 2019, P. 86, where Mr. Rockecharlie explains that




                                                                                                                                                 23
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55
     Project Tulip IC Materials, September 12, 2011 (KKR-SAM_0087683-702, at -691-693).
56
     June 2014 SPEE Survey, Table 11 (p. 36), the first year that SPEE reported RADR survey results by category of reserves. CR were not separately reported in this survey.



                                                                                                                                                                         24
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                                                 Table 4.
               SPEE RADRs vs. Discount Rates Used in the KKR Projections by Reserves Category




                                                                                                25
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          c. The KKR Projections Materially Overestimated Production Estimates
   48.

                                                                                             .
                                                               Table 5.
                                           Comparison of Projected and Actual Production




                                                                                                 26
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           d. The KKR Projections Materially Overestimated the Per Well Initial Production (“IP”) Rates
     49.   The KKR Projections materially overestimated the per-well initial production (“IP”) rates.


                                                                                              The result was a major contributor to the overly
           optimistic forecast for production and resulting free cash flows contained in the KKR Projections.
     50.   Table 6 and Table 7 below show that the KKR Projections materially overestimated what should have been reasonable IP rates when
           compared to other industry operators in their same basins, as well as when compared to Samson’s own historical performance.57




57




                                                                                                                                           27
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                                                    Table 6.
               First 12 Months Well Performance Forecast Compared to Industry 2008 – 2010 Results




                                                                                                    28
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                                                 Table 7.
               First 12 Months Well Performance Forecast Compared to SIC 2008 – 2010 Results




                                                                                               29
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   51.    While the first 12 months of production do not reflect the entirety of EUR from a well, it is a strong indicator of future performance,
          particularly in unconventional shale wells that decline quickly.58 The first 12 months of production are also very important to the
          economics of the drilling program due to cash flow discounting, not to mention overstating reasonable projected free cash flows to
          service principal and interest on $3.6 billion in debt.
             e. KKR Used Outdated and Incorrect Pricing Assumptions for NSAI Reserves Estimates and did not Adjust Purchase
                Price Despite Dropping Prices.
     52.




     53.     As shown in Table 8 below, the New York Mercantile Exchange (“NYMEX”) near-month forward curve price for gas fell from
             nearly $5.00/MMBtu as of July 1, 2011 (the forward curve pricing dictated by KKR to NSAI) to just above $3.00/MMBtu as of the
             Closing Date. A similar drop is also seen in the oil forward curve in Table 9.




58
   Seeking Alpha, Bakken Oil Producers: “IP30 And Well Decline Rate Trends Since 2014,” March 2, 2017 (“Horizontal Bakken wells completed in the 2009 to 2013
   period had comparative first year decline values of 65% to 70%.”) Bakken was one of the first and most prolific basins for application of unconventional horizontal well
   technology, and thus had some of the most reliable data in 2011. This source, while published in 2017, contains reference to data on well performance that would have
   been available in 2009-2011. Berman and Pittinger, “U.S. Shale Gas: Less Abundance, Higher Cost” August 5, 2011. Quote: “For the Haynesville Shale we observe
   predominantly exponential decline for individual wells.” Note: exponential decline is steeper than conventional hyperbolic decline for oil and gas wells.
59
   Bridge Lender Presentation, December 4, 2011 (KKR-SAM_0003650-697, at -665, -668, -669, -697) Tulip Investment Overview, January 1, 2012 (KKR-
   SAM_0057092-151, at -135)
60
   Project Tulip IC Materials (KKR-SAM_0087684-702, at -698). Sum of Non-Rockies Credit Facility, Rockies Credit Facility, Non-Rockies Sub Notes, and Rockies
   Subnotes.
61
   2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710).



                                                                                                                                                                         30
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                                                   Table 8.
                  NYMEX Forward Curve Prices for Natural Gas Between July 1, 2011 and December 21, 201162




                   (1) November 2011 NSAI Reserve Report (SAMS0098902-35, at -16-17).
                   (2) Amended and Restated Stockholders' Agreement, January 25, 2012, Definitions (SAMDSUB00003244).




62
     Bloomberg.



                                                                                                                        31
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                                                              Table 9.
                                 NYMEX Forward Curve Prices for WTI Between July 1, 2011 and December 21, 201163




                                 (1) November 2011 NSAI Reserve Report (SAMS0098902-35, at -16-17).
                                 (2) Amended and Restated Stockholders' Agreement, January 25, 2012, Definitions (SAMDSUB00003244).




      54.     These material downward changes in the forward curves would have a direct impact on the value and expected free cash flows of
              Samson as of the Closing. Table 10 below reflects the impact of the commodity pricing movements between July 1, 2011 and the
              Closing just on PDP values. Moreover, these pricing changes would impact all reserves categories, not just PDP, and the entire free
              cash flow estimates.



63
     Bloomberg.



                                                                                                                                              32
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                                                             Table 10.
                   Impact of NYMEX Forward Curve Prices on PDP Between July 1, 2011 and December 21, 2011 ($millions)
                                                                                                  Forward Curve Dates
                                                                                                           (1)                    (2)
                                                                                          NSAI Report      Closing Date
                                                                                             1-Jul-11        21-Dec-11
                                      PDP (NSAI) at the Forward Curve Date                $         3,943 $          2,776
                                                     (3)
                                        Difference                                                                             (1,167)
                                   (1) November 2011 NSAI Reserve Report (SAMS0098902-35, at -16-17) based on July 1, 2011 forward curve
                                       (KKR_SAM0043776-3825, at -3791); PDP as of 09/30/11 from November 2011 NSAI Reserve Report
                                       (SAMS0098902-35, at -03).
                                   (2) BRG Case A PDP with NSAI assumptions other than pricing and hedges.
                                   (3) Total difference consists of ($922 million), which is due to the difference in price used in the November 2011
                                       NSAI Reserve Report (July 1, 2011 forward curve) to December 21, 2011 forward curve, plus ($244 million),
                                       due to the 2011 cash flows included as part of the November 2011 NSAI Reserve Report, as well as the earlier
                                       valuation date of 09/30/2011.



       55.     In summary, for the November 2011 NSAI Reserve Report,



                                                                             4
                                                                         Commodity prices, especially gas which represented            of Samson’s
                           65
               production, dropped materially between July 1, 2011 and the Closing date on December 21, 2011. This would have had a downward
               impact on the quantity of Proved reserves (as well as on 2P and 3P) and resulting production and free cash flow estimates if the NSAI
               reserve estimates had been updated to reflect the December 21, 2011 forward curves price realities in the market.
       56.     The lower actual prices as of the Closing Date, coupled with the implied lowered volumes using NSAI’s SPE PRMS reserve
               categories (especially when compared to the KKR Risked Undeveloped Reserves category), meant that both the SPA’s Gross Cash
               Consideration embedded valuation judgements and the total debt being forced onto Samson by the LBO Buyer Consortium were

64
     Bridge Lender Presentation, December 4, 2011 (KKR-SAM_0003650-697, at -665, -668, -669, -697) Tulip Investment Overview, January 1, 2012 (KKR-
     SAM_0057092-151, at -135)
65




                                                                                                                                                        33
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          relying on more optimistic quantities of Proved reserves66 and projected free cash flow estimates than existed in the reality of then-
          current pricing environment.
   57.     However, it i




           f. KKR Relied on Unrealistic Hedging Assumptions.
   58.      The KKR Projections had unrealistic assumptions related to Samson’s willingness and/or ability to hedge including the unrealistic
           assumptions of:




   59.     If KKR had used more realistic hedging assumptions in their modeling and/or had executed their hedging business plan in a proximate
           time period after the Closing Date, they would have likely seen a materially different set of both projected and actual revenues and
           free cash flows, particularly when they modeled the KKR Stress Case. Said differently, if they had modeled more realistic hedging
           assumptions, including rollover risk, it would have warned them that the amount of debt they were incurring was not sustainable
           given reasonable downward commodity pricing volatility scenarios, and not only were covenant breaches highly likely to happen,
           but it was also foreseeable the company could not sustain the amount of debt being incurred and would not generate sufficient free
           cash flows to service the total interest expense, and as a result, it was merely a matter of time before it went bankrupt.
   60.     The flawed assumptions used regarding the hedges in the KKR Projections resulted in Samson’s actual revenues and free cash flows
           not being able to withstand even modest reasonably foreseeable downward commodity price volatilities without defaulting on
           covenants and not being able to service the interest expense on the debt incurred at Closing. Samson’s unsustainability in normal and
           reasonably foreseeable downward commodity price scenarios was easily “known or knowable” if the KKR Projections would have
           contained more realistic hedging assumptions showing the vulnerability of their projected free cash flows with this much debt in
           downward pricing scenarios.
   61.     Table 11 below compares KKR Projections for hedged volumes of natural gas PDP production for the respective years to the actual
           hedged volumes as they stood at Closing Date and as of March 31, 2012. This shows that if I evaluated the amount (volumes) of




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          natural gas hedges Samson had in place as of the Closing, they would be at less than     of what the KKR Projections had assumed
          for the projected five-year period. Even if I were to extend the time period out to March 31, 2012, giving Samson three months to
          implement the hedges KRR assumed in its model, they still fail materially in actual hedging performance compared to their KKR
          Projection hedging assumptions.
                                                             Table 11.
                                     Natural Gas Hedged Production Volumes for Samson Onshore




                                                                                                                                        35
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      62.     Due to Samson’s failure to execute their           hedging plan                                                  , Samson ended up
              with significant exposure to the fluctuations of commodity prices when replacing short-term expired hedge positions and when rolling
              hedges over to a new maturity date; we commonly refer to this as “rollover risk.”




      63.     These failed hedge executions, compared to what they had modeled in their KKR Projections, left Samson exposed to the inherent
              normal volatility in natural gas prices (which accounted for approximately       of their production),67 as well as exposed to the
              significant decline in oil prices (which accounted for approximately     of their production),68 at the end of 2014 and into 2015.
              The failure on the part of Samson to model and/or execute reasonable hedge volume and price assumptions was a contributing factor
              to Samson’s bankruptcy.
      64.     KKR knew, or reasonably should have known, that: (i) Samson could not implement the assumed hedges immediately after Closing
              without materially lowering the prices of those hedges,69 (ii) allowing time to layer in hedges gradually after the Closing would
              increase the risk that the assumed prices would no longer be available, and (iii)
                                                                                                                              70




      65.     As stated earlier, the KKR Projections




67
     Appendix D. Includes NGLs.
68
     Appendix D.
69
70
   Deposition of Jonathan Smidt, March 17, 2021, p. 181-187. See also, e.g., KKR-SAM_0069941; KKR-SAM_0070897; KKR-SAM_0079851; KKR-SAM_0099167.
71
   KKR Projections – Stress Case (KKR-SAM_0207997, “Projections” tab, rows 471 and 484); Senior Managing Lender Presentation, November 30, 2011 (KKR-
   SAM_043776-825, at -817), quote:
72
   KKR Projections (KKR-SAM_0208022, “Projections” tab, rows 471 and 484).
73
   See Appendix H for projected vs. actual percentage of production hedged.



                                                                                                                                                        36
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          g. The Unrealistic KKR Projections Resulted in Almost Immediate EBITDA Shortfalls
   66.    As a result of the many failings discussed above, the KKR Projections lacked significant credibility and materially overstated
          Samson’s ability to generate free cash flows, especially in reasonable downside commodity price environments, which in turn
          impacted Samson’s ability to spend capital to drill new wells, and consequently negatively impacted their ability to service their debt.
   67.     In Table 12, we compare KKR’s projected earnings before interest, taxes, and depreciation/amortization (“EBITDA”) from the KKR
           Projections’ Base Case and the KKR Stress Case, to both our BRG Base Case A and to Samson’s actual EBITDA. Table 12
           demonstrates how more credible and industry standard projection assumptions using the information known as of the Transaction as
           reflected in the BRG Base Case A presents a more realistic and credible forecast.
                                                               Table 12.
                                               Comparison of Projected and Actual EBITDA




                                                                                                                                               37
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          h. The KKR Projections Overstated Samson’s Ability to Fund CAPEX to Support Production
   68.    KKR Projections also overstated the amount of free cash flow which would be available to fund capital expenditures (“CAPEX”) in
          order to support their lofty and unreasonable production estimates, especially from their Risked Undeveloped Reserves category.


                                                                                                 If an upstream E&P company cannot fund their
          CAPEX program to replace their production, they are in a death spiral given the depleting nature of their assets, they will begin
          breaching covenants, not be able to service their total interest expense, and it is only a matter of time until they are highly likely to
          file for bankruptcy—almost exactly what happened in this situation.




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                                                Table 13.
               Comparison of Projected and Actual Drilling and Completions (“D&C”) CAPEX




                                                                                           39
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          i. The KKR Projections Resulted in Immediate and Significant Free Cash Flow Shortfalls
   69.    One major result of the overly optimistic KKR Projections of reserves, production, and revenues led to the large gap between KKR
          Projections and actual levered free cash flows, shown in Table 14 below. Unlevered free cash flows reflects whether the company
          generated sufficient cash flows to fund both its operations, including CAPEX, and mandatory debt payments. As reflected in Table
          14, Samson was never able to do so, with the variance between the KKR Projections and the actual unlevered free cash flows generally
          increasing each year.




                                                                                                                                           40
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                                                                               Table 14.
                                                                                                                  74




74
     This analysis does not consider cash flows from assets sales.



                                                                                                                       41
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                    2. A Rough Calculation of the Private Equity Fees for Deploying Capital (and Incurring Significant Debt) in this LBO
                         Transaction
     70.    In addition to any potential returns (internal rate of return, if any) on their equity investment in Samson, the LBO Buyer Consortium
            also expected to benefit from the fees associated with merely effecting the LBO transaction, these fees were due to be paid to them
            largely irrespective of how the investment performed. Adding significant amounts of leverage to a transaction, such as this one,
            increases the financial risk to the company, and if the bet (equity investment) works, it exponentially benefits the equity sponsors. If
            the bet fails (e.g., goes bankrupt as it did in this situation), the equity sponsors still receive their fees, and the sellers still benefit from
            the purchase price. It is usually the unsecured creditors who bear the brunt of the failed bet, and sometimes even secured lenders will
            take a haircut.
     71.




75
   Final Funds Transfer Memorandum in Connection with the Acquisition of Samson Investment Company by Samson Resources Corporation, Schedule VI –
   Capitalization of Samson Resources Corporation, p. 7 (SAMS0040429-76, at -35).
76
   Consulting Agreement dated December 21, 2011, p.1 (SAMS0160045-56, at -45).
77
   Deposition of Jonathan Smidt, March 17, 2021, p. 262, line 6.
78
   Final Funds Transfer Memorandum in Connection with the Acquisition of Samson Investment Company by Samson Resources Corporation, Schedule VI –
   Capitalization of Samson Resources Corporation (SAMS0040429-76, at -60).



                                                                                                                                                          42
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                       3. Balance Sheet Test: Samson was insolvent since it failed the Balance Sheet Test (negative net asset value) as of
                           Closing Date.
       72.      I evaluated Samson’s solvency under the Balance Sheet Test using several different valuation methodologies, including Net Asset
                Value Method (“NAV Analysis”), Discounted Cash Flow Method (“Corporate DCF Analysis”), and Guideline Public Company
                Method (“Public Companies Analysis”). The valuation methodologies are weighted according to my own 30-year career experience
                with valuations and as documented by industry standard methodology weightings. For illustrative purposes only, I also show the
                methodologies using equal weights and the resulting values.
       73.      In my opinion, as of the Closing Date, the fair market value of Samson’s liabilities exceeded the fair market value of its assets79 by
                approximately ($1.0) billion (midpoint) as indicated in Table 15.




79
     In this Onshore Report, I have determined the FMV of the assets of Samson and its subsidiaries collectively. I have not assessed the solvency of any individual entity.




                                                                                                                                                                               43
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                                                                            Table 15.
                                                                  Summary of Balance Sheet Test80




80
     Balance Sheet Test is presented using BRG Case A price assumptions (see “BRG Assumptions and Scenario” section) and Debtors actual hedging positions as of
     December 31, 2011. To be thorough, I have also evaluated the Balance Sheet Test incorporating all of the Debtor’s hedges as of March 31, 2012, which results in the
     Debtor being more insolvent.



                                                                                                                                                                           44
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                                    (1) Utilizes $242 million for Public Companies Analysis, which is the equity value based on the BRG weights
                                        for this methodology. See Table 47.
                                    (2) Utilizes $418 million for Public Companies Analysis, which is the equity value based on equal weights for
                                        this methodology. See Table 47.
                                    (3) Based on the BRG Weighted Average Value Range.




      74.     My Balance Sheet Test opinion regarding the Equity FMV of Samson Onshore is based solely on using the above fundamental
              valuation methodologies.
      75.     For thoroughness, however, I describe below three additional factors which, beyond my fundamental valuation methodologies, which
              could be used to further demonstrate that the FMV of the Samson Onshore assets were significantly less than the value assigned to
              them by the KKR Projections.
      76.     SARs Valuation:




      77.




81
     TEV of Undeveloped in KKR Projections (KKR_SAM_0208022, NAV Worksheet, cell Q23).



                                                                                                                                                    45
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                                             Table 16.
                                   Undeveloped Reserves Valuations




                                                                                  46
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   78.    Mid-Continent Valuation by Apache Offer:




                                                                                             47
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                                                               Table 17.
                                                        Mid Continent Valuations




               (1) PV10, as of September 30, 2011, NYMEX November 11, 2011 (KKR-SAM_0208022).
               (2) PV10, as of September 30, 2011, November 2011 NSAI Reserve Report (SAMS0098902-35, at -26-30).
               (3) Effective date of July 1, 2011, Apache letter dated October 13, 2011 (JEFF00018092).
               (4) Total Undeveloped for the KKR Projections is the sum of Granite Wash, Prue Wash, Cana Core, and Cana Emerging. The KKR
                   Projections do not classify their Risked Undeveloped into SPE approved categories for undeveloped reserves and resources. Total
                   Undeveloped per NSAI is equal to the values for Proved Undeveloped reserves in the November 2011 NSAI Reserve Report since it
                   does not report categories beyond PUDs. NSAI also did not provide further geographic breakdown of PUDs.




                                                                                                                                                     48
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     79.   Bakken Sale: Even though the following sale example occurred approximately nine months after the Closing Date, the underlying
           estimate of FMV, the facts and the realistic expected sale results for the Bakken assets were “known or knowable” as of the Closing
           Date. In


                                                This variance is not attributable to movement in the commodity prices since the Bakken assets
           were primarily producing oil at the time of their divestiture sale82 and the oil prices continued to stay at a high level through 2012
           (see Appendix I). Therefore, the difference in KKR’s valuation must be explained by other factors other than the price of oil. These
           other factors in my opinion were they overestimated the reserves quantities (especially their Risked Undeveloped Reserves),
           production, and free cash flows in the KKR Projections.




82




                                                                                                                                              49
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                                                       Table 18.
               Bakken Assets - Market Valuation as of December of 2012 Compared to KKR November 2011




                                                                                                       50
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                          a. A Comment Regarding the Valuation Date
      80.     I note that my solvency opinion generally relates to fair market valuations as of the December 21, 2011 Closing Date, since that is
              when the formal transfer of the purchase price occurred. However, my opinions as to fair market value also apply to
                                                      , when the Samson GoM Transaction occurred, for four primary reasons.




                                                                                                    Therefore, even though my valuation date
              for my solvency opinions in this Onshore Report is as of December 21, 2011, my solvency opinions equally apply and are effective
              also as of                   , the Samson GoM Closing Date.
                         b. A Comment Regarding Certain Legal Subsidiaries and Guarantors of SIC and SRC
      81.     Finally, my analysis in general relates to the balance sheet of SIC, its subsidiaries, and its corporate parent, SRC, collectively on an
              enterprise-wide basis.




83


84
     KKR-SAM_0187397-423, at -422; JPMSRC0004185-579; and SAMS0590383-573.
85
     JPMSRC0004580-96; JPMSRC0004185-579; and SAMS0590383-573.



                                                                                                                                                   51
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   82.    Assuming the above assumptions are true, it would then also be my opinion that this enterprise-wide insolvency Samson necessarily
          means that each of SIC and the Subsidiary Debtor Transferors were also insolvent as of the Closing Date (including
                                 on the Samson GoM Closing Date).
     83.




                                        8
                                        Based on the above comments and assumptions, I would conclude therefore that SRC was also insolvent
            as of the Closing Date (including                                   , on the Samson GoM Closing Date).


                     4. Capital Adequacy Test: Samson was insolvent since it failed the Capital Adequacy Test.
     84.    It is also my opinion that, as of the Closing Date, Samson was insolvent under the Capital Adequacy Test because it was inadequately
            capitalized relative to the debt incurred as part of the Samson Onshore Transaction, particularly in light of the substantial uncertainties
            inherent in Samson’s business.
     85.
                              It is my opinion that, as of the Closing Date, there were insufficient assets to provide any reasonable certainty that
            Samson would be able to repay its debt and/or sustain itself as a going concern, particularly in light of reasonably foreseeable
            commodity volatility pricing scenarios. Despite the accounting treatment showing “book” equity at Closing, it was “phantom equity”
            since the FMV of assets did not exceed the FMV liabilities (please see the Balance Sheet Test analysis above).
                        a. JPM’s Misunderstanding of the Transaction’s Equity and Debtor’s Inability to Repay Debt
     86.


86
   KKR-SAM_0187397-423.
87
   JPMSRC0004580-96, at -81.
88
   Action Taken by Unanimous Written Consent of the Board of Directors of Samson Resources Corporation, December 21, 2011 (SAMS0040903-15), 2012 Annual
   Report of Samson Resources Corporation and subsidiaries, p. 1, 9 (SAMS0187756-819, at -759, -767), and KKR-SAM_0187397-423, at -422.
89




                                                                                                                                                          52
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     87.




     88.




     89.



                                                                                                                                         3


                      b. BRG Capital Adequacy Scenarios
     90.    Based on our reasonably foreseeable commodity Spot pricing scenario using information that was known or knowable as of the
            Closing Date, including the hedges Samson had in place as of the Closing Date and/or the hedges in place as of March 31, 2012,
            Samson fails the Capital Adequacy Test.94
     91.    For our Capital Adequacy scenario, we used KKR’s own stress case pricing assumptions but BRG’s reserve volume and other
            assumptions (collectively called, BRG Case B). We used quarterly projections and examined the respective impact over eight

90
   JPMorgan Chase’s Approval Proposal Package (JPMSRC-0024438-540, at -494).
91
   See Appendix V for Samson’s quarterly total long-term debt balances between the Closing and September 30, 2015.
92
   JPM Approval Package, Risk Rating Analysis (JPMSRC-0024438-540, at -493).
93
   Credit Agreement dated December 21, 2011, p. 23 (JPMSRC0004185-579, at -213).
94
   See the “BRG Assumptions and Scenarios” section of this Onshore Report which describe BRG’s Base Case A, as well as Case B (the Capital Adequacy scenario).



                                                                                                                                                                 53
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          quarters in order to see how quickly Samson would run into challenges once a downturn occurred, given its $3.6 billion in debt, to
          determine when Samson would break a debt covenant on its 1st Lien RCF (“Covenant Analysis”).




       92.     As shown in Table 19, under BRG Case B that uses KKR Stress Case pricing assumptions, Samson breaches its covenant within six
               months from when the scenario begins to occur.

                                                       When we annualize the stress case quarterly EBITDA in 2012, and use that in lieu of the
               LTM EBITDA to truly reflect the financial results of Samson in the BRG Case B stress price scenario, Samson almost immediately
               breaks the covenant (row 8).




95
     Credit Agreement dated December 21, 2011, Section 10.11 (JPMSSRC0004308-09).



                                                                                                                                           54
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                                            Table 19.
                          Covenant Analysis for Case B: KKR Stress Case
                             Hedges in Place as of December 31, 2011




                                                                                55
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                                            Table 20.
                          Covenant Analysis for Case B: KKR Stress Case
                              Hedges in Place as of March 31, 2012




                                                                                56
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   95.    In actuality,
                                             6




       96.     We also evaluated BRG Case B to determine whether Samson would be able to generate sufficient cash flows to service its higher
               debt of $3.6 billion by paying the substantial related interest expense. As such, our analysis evaluates whether Samson’s projected
               unlevered free cash flow under the BRG Case B would be sufficient to pay the estimated cash interest due on the $3.6 billion debt.
       97.     In this analysis, we utilized the cash interest that was incurred by Debtor through 2014 and assumed that it remains constant thereafter.

                                                  As shown in Table 21, even using KKR’s own Stress Case analysis, Samson is unable to generate
               sufficient unlevered cash flow to pay the interest after just one year.




96
   Officer’s Certificate, Samson Investment Company, Date: November 14, 2012, Annex 2 (USBANK-DEF-002087-93, at -93).
97
   November 20, 2012 Samson Resources Corporation Update, p. 2 (KKR-SAM_0190201-15, at -02).
98
   November 20, 2012 Samson Resources Corporation Update, p. 3 (KKR-SAM_0190201-15, at -03).



99
     Samson Resources Corporation, Form 10-K for the year ended December 31, 2014, p. F-32.



                                                                                                                                                     57
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   98.    While the initial effect of KKR Stress Case pricing on unlevered free cash flow is similar for BRG Case B, there is a key difference
          between BRG Case B and KKR Stress Case shown in Table 21. While using the same price assumptions, BRG Case B risks the
          unlevered cash flows to the firm in accordance with the RAFs appropriate for each reserve category. Therefore, over time the risked
          unlevered cash flow continues to decline, coming disproportionately from less certain reserves categories, as the more certain PDP
          cash flows decline over time. Even though some development programs are assumed to be cut back in KKR Stress Case compared
          to KKR Projections’ Base Case, KKR Stress Case continues to treat Risked Undeveloped Reserves in the same manner as it would
          treat PDPs and PUDs in terms of market risking (or lack thereof).

                                                 In BRG Case B, as in any realistic downside price scenario that persists for this long, risked
           unlevered free cash flow declines over time.




                                                                                                                                            58
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                                             Table 21.
                           Unlevered Cash Flow and Interest Expense100
                   KKR Projections vs. BRG Case B (with KKR Stress Case Pricing)
                                  Hedges as of December 31, 2011




                                                                                   59
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   99.    In Table 22, we consider the hedges Debtor had in place as of March 31, 2012, which increases unlevered free cash flow in this
          downside price scenario slightly, but Samson is still projected to be unable to generate sufficient funds to pay its interest expense
          after only one year, including in KKR Stress Case.

                                                              Table 22.
                                            Unlevered Cash Flow and Interest Expense 101
                                    KKR Projections vs. BRG Case B (with KKR Stress Case Pricing)
                                                     Hedges as of March 31, 2012




                                                                                                                                            60
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              (1) Tulip Equity Model 2011-11-16 (Stress) ($3 & $60) (KKR-SAM_0207997), "Projections" worksheet, rows 916 and 926.
              (2) Actual Interest Expense. Samson Resources Corporation, Form 10-K for the year ended December 31, 2014, p. F-32.
              (3) See Schedule 10.4 for BRG EBITDA and Cash Flow Projections for Case B (Hedges as of 03/31/2012).




       100.     Since Samson was projected to be unable to pay its cash interest after just one year in these stress cases, even according to KKR’s
                own Stress Case, it is reasonably foreseeable that Samson would inevitably file for bankruptcy because it did not have had the ability
                to generate free cash flows sufficient to sustain itself based on the assets it had. Therefore, Samson had unreasonably small capital as
                of Closing given the amount of debt it incurred as a result of the Transaction.

                           c. Debt Credit Ratings
       101.     The ratings on Samson’s debt by the credit rating agencies further reflect how quickly Samson’s death spiral began. The Senior
                Unsecured Notes were not secured by Samson’s assets and thus the credit ratings issued by the credit agencies for the Senior
                Unsecured Notes are informative regarding the true risks of losses to unsecured creditors from Samson’s likelihood of default.
       102.     Table 23 shows the credit ratings for the Senior Unsecured Notes. For context, we also show the historical natural gas Spot prices
                over this time period.
       103.     Within approximately 18-months after the Closing Date, the credit rating agencies were forced to rate Samson’s Senior Unsecured
                Notes as CCC+ even though gas prices had increased, and continued to increase, after the Closing Date. In S&P’s description of the
                “CCC” rating, it states that these obligations are “currently vulnerable to nonpayment and is dependent upon favorable business,
                financial, and economic conditions.”102




102
      Standard & Poor’s, Ratings, December 7, 2020, Table 1.



                                                                                                                                                     61
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                                                                 Table 23.
                             Samson’s $2.25 billion 9.75% Senior Unsecured Notes of 2020 Credit Rating History




                        d. Debtor’s Death Spiral
       104.
                                                  One of the board members defined a death spiral as “a commonly referred-to term in oil and
              gas companies where if you reduce your level of activity because production naturally declines every year, you can get caught in
              a spiral where if you don't have enough activity and are not able to meet your debt service obligations… more cash is being swept


103
      KKR-SAM_0204954



                                                                                                                                            62
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          away towards debt service obligations, which puts even less cash towards CAPEX, and it's a spiral (emphasis added)” that
          inevitably leads to the death of the company.104
      105.   While more than three years passed between the Closing Date and the Petition Date, it is my opinion that Samson had already begun
             its “death spiral” within 12 months after the Closing based on, among other things, the following:
                A.


                B. Within 9-months from the Closing Date, as I noted above,




                C.
                              09


                D. Even though the LBO Buyer Consortium hired a new CEO proximate to the Closing Date, within approximately one year
                   from Closing, Samson was forced to hire another new CEO. This time Samson hired Randy Limbacher, who came to the
                   conclusion that the assets acquired with the Transaction



104
    Upadhyaya Deposition Transcript at p. 202-03.
105
    February 14, 2012 Samson Board Meeting – Executive Summary (KKR-SAM_0115192-4).
106
    Deposition of Kenneth Hersh, January 13, 2020, p. 286-287 and NGP00003897-9, at -7.
107




108
    SRC 2012 Annual Report, Management’s Discussion and Analysis of Financial Condition and Results of Operations, Recent Developments (SAMS0187756-819, at -
795).
109
    Deposition of Jonathan Smidt, March 17, 2021, p. 258, line 10-17.
110
    Deposition of Randy Limbacher, March 10, 2021, p. 29, line 23, p.30, line 5-6.



                                                                                                                                                                63
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                E.

                                                       The acknowledgement that without some major event they would need an equity capital
                     infusion, indicates they did not have access to the debt markets to bail them out, and had too thin an equity cushion or
                     insufficient assets to support their debt load incurred in the Transaction. This was all despite natural gas prices generally
                     being at or above those as of the Closing Date as shown on Table 23
                            , and oil prices were remaining high and stable up to that point

                F. By December 2014, Samson’s Senior Unsecured Notes were rated Caa1/CCC by the credit agencies. Further, as of December
                   31, 2014, the auditor, Deloitte & Touche LLP, stated there was “substantial doubt about the Company’s ability to continue as
                   a going concern”115 and Samson itself confirmed that it would not be able to pay its liabilities as they came due. Specifically,
                   the 2014 Form 10-K of Samson stated that
                                 “Our long- term debt with maturities summarized in Note 10 is reflected as a current liability in
                                 our consolidated balance sheet at December 31, 2014. The classification as a current obligation is
                                 based on the uncertainty regarding our ability to comply with certain restrictive covenants
                                 contained in our credit facilities. We have begun implementing plans designed to improve our
                                 liquidity. We have reduced our 2015 capital budget to approximately $156.5 million and have
                                 developed plans to reduce long- term recurring operating expenses. We are continuing our efforts
                                 to sell certain non-core assets. In March 2015, we closed a transaction to sell certain oil and gas
                                 properties in the Arkoma basin for approximately $48.0 million.
                                 Even if we are successful at reducing our costs and increasing our liquidity through asset
                                 sales, we do not expect to have sufficient liquidity to satisfy our debt service obligations, meet




111
    Deposition of Randy Limbacher, March 10, 2021, p. 28, line 2-17.
112
    Deposition of Randy Limbacher, March 10, 2021, p. 34, line 6-12.
113
    Samson Resources Board Meeting. 09/03/2013 (NGP00029435-624, at -607)
114
    2012 actual production from SRC 2013 Annual Report for 2012-2013, P. 54 (SAMS0187577). Oil production: 6,166 MBbl (36,996 MMCfe), Gas production 178,798
   MMcf, NGL production 4,024 Mbbls (24,144 MMcfe).
115
    Form 10-K of Samson Resources Corporation for the Fiscal Year Ended December 31, 2014, p. F-2.



                                                                                                                                                           64
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                                 other financial obligations, and comply with restrictive covenants contained in our various
                                 credit facilities. (emphasis added)”116
                G. The death spiral reached a foreseeable and predictable end when Samson filed for bankruptcy protection on September 16,
                   2015.117
                     5. Cash Flow Test: Samson was insolvent since it failed the Cash Flow Test and incurred debts beyond its ability to pay
                         the debts.
      106.   It is my opinion that, as of the Closing Date, Samson was also insolvent under the Cash Flow Test, as it incurred debts beyond what
             it should have reasonably foreseen was its ability to pay as they became due.118
      107.   It is my understanding that the Cash Flow Test generally assesses issues related to the company’s ability to pay its debts, including
             whether the amount of debt incurred by Debtor was too high and, thus, beyond its ability to pay principal and interest as they come
             due. Therefore, several of the factors I addressed in determining that Samson was insolvent under the Capital Adequacy Test also
             apply to the Cash Flow Test. It is my opinion that Samson failed the Cash Flow Test based on, among other things, the following:
                A. As shown in the BRG Base Case, which is a reasonably favorable commodity pricing case using the forward curves, Samson
                   could only last approximately 9-months without breaking a debt covenant on their 1st Lien RCF. Once in default on their
                   RCF Covenant Ratio, they would not usually be in a position to draw additional capital from the 1st Lien RCF, at least until
                   the covenant breach is “cured.” Moreover, even if Samson could have obtained relief from its lenders in the form of an
                   amendment or otherwise, this would only be a short-term solution. Typically, when banks provide covenant relief, the
                                                                                                                                     19
                   borrowers commonly are required to accept tradeoffs that include higher borrowing costs,                             A covenant
                   breach would also be highly likely to result in cross defaults on other debt, which would have deepened their liquidity issues.120
                B. Further, the selling of assets to improve short-term liquidity can start the company on a death spiral which is exactly what
                   happened here. When Samson nearly breached its covenant in Q3 2012, i




116
    Samson Resources Corporation, Form 10-K for the year ended December 31, 2014, p. F-8.
117
    Complaint dated September 15, 2017, p. 41.
118
    See Appendix V for Samson’s quarterly total long-term debt balances between the Closing and September 30, 2015.
119
    KKR-SAM_0155037, at -047.
120
    See for example, $2,250,000,000 Senior Unsecured Loan Agreement Dated as of December 21, 2011, Section 11 (SAMS0590383-573, at -488-491) and Indenture
   Dated as of February 8, 2012, $2,250,000,000 9.750% Senior Notes Due 2020, Section 501 (SAMS0051268-406, at -319-321).



                                                                                                                                                             65
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                                                                                                                               121
                                                                                                                    Their failure to properly
                    evaluate and value especially their Risked Undeveloped Reserves prior to Closing resulted in a capital structure that was
                    “known or knowable” would inevitably lead to bankruptcy.
      108.   It is my opinion it was reasonably foreseeable that the amount of debt incurred by Samson was too high and, thus, beyond its ability
             to pay principal and interest as they come due based on the foregoing, including but not limited to: (i) Samson’s inability to meet its
             debt covenants even in the BRG Base Case A and especially in the KKR Stress Case, and the BRG Case B stress case which uses
             KKR’s Stress Case pricing assumptions, (ii) Samson’s low credit ratings, and (iii) the trading prices of Samson’s Senior Unsecured
             Notes once they became publicly listed.
      109.   Table 24 confirms these conclusions by showing the projected 1st Lien RCF covenant violations in BRG Base Case A. Using LTM-
             adjusted EBITDA (that relies on cash flows prior to Closing Date for LTM calculation), Samson is projected to violate the RCF
             Covenant Ratio by 4Q of 2012 (row 7). When we perform the Covenant Analysis using annualized projected BRG Base Case A
             EBITDA rather than relying on past EBITDA results, Samson would exceed the RCF Covenant Ratio almost immediately (row 8).




121
   Deposition of Randy Limbacher, March 10, 2021, p. 106, line 24-25; Samson Resources Board Meeting. 09/03/2013 (NGP00029435-624, at -607); NGP00003897-9, at
  -7.




                                                                                                                                                            66
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                                            Table 24.
                             Covenant Analysis for BRG Base Case A
                             Hedges in Place as of December 31, 2011




                                                                                67
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                                           Table 25.
                             Covenant Analysis for BRG Base Case A
                              Hedges in Place as of March 31, 2012




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        B. Reasonable Equivalent Value Opinion
      111.   It is my opinion that the fair market value of the assets acquired in the Transaction was not reasonably equivalent to the fair market
             value of the consideration paid to the Selling Shareholders by the LBO Buyer Consortium. As indicated in Table 26 below, the LBO
             Buyer Consortium received value that was approximately $4.1 billion less than the amount exchanged for such assets.123
                                                                       Table 26.
                                                        Summary of Reasonable Equivalent Value124

                              ($millions)

                         Asset Value Given by Schustermans as Sellers to the LBO Buyer Consortium as Buyers
                                                                (1)
                         1. Equity Value Midpoint as of 12/21/11                               ($984)
                                                                        (2)
                         2. Plus: Assumed Debt as of 12/21/11                                                      $3,595
                                                                                                  (3)
                         3. Plus: Preferred Shares Assumed (mandatory redemption)                                   $180
                                                                  (4)
                         4. Total FMV of Assets Going Concern                                                      $2,791

                         Asset Value Given by the LBO Buyer Consortium as Buyers to Schustermans as Sellers
                                                                          (5)
                         5. Gross Cash Consideration for Assets                                                    $6,928
                                                                                   (6)
                         6. Preferred Shares: Face Value of $180 million                                              $0
                         7. Total Value for Asset Value Received at Closing                                        $6,928

                         8. Reasonable Equivalent Value                                                           ($4,137)




123
    I understand from Counsel that this reasonably equivalent value figure would form the basis for damages. This figure does not include pre-judgment interest, which
would need to be calculated as of the date of the judgment using the applicable rate(s).
124
    Values have been rounded to the nearest whole dollar amount.



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               (1) See Table 15 of this Onshore Report.
               (2) 2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710).
               (3) As assumed liability, from 2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710). As value given by LBO Buyer Consortium, from the SPA.
               (4) Total FMV of Assets Going Concern includes assets and liabilities, including G&A, other long-term assets, and ARO.
               (5) November 22, 2011 SPA.
               (6)                                                                                                              .




        C. BRG Assumptions and Scenarios
          1. Volume Assumptions—PDP, PUD, Probable, Possible, Contingent Resources
      112. BRG Proved Reserve and production volume projections (for PDP, PDNP, and PUD reserves) are sourced directly from the
             November 2011 NSAI Reserve Report, which was commissioned by KKR.125 The remaining reserves and resource categories were
             calculated by subtracting PUD reserves from Risked Undeveloped Reserves and apportioning this difference among SPE PRMS
             reserves and resource categories as shown in Table 27.




125
   As noted above, KKR instructed NSAI to use prices which were based on the NYMEX Forward Curve as of July 1, 2011, which was materially higher than prices as of
  Closing. This may have resulted in higher Proved reserve estimates by NSAI than Proved Reserves would have been in November of 2011 or on Closing Date. However,
  for the benefit of the Debtor, I assume that the Proved Reserves estimates in the November 2011 NSAI Reserve Report are valid at Closing.




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                                                           Table 27.
                                    BRG Reserve Volume Assumptions Compared to KKR and NSAI
                                                   BRG Volumes                            NSAI Volumes
                                                                    (1)                                  (1)
                                            Gas      Oil  Equivalent          Gas       Oil  Equivalent        Reserves
       Reserves                             BCF     MMBBL   BCFE              BCF      MMBBL   BCFE               as of
        PDP (NSAI)                                                                                             9/30/2011
        PDNP(NSAI)                                                                                             9/30/2011
        PUDs (NSAI)                                                                                            9/30/2011
                       (2)
       Total Proved
                 (3)                                                                                                   (6)
         Probable                                                                                              6/30/2012
                (4)                                                                                                    (6)
        Possible                                                                                               6/30/2012
       Subtotal - 3P
                             (5)
        Contingent Resources
       Total
                                   (7)
       Total Undeveloped - BRG
                                   (8)
       Total Undeveloped - KKR




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                     (1) mmcfe 6:1, Gas includes NGLs.
                     (2) Volumes used in BRG valuation are as of January 1, 2012 and exclude 2011 production. For the purposes of consistent comparison with NSAI
                         in this table, 2011 production was added back to BRG Volumes. PDP Reserves without the 2011 production, as used in the BRG valuation, are
                         equal to         BCFE. PDP, PDNP, and PUD from November 2011 NSAI Reserve Report (SAMS0098902-35, at -03).; price assumptions in
                         the NSAI report provided by KKR. NSAI PUD volumes, development capital, and production costs including non-income taxes are subtracted
                         from the total annual profiles for Risked Undeveloped reserves in the KKR Projections before accounting for the following reserve categories.
                     (3) Probable is assumed by BRG as the same quantity as NSAI's PUD quantity in the November 2011 NSAI Reserve Report (SAMS0098902-35,
                         at -03).; development capital and production costs per Mcfe are consistent with KKR Risked Undeveloped.
                     (4) Possible is assumed by BRG the same quantity as NSAI's PUD quantity in the November 2011 NSAI Reserve Report (SAMS0098902-35, at -
                         03).; development capital and production costs per Mcfe are consistent with KKR Risked Undeveloped.
                     (5) CR are the balance of KKR Risked Undeveloped not included in other categories, including all remaining volumes, development capital, and
                         production costs attributed to KKR Risked Undeveloped in the KRR Projections.
                     (6) June 2012 NSAI Reserve Report (CRE-SAM_0021446-1488, at -1447).
                     (7) Sum of PUDs, Probable, Possible, and CR.
                     (8) KKR Total Risked Undeveloped is from KKR-SAM_0208022. (Total Risked Undeveloped production 1/1/2012 through 6/30/2060).




      113.   We estimated Probable and Possible reserves assuming equivalent linear spacing and volumes from offsetting development spacing
             areas from the PUDs as defined by NSAI and as reported in their November 2011 NSAI Reserve Report.
      114.   Though our estimates of Probable and Possible reserves are not based on the June 2012 NSAI Reserve Report, that report (with
             certain adjustments) does further validate our estimates, as it was prepared just six months after the Closing Date and shows that our
             volume assumptions for our 3P estimates were conservative (i.e., favoring the Defendants126). BRG’s Probable reserves are higher
             than June 2012 NSAI Probable estimates by over          and BRG’s Possible reserves are slightly higher than NSAI June 2012 Possible
             reserve estimate, which is largely explained by the higher prices as of the Closing Date compared to the more conservative Securities
             and Exchange Commission pricing assumptions used by NSAI in their June 2012 Reserve Report.
      115.   We also conducted analysis to adjust the June 2012 NSAI Reserve Report back to forward curve prices which were in effect as of the
             Closing Date to sanity check our independent Probable and Possible reserve category estimates, where were based on information
             “known or knowable” as of the Closing Date. We kept all of NSAI volume and other assumptions the same. The forward curve
             commodity prices were higher as of the Closing Date, and if NSAI had run a 2P and 3P report as of the Closing Date, it is likely they

126
   Defendants are those identified in the Opinion, Kravitz v. Samson Energy Co. LLC, Adv. Proc. No. 17-51524 (Bankr. D. Del. Aug. 30, 2018) (listing all the defendants
  and releasing Schusterman 2008 Delaware Trust and Stacy Family Delaware Trust from this case).




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          would have resulted in higher Probable and Possible volumes than indicated in their June 2012 NSAI Reserve Report since certain
          wells would then be “economic” and would count towards Probable and Possible reserves. My independent BRG Probable and
          Possible reserve estimate assumes the forward curves in place as of the Closing Date, and is a major reason why our BRG volumes
          are higher than NSAI’s June 2012 Reserve Report volumes for Probable and Possible reserves.
   116.    As shown in Table 28, BRG Base Case A valuation of Probable reserves is higher than NSAI’s valuation (after adjusting NSAI’s
           prices back to the Closing Date) by  million. BRG Base Case A valuation of Possible reserves is lower than NSAI’s (after adjusting
           NSAI’s prices back to the Closing Date) by      million. In sum BRG’s valuation of Probable and Possible reserves is lower by
                 million.
                                                             Table 28.
                         BRG Valuation of Probable and Possible Reserves vs. June 2012 NSAI Reserve Report
                BRG Case A NYMEX Forward Curve as of 12/21/11 vs NSAI June 2012 NYMEX Forward Curve as of 12/21/11
                                                        Probable Reserves
                                                                                 (1)                                  (2)
                                                                 BRG Case A                        NSAI June 2012                  Difference
          ($ in million)                                  NYMEX Forward Curve as of 12/21/11 NYMEX Forward Curve as of 12/21/12
          PV10 (Discounted Cash Flows)                    $                            1,046
          FMV = (PV10 * BRG Medium RAF of 35%)            $                              366

                                                                  Possible Reserves
                                                                                 (1)                                  (2)
                                                                 BRG Case A                        NSAI June 2012                  Difference
          ($ in million)                                  NYMEX Forward Curve as of 12/21/11 NYMEX Forward Curve as of 12/21/12
          PV10 (Discounted Cash Flows)                    $                            1,046
          FMV = (PV10 * BRG Medium RAF of 18%)            $                              188

                                       Summary of Comparison Between BRG Case A vs NSAI June 2012
          ($ in million)                                 Difference (Probable Reserves) Difference (Possible Reserves)            Net Difference
          PV10 (Discounted Cash Flows)                    $                              45
          FMV                                             $                              16

                (1) Based on KKR Projections (KKR-SAM_0208022); NYMEX Forward Curve prices as of 12/21/2011, and Hedges in place at closing
                    12/21/2012.
                (2) Volumes, Expenses, and CAPEX June 2012 NSAI Reserve Report (SAMS0309537, at -16). NYMEX Forward Curve prices as of
                    12/21/2011. Hedges in place at closing 12/21/2012. Assumed same differentials as in BRG Case A.




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      117.   By the same token, the PUD reserves volumes we have assumed based on the November 2011 NSAI Reserve Report would have
             been lower if the reserves were estimated by NSAI using the Closing Date NYMEX forward curve prices rather than the price
             forecasts provided to them by KKR which were based on the July 1, 2011 NYMEX forward curves, as discussed earlier in the Onshore
             Report (see Table 8 and Table 9). In spite of this fact, in favor of the Defendants, I conservatively still assumed the same PUD
             volumes for our BRG Base Case A and BRG Case B, and gave full credit to Samson for the PUD volumes as estimated by NSAI in
             its November 2011 Report.
      118.   Our annual production assumptions, for PUDs, Probables, Possibles, and Contingent, were calculated so that total production of gas,
             NGLs, and oil equaled the production from KKR’s Risked Undeveloped Reserves in the KKR Projections. After subtracting annual
             PUD production sourced from the November 2011 NSAI Report, the remaining production volumes in KKR’s Risked Undeveloped
             Reserves were distributed to Probable, Possible, and Contingent categories in accordance with the percentage of each of those
             categories’ volumes (on Mcfe basis) as shown in Table 27.127

      120.   Table 29 summarizes the reserve volume assumptions comparing NSAI’s, to BRG’s, to the KKR Projections.




127




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                                             Table 29.
                                                                                128




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          2. Pricing Assumptions
                        a. “Hedged” Volumes and Pricing Assumptions
      121. We computed NAVs using hedges in place as of (i) the Closing Date as measured on December 31, 2011129 and (ii) the hedges in
            place as of March 31, 2012, to evaluate whether or not Samson met their projected hedge assumptions modeled in the KKR
            Projections. The NAVs using the March 31, 2012 hedges all resulted in lower values than the NAVs using the hedges as of the
            Closing Date (December 31, 2011).130 Samson’s hedge position did not change materially between March 31, 2012, and June 30,
             2012, which we also evaluated. Therefore, to be conservative in favor of the Defendants, we have used in this Onshore Report for
             our Balance Sheet Test (for our BRG Base Case A), the hedges in place as of the Closing Date (which result in higher NAV and DCF
             valuations and projections for our Balance Sheet Test). For our Capital Adequacy and Cash Flow Tests, we evaluate them using both
             the hedges in place as of the Closing Date and as of March 31, 2012.




129
    Samson Resources Corporation and Subsidiaries - Consolidated Financial Statements for the period from inception (November 14, 2011) through December 31, 2011
   (Successor) and the period from July 1, 2011 through December 21, 2011 and the fiscal years ended June 30, 2011, 2010 and 2009 (Predecessor) and Report of
   Independent Registered Public Accounting Firm and Report of Independent Auditors, p. 13 (KKR-SAM 0155671-695, at -686). I have evaluated the hedges as of
   December 31, 2011, even though the Closing Date was 10 days earlier, as any hedges placed in the 10 days after the Closing Date would arguably have been reasonably
   foreseeable as of the Closing Date.
130
    Please see Appendix G for a comparison of NAVs using hedges in place at December 31, 2011 and as of March 31, 2012.



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                          b. Spot Pricing Assumptions
      122.    BRG Base Case A (or Case A) assumes Spot commodity prices based on the NYMEX forward curves,131 as of the Closing Date, for
              the projected five years 2012 through 2016; prices are then escalated at 1.5% annually thereafter.132
      123.    BRG Case B: a flat pricing sensitivity case using the KKR Stress Case pricing of $3.00/ MMBtu for natural gas and $60.00/bbl for
              oil and for the projected five years 2012 through 2016; prices are then escalated at 1.5% annually thereafter.133
      124.    The tables below compare the Spot prices assumed in the KKR Base Case and Stress Cases, to the Spot prices assumed in the BRG
              Base Case A, and BRG Case B (which assumes the same spot commodity prices as the KKR stress case). Table 30 shows the natural
              gas spot price assumptions (natural gas accounted for roughly 85% of production) and Table 31 shows the oil spot price assumptions
              (oil accounted for roughly 15% of production).
      125.    We assumed for our BRG Base Case A the forward curves as of Closing Date, which were the best estimates as of that time regarding
              the markets’ expectations for future commodity prices. However, as discussed earlier, the latest set of internal KKR Projections we
              have reviewed were based on the NYMEX forward curves as of November 11, 2011. Between November 11, 2011 and the Closing
              Date, the NYMEX forward curves for gas fell as shown in Table 30.




132
    It is industry standard to use the NYMEX forward curves for the first five years. Since the amounts of volumes which can realistically be hedged using future contracts
   drop significantly after the first five years, most practitioners vary the spot pricing assumptions they use after the first five years into three potential scenarios: (i) escalated
   (e.g., at 1.5% as was the assumption used by KKR in this matter and which I adopt), (ii) leave prices flat thereafter, or (iii) decrease the prices after the first five years to a
   “mean-reverting” normal price.                                                                                                                                             and here I
   apply the escalation to annual average prices for each previous year. I am not providing in this Onshore Report either a “Flat after 5-years” or a “Declining at 1.5% after
   5-years” scenarios because even with the 1.5% escalated case, the valuations already resulted in a negative equity value, which fails the Balance Sheet Test. I do though
   reserve the right to present these other two cases in a rebuttal report if deemed necessary.
133
    2011.11.17 KKR-SAM 0207997 - Tulip Fund Model 2011-11-16 (Stress) ($3 & $60).XLSX, $3.0 Gas/ $60 Oil, Commodity Case NYMEX, lines 8 & 9.



                                                                                                                                                                                     77
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                                             Table 30.
                             Spot Pricing Assumptions for Natural Gas




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                                               Table 31.
                                   Spot Pricing Assumptions for Oil




                                                                                  79
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          Proved reserves volumes, and consistent with the Basis differentials used in the KKR Projections for the rest of BRG assumed
          volumes.134
          3. Cost Assumptions
                        a. Operating Expenses Assumptions
      127. BRG’s assumptions for Samson Onshore operating expenses (including lease operating expenses (“LOE”), ad valorem and
             production/severance taxes) (“Operating Expenses”) follow our production estimates as described in subsection 1 above.
                     A. For Proved reserves Categories (PDP, PDNP, PUDs), we generally used annual Operating Expenses estimated in the
                        November 2011 NSAI Reserve Report which used “cost parameters specified by KKR”135 for these categories of reserves
                        by year, with one exception. Due to the fact that the November 2011 NSAI Reserve Report included a portion of General
                        & Administrative expenses (“G&A”) within LOE,136 in order to avoid double-counting of G&A that we included
                        separately below, we used PDP LOE costs from KKR Projections for that category of reserves. Any double counting of
                        G&A costs within PDNP and PUD reserve categories would be insignificant due to the majority of G&A being a fixed
                        cost to the corporation.
                     B. Operating Expenses for all undeveloped categories of reserves (PUDs, Probables, Possibles, and CR) were calculated so
                        that the annual total for all these categories equaled the annual Operating Expenses forecasts of Risked Undeveloped
                        Reserves from the KKR Projections.
                     C. After subtracting annual PUD Operating Expenses sourced from the November 2011 NSAI Reserve Report, the remaining
                        Risked Undeveloped Reserves’ Operating Expenses were apportioned to Probable, Possible, and CR categories in
                        proportion to each category’s percentage of total volumes within that group on Mcfe basis.
                         b. CAPEX Assumptions
      128.   In both of our BRG Cases, we use the development capital expenditures used by the November 2011 NSAI Reserve Report for PDNP
             and PUD reserves by year (there is no development capex generally for PDP). For BRG’s CAPEX estimates for Probables, Possibles
             and CR, we calculated CAPEX per year as the difference between the KKR Risked Undeveloped Reserves’ CAPEX projections per
             year and the PUD CAPEX assumed above per NSAI. CAPEX per year for Probables, Possibles, and CR is then allocated based on
             the relative percentage of total volumes in each of the reserve categories to KKR’s total Risked Undeveloped Reserves volumes
             minus the NSAI PUD reserves, in the manner consistent with BRG’s annual production and Operating Expenses assumptions.

134
    The KKR Projections utilize cash flow projections by basin with different Basis price differentials. For the purposes of this Onshore Report, weighted average Basis
   pricing differentials were calculated and applied as a percentage of realized oil and gas prices in order to aggregate realized pricing at the Company level and to allow for
   pricing sensitivity analysis and the resulting impact on the Company.
135
    November 2011 NSAI Reserve Report (SAMS0098902-35, at -03).
136
    November 2011 NSAI Reserve Report (SAMS0098902-35, at -04).



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                       c. G&A Assumptions
      129.   For our G&A cost assumptions, we assumed that the G&A forecasted in the KKR Projections for the year 2012
             would continue, and we escalated these costs at 1.5% per year.
                         d. KKR Monitoring Fee
      130.   As part of the Transaction, Samson was required to pay to the LBO Buyer Consortium a “Monitoring Fee” (the “KKR Monitoring
             Fee”) which totaled                     , as documented in an SRC Consulting Agreement.


                        e. Corporate Taxes Assumptions
      131.   We assumed zero corporate cash taxes in our solvency valuations and projections. In arriving at our corporate tax assumptions, we
             analyzed Samson’s future expected cash tax liabilities for each of the BRG Cases using the prevailing tax regulations in place as of
             the Closing Date, including the rules regarding net operating loss (“NOL”) carryforwards, alternative minimum tax, depreciable lives
             and methodologies, and allowable deductions for intangible drilling costs.138
      132.   Based on our analysis, Samson was generally forecasted to generate net losses for income tax purposes for at least the next decade
             post-Closing. Therefore, in light of the projected net losses, we assumed Samson would not:
                              i.    have either a tax asset or tax liability (and we did not reflect any such tax asset or tax liability in our NAVs),
                             ii.    owe any corporate cash taxes (and we did not reflect any such corporate taxes against our free cash flows
                                    projections for the various solvency tests including our Capital Adequacy Test or in our discounted cash flow
                                    (“DCF”) analyses).139
                       f. Operating Expenses/Cost Escalations
      133.   For Proved reserves (PDP, PDNP, PUDs), we assumed all operating costs consistent with the November 2011 NSAI Reserve Report
             assumptions including their built-in escalation assumptions. For Probables, Possibles, and CR, after subtracting annual PUD operating
             expenses/costs (sourced from NSAI) from the KKR Projections for Risked Undeveloped Reserves, we assumed all operating
             expenses/costs escalated at 1.5% per year, consistent with our pricing escalations,



137
    SAMS0160045, at -0045 and -0050.
138
    See details of income tax calculations in Appendix K-N.
139
    I do not opine as to whether Samson did actually owe any taxes at the Closing Date or thereafter.
140
    KKR Projections (KKR-SAM_0208022, “LBO” tab).



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       4. Applying Market Risking to Cash Flows Using RAFs and RADRs to get FMV
   134. We have applied industry standard risking methodologies using both RAFs and RADRs to our cash flow projections. We have
          primarily relied on the RAFs risking methodology since it is slightly more conservative as compared to RADRs. I have used both
          RAF and RADR risking methodologies for many years as an M&A industry and valuation professional and have developed informed
          judgments on the appropriate range of these values for US onshore oil and gas assets (and for Samson GoM Assets as well, as
          discussed in Part 2).
      135.   The process for applying RAFs and RADRs is slightly different between the two methods. The process for applying RAFs in a
             valuation to cash flow projections is as follows: (i) begin by defining the reserves using SPE PRMS definitions and obtain projections
             for production, revenues and free cash flows based on those SPE PRMS reserve categories (Proved, Probable, Possible, CR), (ii)
             discount the free cash flow projections back to the valuation date using a discount rate of 10%141 to arrive at a present value (“PV”)
             (we always use a standard 10% discount when applying RAFs) and (iii) then apply RAFs to the PV10% values per reserve category
             to arrive at FMV per reserve category.142
      136.   The process for applying RADRs is similar, but with a few differences, and is as follows: i) begin the same by defining the reserves
             using SPE PRMS definitions and obtain projections for production, revenues and free cash flows based on those SPE PRMS reserve
             categories (Proved, Probable, Possible, and CR), (ii) only this time instead of discounting all the free cash flows back using a PV10%,
             we discount the free cash flows back to the valuation date using “adjusted” discount rates (higher and higher discount rates) for each
             category of reserves; we use higher discount rates for the higher risk of reserve category for Proved, Probable, Possible and CR.
      137.   Table 32 provides, on the left-hand side, the BRG RAF assumptions used in this Onshore Report. The right-hand-side shows, for
             information purposes, the SPEE survey RAFs for the respective SPE PRMS reserve category.




141
   2011 SPEE Survey page 24, states that “median Unrisked Discount Rate value for producers, consultants, and the Other group is 10%.”
142
   2011 SPEE Survey page 36, How Reserve Adjustment Factors are Applied states that “Sixty-three percent (63%) reported applying their RAFs either to future net
  revenues after subtracting future operating costs, capital costs, abandonment costs, and taxes or to the discounted cash flows directly.”



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                                                                     Table 32.
                                                         BRG RAF Assumptions v. SPEE Survey143
                                                                                                                                  (1)
                          RAFs by Reserves Category (%)                                                       SPEE RAFs
                        Risking Percentage Applied to PV10%                                        Risking Percentage Applied to PV10%

                                                  [A]          [B]         [C]                                            [A]           [B]          [C]
                    SPE PRMS-Defined                                                           SPE PRMS-
                                                                                                                                                           (2)
                    Category                      Low        Med          High                 Defined                 Median Average Mode
               1.   PDP                           100        100          100             1.   PDP                      98      96     100
               2.   PDNP                           90        90            90             2.   PDNP                     75      78      75
               3.   PUD                            60        70            80             3.   PUD                      60      60      50
               4.   Probable                       25         35           50             4.   Probable                 25      24      50
               5.   Possible                       10        18            25             5.   Possible                  5       7      0
               6.   CR                              2          5           10

                           (1) June 2011 SPEE Survey, Table 15 (p.34). CR were not separately reported in this survey.
                           (2) Mode is the value that appears most often in a set of data, or in this case the value used by the highest number of
                               survey respondents.




      138.   Table 33, on the left-hand-side, reflects the RADRs I have applied in this Onshore Report, and for information purposes, also shows
             the SPEE survey RADRs per SPE PRMS reserve category.




143
   Low, Medium, and High RAF values are based on available survey data and Expert professional opinion and experience. Surveys prior to 2012 do not include RAFs for
  every category of reserves and resources, as they are limited by number of statistically significant responses. However, RAFs were commonly used in the industry at
  that time based on this expert’s experience, so conservative professional judgement was applied to develop the range of RAFs for this analysis.



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                                                              Table 33.
                                                  BRG RADR Assumptions v. SPEE Survey
                                                                                                         (1)
                                    RADRs by Reserves Category                           SPEE RADRs
                                              PV%                                            PV%

                                                                   [A]                                  [B]
                                        SPE PRMS-Defined                             SPE PRMS-Defined
                                        Category                  Med                Category         Average
                                   1.   PDP                       10           1.    PDP                11
                                   2.   PDNP                      11           2.    PDNP               16
                                   3.   PUD                       15           3.    PUD                22
                                   4.   Probable                   25          4.    Probable           34
                                   5.   Possible                  30           5.    Possible           41
                                   6.   CR                        40


                          (1) June 2014 SPEE Survey, Table 11 (p. 36), the first year that SPEE reported RADR survey results by
                          category of reserves. CR were not separately reported in this survey.


   139.   In favor of the Defendants, in this Onshore Report I have been conservative in my risking assumptions since even my “low” RAFs
          are equal to or more beneficial to the Defendants than the median values presented in the SPEE Surveys, while my RADRs are lower
          (and thus more beneficial to Defendants) than the average values in the SPEE Surveys.


       5. Weighted Average Cost of Capital
   140. For our analysis, we calculated a weighted average cost of capital (“WACC”) using the Capital Asset Pricing Model (“CAPM”) for
         our discount rate assumption(s). The WACC represents a company’s blended cost of capital across all sources, including equity and
         debt.
   141.   Our calculation of Samson Onshore’s cost of equity under both the capital structure of the Public Peers, and Samson’s specific capital
          structure, is reflected in Table 34 below.




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                                              Table 34.
                                   Determination of Cost of Equity144




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                                              Table 35.
                                   Determination of the Cost of Debt




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                                           Table 36.
                                    Determination of WACC




                                                                                88
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   VI. BALANCE SHEET TEST: SUMMARY VALUATIONS




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      A. Introduction
                 1. Overview
      145.   For the Balance Sheet Test, I calculated and compared the FMV of the assets to the FMV of the liabilities146 on a going concern basis
             for Samson Onshore as of the Closing Date for the Transaction using several different valuation methodologies including:
                       i. A NAV Analysis147 which incorporates a Corporate DCF analysis for each reserve category for the life of the reserves,
                      ii. A Corporate DCF Analysis148--often referred to as an “Income Approach”, and
                     iii. A Public Companies Analysis.
      146.   For my Balance Sheet Test, I have utilized only the BRG Base Case A for each of the valuation methodologies.
      147.   Over the course of my 30-year career, it has been my experience that many valuation practitioners valuing upstream E&P companies
             have completely omitted a Public Companies Analysis and a Mergers & Acquisitions Prior Transactions Method (“M&A
             Transactions Analysis”) for the primary reason that no public companies or precedent transactions are comparable to the subject
             company in question.
      148.   I am also of the opinion that no public companies or precedent transactions are truly comparable and, thus, believe that one must only
             assign a low weighting to these methodologies. However, despite many practitioners not using either of these methodologies, I did
             evaluate whether we have sufficient comparability in any public companies and in any of the prior corporate M&A transactions to
             allow us to attempt a Public Companies or a M&A Transactions Analysis.
      149.   In this instance, my evaluation of public comparables did result in three companies where I feel the comparability, albeit very limited,
             did meet a threshold which I feel warrants presenting a Public Companies Analysis for the Balance Sheet Test, albeit with a relatively
             low weighting as compared to our NAV and Corporate DCF Analyses. I will present in detail my Public Companies Analysis later
             in this Onshore Report.
      150.   Regarding prior precedent corporate M&A transactions, I evaluated them, but found none of the prior transactions reached a sufficient
             level of comparability to warrant including this methodology for our Balance Sheet Test. The historical corporate M&A transactions
             lacked comparability with Samson Onshore in many areas, but primarily due to the lack of significant overlap of operating revenues
             in their respective basins (I’ll comment on more in depth regarding my evaluation of this methodology later in this Onshore Report).



146
    6 Del. C. § 1302(a); Nev. Rev. Stat. Ann. § 112.160(1); 24 Okl. St. § 114(A); see also 11 U.S.C. §§ 544 & 550.
147
    The NAV analysis utilizes a forecast DCF approach to Samson Onshore’s reserves and resources.
148
    The DCFs use projections for a ten-year period along with a terminal value at the end of year ten.



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              2. Definition of Fair Value and Fair Market Value
   151.   In this Onshore Report, I use the terms “fair value” or “fair market value” interchangeably to mean the sale price a willing and prudent
          seller would accept from a willing and prudent buyer if the company were offered in a fair market for a reasonable period of time, on
          a going concern basis. Accordingly, in Part 1 (and in Part 2), I will generally use the term FMV, and I am valuing Samson Onshore
          (and Samson GoM in the Samson GoM Report) on a “Going Concern” basis.
              3. BRG Weightings for Valuation Methodologies
   152.   Referring back to Table 15, our summary valuations, you’ll note our BRG weightings column with respect to the weights we assign
          for each valuation methodology. As noted previously, these weightings are based on my 30-year career experience which are also
          consistent with my views established over my career regarding the weightings used by company managements, boards of directors,
          and by investment banking valuation firms in providing fairness opinions in this industry. A few additional comments regarding my
          weightings for the various valuation methodologies.
   153.   In my experience, the DCF analyses, including NAV analyses, generally receive between 80% to 90% of the combined weightings
          in valuation decisions by management teams and boards of directors in the upstream E&P industry. In favor of the Defendants in
          this analysis, I assign a 50% weighting to the NAV Analysis as being the most credible valuation methodology for Samson Onshore.
          The NAVs receive our highest weightings for many reasons but importantly because they have embedded within them DCF analyses
          for each reserve category for the life of the reserves (i.e., in essence, a DCF Income Approach for each reserve category for the life
          of the reserves). The NAV also takes into account the FMVs of other assets and liabilities, as well as the PV of cash flow expense
          streams such as G&A and corporate cash taxes.
   154.   I assign a 35% weighting to our Corporate DCF Analysis. The combined weighting of 85% for our NAV and Corporate DCF Analyses
          is in conformity with my experience as noted above. I further note that my weightings are generally also supported by the SPEE
          Surveys, which provide an independent document relating to weightings for valuation analysis in the upstream E&P sector.
   155.   I assign the remaining 15% weighting to the Public Companies Analysis. As previously discussed, since no public companies are
          truly comparable, I believe that one must only assign a low weighting to this methodology.
   156.   In Table 15, for illustrative purposes, I also show what valuation would result for the Balance Sheet Test if each of the methods
          described above were equally weighted. I note that, even under equal weightings, my conclusions would not change: Samson
          Onshore was insolvent based on the Balance Sheet Test as of the Closing Date.
   157.   Table 37 below shows the SPEE Survey reflecting an approximate 89% of the respondents most commonly relied on the Corporate
          DCF Analysis (which is consistent with our summing both our NAV and DCF methodologies). Per the SPEE Survey, various other
          types of methodologies receive no more than 2% to 5% each.




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                                                                   Table 37.
                                                Figure 14 of SPEE 30th Annual Survey, June 2011
                                       Most Commonly Used for Determining Value of Oil and Gas Properties149




149
      Does not sum to 100% due to rounding. “Other” includes the comparable sales method (SPEE 30th Annual Survey, June 2011, p. 23).



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      B. NAV Analysis
      158.   The NAV Analysis calculates the FMV for each major asset, and then subtracts the FMV for each major liability to arrive at a Net
             Asset Value (“NAV”). More specifically for an upstream E&P company, a NAV uses a DCF for the life of each asset reserve category
             to arrive at the FMV for each of the major reserve categories. Under the NAV methodology in calculating the FMV for the reserve
             categories, future projected cash flows are discounted back to the present by PV10% and then multiply that PV10% by the appropriate
             RAF applicable to that reserve category to arrive at a FMV for that reserve category. In a NAV, the PV of corporate G&A and the
             FMV of other liabilities and long-term debt are deducted from the value of the assets to arrive at the FMV for the NAV methodology.
      159.   Table 38 below reflects the NAV FMVs using the assumed RAFs cited in the “BRG Assumptions and Scenarios” section, and shown
             again here in Column D. My detailed reserves analysis (“runs”), including my detailed valuation applications for these RAFS and
             further NAV supporting analysis are included in Schedules 1.1- 1.7.
                                                                       Table 38.
                                        NAV Analysis - Risked Reserve Values using RAFs for BRG Base Case A150
                                                            Hedges of as December 31, 2011
                                  $millions                           [A]          [B]          [C]         [D]
                                                                         Risked Fair Market Value
                                        Reserve Categories           Low         Medium        High      RAF(%)
                                  1. PDP (NSAI)                   $     2,843 $      2,843 $       2,843   100
                                  2. PDNP (NSAI)                           50           50            50     90
                                  3. PUD (NSAI)                           557          650           743 60-70-80
                                  4.    Total Proved Reserves     $     3,451 $      3,544 $       3,637
                                  5.    Probable                              $        261     $        366    $            523     25-35-50
                                  6.    Possible                                       105              188                261      10-18-25
                                  7.    CR                                             177              443                886       2-5-10
                                  8.      Total Reserves Value                $      3,994     $      4,541    $         5,307




150
   Values have been rounded to the nearest whole dollar amount. The detailed calculations can be found in Schedules 1-1.7 of this Onshore Report. For the reserve categories
  where the PV were negative, we did not deduct the negative values from the NAVs. We assumed, since the PVs were negative, the Debtor would not spend the CAPEX
  to produce negative PV reserves. See Table 32 for the RAF assumptions.



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   160. I also evaluated the NAV FMVs using the assumed RADRs reflected in Table 33151 and, the reserve FMVs are generally lower using
          RADRs. To be conservative and in favor of Defendants, I only used and rely on the RAFs for my Balance Sheet Test opinion.
      161.   Table 39 takes the reserve FMVs from Table 38, and then provides additional asset and liability values for our NAVs.152 The BRG
             Base Case A results in a negative NAV equity value range of ($0.5) billion to ($1.9) billion with a midpoint of ($1.3) billion.




151
   See Schedule 7.1 for the Risked Reserve Values using RADRs for BRG Case A.
152
   Debtor’s accounts receivables and payables are valued at FMV. Since we assumed that its accounts receivables are collectable, the NAV analysis included Samson
  Onshore’s receivables at the full-face value (in favor of the Defendants). The assets and liabilities presented use the Debtor’s financial statements and KKR projections
  as sources, and if using multi-year projections, are discounted at corporate WACC rate described below in the Corporate DCF Analysis section.



                                                                                                                                                                          94
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                                                                    Table 39.
                                            NAVs based on BRG Cases A Hedges of as December 31, 2011153
                                                                                                 [A]           [B]            [C]
                                                                                                    Risked Fair Market Value
                                        $millions                                                Low          Med          High
                                                                        (1)
                                 1.     Total Reserves Value                                 $     3,994 $       4,541 $         5,307
                                                            (2)
                                 2.     Current Assets
                                                                                (3)
                                 3.     Other Long-Term Assets
                                                                   (4)
                                 4.     Land/Other Capex
                                               (5)
                                 5.     G&A
                                                                         (6)
                                 6.     KKR Monitoring Fee
                                                      (7)
                                 7.     Cash Taxes                                                     -             -                 -
                                 8.      Total Assets
                                                                  (8)
                                 9.     Current Liabilities
                                                              (9)
                                 10.    Long-Term Debt
                                                                              (9)
                                 11.    Other Liabilities (ARO)
                                                              (9)
                                 12.    Preferred Shares
                                 13.     Total Liabilities and Preferred                     $
                                 14.      Net Asset Value (NAV)                              $    (1,858) $     (1,311) $           (545)

                                  15. Equity Value Range:                                    $     (545)       --        $   (1,858)
                                                                                      (10)
                                  16. Equity Value Midpoint:                                               $   (1,311)

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   A comparison of these results and the NAV calculations I have performed for the BRG Cases, assuming March 31, 2012 hedges, are summarized in Appendix G. Each of
  these cases resulted in materially more negative FMV Equity Values for the Debtor at Closing and further underscoring the Debtors insolvency at Closing. These other
  scenario cases are each very legitimate to be used by the Court when forming a view regarding solvency because of the inherent industry volatility of natural gas and oil
  prices, and the resulting impacts of those volatilities on cash flows and FMV.



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 (1) Values have been rounded to the nearest whole dollar. Reserves PV values calculated as shown in Schedules 1.1-1.6 of the Onshore Report. Value/costs of Midstream
      and field PP&E are included in the reserves valuation tied to NSAI and KKR Projections.
 (2) Balance sheet items from 2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710), sum of columns V and X, exceptions as noted.
 (3) Excludes gas gathering systems, loan commitment fees.
 (4) Land and other Capex assumptions from KKR Projections through 2050 (KKR-SAM 0208022), escalated at 1.5% annually and discounted at midpoint corporate model
      WACC of 12.5%, using midyear convention.
 (5) 1st year G&A from KKR Projections with BRG Base Case price scenario, calculated using perpetuity formula with midpoint corporate model WACC of 12.5% and
      inflation of 1.5%.
 (6) KKR Projections, Base Case, 10-years' fees, discounted using the corporate model midpoint WACC of 12.5%.
 (7) As discussed in Section V.C.3.e, the Debtor was forecasted to generate net losses for income tax purposes for at least the next decade and, thus, was not projected to
      incur significant cash income taxes during the evaluation period. See Appendices K-N.
 (8) Liabilities exclude derivatives (included in reserves valuation) and deferred income taxes.
 (9) 2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710).
 (10) Defined as Medium NAV / Equity Value calculated using medium-level RAFs for cash flow risking, rather than an average of the Equity Value range.




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   C. Corporate DCF Analysis
   162.   The Corporate DCF method, which is often called the “income approach,” measures the PV of expected future unlevered free cash
          flows. Generally, the unlevered free cash flows are projected on an annual basis for a discrete period of time (usually five to ten
          years—we use ten years here). The annual projected unlevered free cash flows are then discounted back to the valuation date using
          the WACC as the PV discount rate. A terminal value is then also calculated at the end of the discrete time period, which is then also
          discounted back to the present using the WACC. Summing the PVs of the annual cash flows plus the PV of the terminal value equals
          the total FMV for the company.
                  1. Cash Flow Projections
   163.   For my Corporate DCF, I used the cash flows derived by our BRG Base Case A described earlier in the “BRG Assumptions and
          Scenarios” section. I then deduct the Operating Expenses to derive the asset operating cash flows for each reserve category. I then
          apply the required RAFs (medium values) to each reserve category to determine the “risked” operating cash flows to account for
          operational and industry risks, including risks associated with commodity prices, basis differentials, operating cost overruns, EUR
          variabilities, the timing of production, capital allocation decisions, and other factors. As noted above, practitioners use RAFs to factor
          in these additional risks inherent in the development oil and gas reserves.
   164.   As an example, I show in Table 40 the calculation of the risked operating cash flows for projected year 2012.




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                                                                         Table 40.
                                                 2012 Risked Operating Cash Flows by Reserve Category154
                                                                    BRG Base Case A
                                                              Hedges of as December 31, 2011
                                     [A]                      [B]        [C]        [D]      [E]        [F]     [G]              [H]
                                                             PDP       PDNP        PUD     Probable Possible Contingent         Total
              1. Production (Bcfe)
              2. Revenue ($mil)
              3.    (-) Operating Costs
              4.    (-) Production/Severance Taxes
              5.    (-) Ad Valorem
              6. Unrisked Asset Operating Cash Flows
              7.     RAF (Medium values)                            P100       P90        P70         P35         P18     P5         n/a
              8. Risked Operating Cash Flows



       165.     Once the risked operating cash flows are estimated, other expenses, including G&A, the KKR Monitoring Fees, taxes, and CAPEX
                (which is also risked by reserve category using RAFs), are deducted to calculate the unlevered after-tax free cash flow for the
                company. We then discount these free cash flows, as well as the terminal value, back to the Closing Date using the midpoint of our
                WACC calculation (see Table 36). Table 41 below summarizes the annual unlevered free cash flows PVs for BRG Base Case A.155




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      Values have been rounded to the nearest whole dollar amount.
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      The detailed cash flows for BRG Case A are reflected in Schedule 10.1



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                                                                       Table 41.
                                                      Corporate DCF Analysis – BRG Base Case A156
                                                            Hedges of as December 31, 2011
           [A]                                             [B]         [C]            [D]            [E]            [F]            [G]            [H]            [I]            [J]         [K]
     $ in millions                                        2012        2013           2014           2015           2016           2017           2018           2019           2020        2021
1.   Risked Operating Cash Flows 1
                                             2
2.     (-) General & administrative expenses
                                 3
3.     (-) KKR Monitoring Fee
4.   EBITDA
                       4
5.     (-) Cash taxes                                                        -              -              -              -              -              -              -                          -
6.   Operating Net Income
                                           5
7.     (+/-) Change in net working capital                                   -              -              -              -              -              -              -                          -
8.   After-Tax Cash Flow
                                      6
9.     (-) Total capital expenditures

10. Unlevered after-tax free cash flows to
    the firm
                            7
11. PV factor: WACC 12.5%                               0.9397     0.8353        0.7425         0.6600         0.5867         0.5215         0.4635         0.4120         0.3663      0.3256
12. PV of unlevered free cash flows                   $     216   $     112      $     190      $     282      $     228      $     217      $     170      $     121      $      93   $      66

      (1) Risked operating cash flow figures and development capex are risked as follows: PDP - 100%, PDNP - 90%, PUD - 70%, Probable - 35%, Possible - 18%, CR
          - 5%. PDP, PDNP, and PUD are sourced from NSAI for production, differentials, and cost profiles; BRG pricing assumptions and actual hedging positions
          applied. All asset level free cash flows are BRG market risked cash flows using probability method of risking.
      (2) 2012 General & administrative expenses are sourced from KKR Projections (KKR-SAM_0208022) and escalated at 1.5% annually using midyear convention.
      (3)                                                                                                                              (SAMS0160045, at -
          0045 and -0050).
      (4) The Debtor was forecasted to generate net losses for income tax purposes for at least the next decade and, thus, was not projected to incur significant cash
          income taxes during the evaluation period. See Appendices K through N.
      (5) Working capital changes are assumed at $0.
      (6) Total capital expenditures include the following: Capital Expenditures ("CAPEX”) – capital expenditures necessary for the progression, development and
          production of oil and natural gas reserves and resources;                                                                                               (KKR-
          SAM_0208022); Other capital expenditures includes land acquisitions, land sales, and other capital expenditures sourced from KKR Projections (KKR-
          SAM_0208022).
      (7) Partial period factor in 2011 is calculated as the Transaction Closing (12/21/2011) divided by FYE 2011 (12/31/2011). All projected years starting in 2012 are
          assumed to be a full year. PV factor is calculated as: 1 / (1 + WACC of 12.5%) ^ discount period with mid-year discounting.



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                         2. Terminal Value Assumptions
       166.      I used two different terminal value methodologies for my Corporate DCF Analysis:
                             i. the Gordon Growth Perpetuity (“GGP”) model, which assumes the terminal free cash flow is grown by a certain percentage
                                annually, and is then divided by the WACC less that same growth percentage, and
                            ii. the EBITDA multiple method, which applies a multiple of EBITDA to the terminal year EBITDA, and this becomes the
                                terminal value.
       167.       Both terminal value methodologies are generally accepted and widely used in both academia and the valuation industry, including
                 in the upstream E&P industry, and we used both methods in our Corporate DCF Analysis and weighted them equally. In the GGP
                 model, I assumed a long-term growth rate of 1.5%, which is the growth rate assumed in the KKR Projections, and consistent with
                 our pricing escalation assumptions. For the EBITDA terminal multiple, I used 5.0x based on the approximate median of our Public
                 Companies Analysis (provided in this Onshore Report below).
       168.      Table 42 summarizes the PVs of our annual projected cash flows and our two terminal value methodologies. The table then sums
                 the PVs of the annual unlevered free cash flows and the PVs of the terminal values to arrive at the Enterprise FMV for Samson
                 Onshore. We then subtract the debt and the preferred stock which were on the balance sheet as of the Closing Date to arrive at the
                 FMV for the Equity Value for Samson Onshore as a going concern as of the Closing Date.
                                                                               Table 42.
                                                    Corporate DCF Analysis - BRG Base Case A Equity Values ($millions)
           WACC at 12.5%                                                   2011       2012     2013   2014        2015        2016         2017         2018         2019       2020   2021
                                                          1
           1. Unlevered after-tax free cash flows                                6    230      134    256         428          389          417         366          293        255    204
                                                     2
           2. PV Unlevered after-tax free cash flows                             6    216      112    190         282          228          217         170          121         93     66

                                    Gordon Growth Method                                                                              EBITDA multiple




           Note: Percent of Enterprise Value derived from PV of terminal value        33%                    Note: Percent of Enterprise Value derived from PV of terminal va   27%


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      Values have been rounded to the nearest whole dollar amount.



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(1) Unlevered after-tax free cash flows to the firm are calculated as: Risked operating cash flows less G&A less KKR monitoring fee less cash taxes less changes in
    net working capital less total capital expenditures.
(2) Partial period factor in 2011 is calculated as the Transaction Closing (12/21/2011) divided by FYE 2011 (12/31/2011). All projected years starting in 2012 are
    assumed to be a full year. PV factor is calculated as: 1 / (1 + WACC of 12.5%) ^ discount period with mid-year discounting). All projected years starting in 2012
    are assumed to be a full year. PV factor is calculated as: 1 / (1 + WACC of 12.5%) ^ discount period with mid-year discounting.
(3) PV of terminal value calculated as follows.




(4) Sourced from KKR Projections (KKR-SAM_0208022).
(5)

(6)



(7)




                      3. Sensitivities
       169.    Factoring into my opinions, I used a generous wide range of WACC sensitivity analysis (in favor of Defendants) of 10.5% to 14.5%.
               The WACC range shows how this assumption could vary based on the capital structure of Samson Onshore or the Public Peers, as
               well as whether we were to include (or exclude) the private company/size/highly leveraged discount of 4.0% in the cost-of-equity
               portion of WACC calculation.157
       170.    For the terminal value sensitivities, I used a range of 1.0%-2.0% for the long-term growth rate under the GGP model method, and a
               range of 4.0x – 6.0x for the EBITDA terminal multiple method.



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      See Table 36 for the WACC calculation.



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   171. Table 43 reflects the resulting Enterprise Values based on the sensitivities under each terminal value methodology (rows 3-7). Since
          the terminal value methodologies are weighted equally, I have used the lowest and highest values in the WACC sensitivities to derive
          my Enterprise Value range. From the Enterprise Values, I again subtract the debt and preferred stock which were on the balance
          sheet of Samson as of the Closing Date. The result is the FMV for the Equity Value range and midpoint, which shows a negative
          Equity Value of ($1.2) billion.




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                                                                            Table 43.
                                                             Corporate DCF Analysis Sensitivities and
                                                            BRG Base Case A Equity Value Conclusion158
                                             [A]                                  [B]                           [C]                         [D]

                               Weighted Average Cost of Capital          With private company /      Without private company /      Concluded BRG WACC
                                                   (1)
                                        ("WACC")                        highly leveraged discount    highly leveraged discount             Range

                       1. Comparable Public Companies                            13.4%                        10.3%
                                                                                                                                       10.5% - 14.5%
                       2. Samson Specific Cap Structure


                            [E]            [F]            [G]          [H]                                [I]            [J]           [K]         [L]
                       Implied enterprise value: Gordon Growth Method                               Implied enterprise value: EBITDA Multiple Method
                                                 Long-term growth rate                                                        Exit EBITDA Multiple
                                                 1.0%          1.5%            2.0%                                         4.0x          5.0x           6.0x
                  3.             10.5% $        3,043 $       3,060 $         3,079                        10.5% $        2,431 $       2,579 $        2,726
                  4.             11.5% $        2,766 $       2,771 $         2,778                        11.5% $        2,308 $       2,443 $        2,577
                        WACC




                                                                                                    WACC
                  5.             12.5% $        2,536 $       2,534 $         2,533                        12.5% $        2,194 $       2,317 $        2,440
                  6.             13.5% $        2,343 $       2,336 $         2,329                        13.5% $        2,088 $       2,201 $        2,313
                  7.             14.5% $        2,178 $       2,168 $         2,158                        14.5% $        1,990 $       2,093 $        2,196


                       8. Enterprise Value Range:                                                                     $ 2,093         --          $ 3,060



                       11. Equity Value Range:                                                                        $ (1,682)       --    $ (715)
                       12. Equity Value Midpoint:                                                                                 $ (1,199)
        (1) See Table 36 for the WACC calculation.
        (2) 2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710).
        (3) As assumed liability, from 2011.12.21 - SIC Segmented BS as of 12.21.11 (SAMS0471710). As value given by LBO Buyer Consortium, from November 22,
            2011 SPA.


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      Hedges as of December 31, 2011. Values have been rounded to the nearest whole dollar amount.



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   D. Public Companies Analysis
   172.   A Public Companies Analysis attempts to derive the value of a company based on a relative comparison with other public companies
          with similar assets, operating metrics, and financial characteristics. Under this methodology, the total enterprise value (“TEV”) for
          each selected public company is determined by examining the trading prices for the equity securities of such company in the public
          markets and adding the aggregate outstanding amounts of preferred securities, minority interests and debt for such company. Then
          multiples are derived from the comparable companies and applied to the relevant metrics for the company being valued.
   173.   One of the challenging aspects of a Public Companies Analysis is finding companies that are even somewhat comparable to the
          subject company being analyzed. While it would be ideal to find companies that are nearly identical or very similar to the target firm,
          it is often very difficult to find such companies. As such, it is important to identify companies that are similar for key characteristics.
          In the upstream E&P industry, one of the most critical comparable factors one must find is a significant percentage of overlapping
          revenues in the basins in which the subject company operates along with similar hydrocarbon mixes of gas and oil. In addition, one
          must find comparability in overall corporate size and debt-to-capital (leverage) and other financial measures.
   174.   Onshore upstream E&P basins vary greatly in the U.S. as to the mix of oil versus gas, operating metrics, drilling and completion
          techniques along with operating and capital expenditure levels, EURs, realized prices from Basis differentials, and a host of other
          factors. I reviewed many documents which comprised different sets of public companies used by Jefferies, by the LBO Buyer
          Consortium, and others, and found the vast majority of these analyses lacked significant credibility for purposes of estimating a
          valuation for Samson Onshore.
   175.   I ultimately reviewed 17 publicly traded U.S. onshore upstream E&P companies with enterprise values of at least $1.0 billion but less
          than $20.0 billion that had as their primary operations located onshore U.S. I note our enterprise value range was relatively wide
          with the high of $20 billion being more than 2.5X the Gross Cash Consideration for the Samson Onshore Transaction of $6.9 billion.
          I evaluated these 17 companies, analyzed where (which basins) they were generating their revenues, and analyzed what percentage
          of revenues each company had in the respective overlapping basins with Samson Onshore. For this analysis, I determined a minimum
          5% threshold as being “material” for assigning respective weighted overlapping revenue, giving the weights according to the Samson
          Onshore basin revenue percentages. Revenue by basin is a reasonable basis upon which to assess comparability for upstream E&P
          companies since revenue accounts not only for production volumes, but pricing variances across basins, hydrocarbon mix, and other
          factors that influence the economics of assets that are geographically diverse. From the initial 17 companies, we only identified three
          companies that had at least a 50% weighted average overlapping revenue basin fit with Samson Onshore.
   176.   Table 44 shows the 17 publicly traded companies I evaluated and their relative revenue overlap with Samson Onshore basins. The
          three companies who met at least a 50% weighted revenue overlapping threshold were: SM Energy, QEP Resources and Newfield
          Exploration. I then utilized these three companies for my Public Companies analysis.




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                                                                   Table 44.
                                           Comparability of Public Companies to Samson Onshore159

                                             [A]            [B]               [C]                [D]              [E]       [F]      [G]              [H]            [I]

               Samson's Basin/Business
                        Units               East                            Mid-Cont           Mid-Cont                    Powder   Green         Total Revenue
                                                    (2)               (3)                (4)              (5)                               (6)
                                            Texas         Williston          West                East           San Juan    River   River           Identified
                                (1)
                    Revenue %

                                                                                       (7)                                                                        Include as
            Public Companies' Percentage of Total Revenue by Basin/Business Unit                                                                  Comparable
                                                                                                                                                          (8)       Comp
                                                                                                                                                    Assets
       1    SM Energy                        7%            25%                9%                 9%                                                                 Yes
       2    QEP Resources                   41%            11%                                                                      21%                             Yes
       3    Newfield Exploration                           9%                7%                 17%                                                                 Yes
       4    Noble Energy (9)                 6%                              7%                                   7%                                                No
       5    EOG Resources                    6%             20%              4%                                                                                     No
       6    Forest Oil                      27%                              35%                                                                                    No
       7    Plains E&P                      16%                              5%                                                                                     No
       8    SandRidge Energy                 7%                                                  10%                                                                No
       9    Continental Resources                           48%                                   5%                                                                No
       10   Range Resources                  6%                               3%                  3%                                                                No
       11   Denbury Resources                               9%                                                                                                      No
       12   Cimarex                                                          34%                                                                                    No
       13   Pioneer Natural Resources                                        16%                                                                                    No
       14   Bill Barrett                                                                                                    13%                                     No
       15   Ultra Petroleum                                                                                                         83%                             No
       16   Concho Resources                                3%                                                                                                      No
                                                                                                                                                            )       No
       17   Murphy Oil




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                              (1) Revenues from 2012, Samson Resources 2014 10-K
                              (2) Haynesville, Bossier, Cotton Valley.
                              (3) Bakken and Three Forks formations.
                              (4) Cleveland, Granite Wash, Douglas Formation Texas Panhandle.
                              (5) Anadarko Basin in Oklahoma and Arkoma.
                              (6) Includes Pinedale Anticline for comparable companies.
                              (7) Estimated by BRG based on Companies’ Form 10-Ks for year 2010
                              (8) Sum of Samson's % of revenue in all Reporting Units where the comparable company's share of revenue is 5% or higher
                              (9) Included in selected companies due to Enterprise Value ($20.2 billion) being close to the $20.0 billion threshold.
                              (10) NM=Not Meaningful.



      177.   As noted, none of the public companies considered above are truly comparable to Samson with the highest overlapping fit being SM
             Energy’s 73%, with the next company QEP at 51%, and then Newfield at 50% (collectively, the “Public Peers”). Only these three
             companies had at least 50% overlapping asset comparability to Samson. All the other companies were even less comparable. But,
             again, rather than omit this methodology entirely, I am including it for thoroughness. Again, I assigned a relatively low weight to
             this methodology based on the significant lack of comparability of the publicly traded companies to Samson.
      178.   I calculated the equity market capitalizations for these three public companies by multiplying the trading prices for their stock as of
             the Closing Date by the number of outstanding shares for each company. Then, added any preferred equity and minority interest plus
             their total debt obligations to get Total Enterprise Value (“TEV”). Then calculated the Public Peers’ respective multiples, some of
             which are calculated by dividing TEV by metrics such as Production, Proved reserves, and dividing TEV by EBITDA for the last
             twelve months and estimates for the current and next fiscal years (“NFY”). Other multiples are calculated using equity value divided
             by After-Tax Cash Flows for the same periods.
      179.   Table 45 below shows the Public Peers’ multiples.




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                                                                   . I did put a minimum threshold of materiality for a particular basin of 5% revenue, and only included
  in my Public Companies Analysis companies in which the weighted average of the revenue overlaps were at least 50% (which in-itself says the company is only “half-
  way” comparable). Values have been rounded to the nearest whole number.



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                                                                           Table 45.
                                                                       Market Multiples
                                                                   Public Companies Analysis
                                 [A]            [B]             [C]            [D]              [E]         [F]         [G]          [H]                   [I]
                         Company Information                                                      Reserve Information                                  Leverage
                                                               Total
                              Stock       Market Cap                       Total Proved Production                            (6)         (7)
                                                                                                                                                       Debt/Equity
No.      Company Name              (1)           (2)
                                                            Enterprise              (4)           (5)     % PD       % Gas          R/P                       (8)
                             Price         ($mil)                      (3)   (Bcfe)     (Mmcfe/d)                                                        Ratio
                                                           Value ($mil)
1.    Newfield Exploration   $ 37.06 $             4,988 $         7,973     3,716.0           810.5       58%        63%           12.6 x                60%
2.    QEP Resources          $ 29.24 $             5,174 $         6,808     3,030.5           721.9       53%        87%           11.5 x                31%
3.    SM Energy              $ 72.64 $             4,649 $         5,282       984.4           302.2       70%        84%           8.9 x                 14%

4.                           Samson Onshore

                                 [J]             [K]             [L]            [M]              [N]         [O]         [P]           [Q]
                                                   Total Enterprise Value /                                         Equity Value /
                                                                                                                      2011E          2012E
                              Total                                                                      LTM After-
No.      Company Name                     Production           LTM             2011E            2012E               After-Tax       After-Tax
                             Proved                                (12)                (13)         (13) Tax Cash     Cash            Cash
                                              ($/Mcfe/d)     EBITDA         EBITDA            EBITDA           (14)
                             ($/Mcfe)                                                                     Flow            (13)                  (13)
                                                                                                                     Flow            Flow
5.    Newfield Exploration   $     2.15   $        9,837        5.0 x         4.9 x            4.3 x        3.5 x      3.1 x          2.9 x
6.    QEP Resources          $     2.25   $        9,430        5.4 x         5.0 x            4.2 x        4.1 x      3.9 x          3.4 x
7.    SM Energy              $     5.37   $       17,478        6.7 x         5.9 x            4.5 x        4.6 x      4.5 x          4.4 x
8.    Median                 $     2.25   $        9,837        5.4 x         5.0 x            4.3 x        4.1 x      3.9 x          3.4 x




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          (1) Stock prices as of 12/21/11 (Bloomberg).
          (2) Stock price times outstanding number of shares as of the Q3 2011 Form 10-Qs for each Company.
          (3) Market Capitalization plus Total Debt as of Q3 2011.
          (4) As of 12/31/10 per the Companies’ Form 10-Ks.
          (5) LTM as of 09/30/11 per Companies’ Form 10-Ks and 10-Qs.
          (6) As % of LTM production.
          (7) Reserves/Production Ratio: Proved Reserves divided by annual production for the last available 12 months.
          (8) See Table 46.
          (9) Proved Reserves from November 2011 NSAI Reserve Report (SAMS0098902-35, at -03). Reserves as of 09/30/11.
          (10) December 8, 2011 Lender Presentation, p. 33 (KKR-SAM_0056452-502, at -484). Current production as of 09/30/11.
          (11) % Gas for 4Q2011 from KKR Projections (KKR-SAM_0208022, “2012 Monthly” tab, line 163).
          (12) EBITDA defined as Operating Income plus DD&A, plus Asset Retirement Accretion, plus Stock‐Based Compensation, plus Non‐Cash Derivative Losses,
              plus Impairment Charges, plus Other One‐Time and Restructuring Charges, plus Exploration Expense. LTM as of 09/30/11 per Companies’ Form 10-Ks and
              10-Qs.
          (13) Based on consensus street analysts' estimates and reported by S&P Capital IQ as of 12/21/11. The Deferred Taxes for 2011E and 2012E is calculated based on
              the percentage of Deferred Taxes as compared to Net Income for LTM 09/30/11 and applied to the Net Income based on the consensus street analysts'
              estimates for those periods.
          (14) After-Tax Cash Flow is defined as Net Income plus DD&A, plus Deferred Taxes. LTM as of 09/30/11 per Companies’ Form 10-Ks and 10-Qs. After-Tax
              Cash Flow is defined as Net Income plus DD&A, plus Deferred Taxes. LTM as of 09/30/11 per Companies’ Form 10-Ks and 10-Qs.




   180.     Earlier in this section, I mentioned the importance of comparable leverage ratios in the Public Companies Analysis since the leverage
            ratio can significantly impact the public equity trading multiples. Table 46 below demonstrates how significantly more leveraged
            Samson Onshore was than these three peer public companies with a debt/equity ratio exceeding               compared to the median
            debt/equity ratio for the three peers of 31%.




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                                                Table 46.
                        Debt/Equity Ratios of Samson Onshore and the Public Peers




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          new investment projects because it would be more difficult and costly for highly leveraged firms to obtain additional capital.160
          Therefore, I also deducted a 25% leverage discount in my Public Companies Analysis to reflect Samson’s materially higher leverage
          than the three Public Peers.161 This 25% leverage discount is supported based on academic research (including valuation text books)
          and is consistent with my own career experience in valuations in this industry, and my own academic experience both as a student
          and as a professor.
      182.   As mentioned earlier, I also deducted a “private company illiquidity” discount consistent with the academic literature (see footnote
             14 in Table 47) and my career experience. The three Public Peers are all publicly traded while Samson Onshore is private.
             Accordingly, I deducted a “Private Company” discount range of 10% to 35% (with a midpoint of 22.5%).162
                                                                                   3


      183.   In my Public Companies Analysis, I apply the median multiples of the Public Peers to Samson’s parameters to estimate Samson’s
             Enterprise Value. I then further applied BRG weightings to each multiple based upon what I have observed over my career as to
             which multiples in this situation, and in general, would typically carry the most weight and are most valid in the context of valuing
             this specific Samson Onshore situation. For convenience, I also show how those numbers would change if I had used equal
             weightings. From my weighted Enterprise Value calculations, I then deduct the liabilities of Samson as of the Closing Date (including
             total debt, preferred stock, and PV of the KKR Monitoring Fee) to arrive at a preliminary equity value. The Leverage Discount and
             Private Company Discount described above are then deducted to arrive at an Equity FMV.
      184.   Table 47 below calculates the Public Companies Analysis for this Market Approach which shows a slightly positive FMV of $242.0
             million based on my BRG weightings.




160
    “The Effects of Enterprise Risk Management on Firm Performance,” Don Pagach and Richard Warr, April 2010, p.7.
161
    BRG calculation and estimate; Corporate Valuation: Theory, Evidence & Practice, Holthausen/Zmijewski, Chapter 15: Leverage Buyout Transactions; and Principals of
   Corporate Finance, Thirteenth Edition, Brealey, Myers, Allen, Chapter 17: The Effect of Financial Leverage, Chapter 19: Adjusted Present Value, Adjusting WACC
   when Debt Ratios and Business Risks Differ.
162
    Liquidity refers to the ease with which an asset can be converted into cash. Morningstar, Inc., Stocks, Bonds, Bills, and Inflation Valuation Edition: 2011 Yearbook
   (Chicago: Morningstar, Inc., 2011), Damodaran, Aswath, Marketability and Value: Measuring the Illiquidity Discount (Stern School of Business, June 2005), and
   Damodaran, Aswath, The Cost of Illiquidity (retrieved at http://people.stern.nyu.edu/adamodar/pdfiles/country/illiquidity.pdf on December 28, 2020).
163
    SRR Valuation of 15,448,554 Common Shares as of August 1, 2011 of SIC, p. 56 (SEC-00187605-711, at -666).



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                                                       Table 47.
                               Public Companies Analysis as of Closing December 21, 2011164
                                                                    [A]             [B]          [C]        [D]             [E]
                                                                                 Metric for    Implied
                                                                                  Samson      Enterprise    BRG            Equal
                     ($millions)                                Median           Onshore        Value      Weight          Weight
                     Enterprise Value / EBITDA
               1.      LTM 09/30/2011                                   5.4 x                               5%              13%
               2.      FYE 2011E                                        5.0 x                               10%             13%
               3.      FYE 2012E                                        4.3 x                               10%             13%

                     Enterprise Value / Proved Reserves
               4.      Total Proved ($ / Mcfe)                          $2.25                               10%             13%

                     Enterprise Value / Production
               5.      Production - LTM ($ / Mcfe / d)             $9,837                                   10%             13%
                                                                  (6)
                     Equity value / After-Tax Cash Flow
               6.      LTM 09/30/2011                                   4.1 x
               7.      FYE 2011E                                        3.9 x                               25%             13%
               8.      FYE 2012E                                        3.4 x                               25%             13%
                                                                                                           100%            100%

                                                           (10)
               9. Enterprise value - weighted average
                                                         (11)
               10. Less: Total Debt as of 12/21/11
                                                  (12)
               11.          KKR Monitoring Fee
                                           (11)
               12.      Preferred Stock
               13. Subtotal Equity Value                                                                   $461            $797
                                                                                    (13)
               14. Less: Leverage Discount for Debt/Equity Ratio (25%)                                     ($115)          ($199)
                                                                        (14)
               15. Less: Private Company Discount (22.5%)                                                  ($104)          ($179)
               16. Implied Equity Value of Samson Onshore                                                  $242             $418
               17. Equity Value:                                                                                    $242
.



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        (1) December 8, 2011 Lender Presentation, p. 49 (KKR-SAM_0056452-502, at -500).
        (2) KKR Projections, Base Case, excludes KKR Monitoring Fee (KKR_SAM_0208022).
        (3) BRG Case A, December 31, 2011 Hedges, RAFs (Medium Values), excludes KKR Monitoring Fee

        (4) November 2011 NSAI Reserve Report (SAMS0098902-35, at -03). Reserves as of 09/30/11.
        (5) December 8, 2011 Lender Presentation, p. 33 (KKR-SAM_0056452-502, at -484). Current production as of 09/30/11.
        (6) Calculation of Enterprise Value includes the total pre-Closing debt of                  as of 12/21/11 (SAMS0471710).
        (7) December 8, 2011 Lender Presentation, p. 49 (KKR-SAM_0056452-502, at -500).
        (8) KKR Projections, Base Case, excludes KKR Monitoring Fee (KKR_SAM_0208022). Interest expense is assumed to equal the interest expense in LTM
             09/30/11 (December 8, 2011 Lender Presentation, p. 49 (KKR-SAM_0056452-502, at -500)).
        (9) BRG Case A, December 31, 2011 Hedges, RAFs (Medium Values), excludes KKR Monitoring Fee
                                            Interest expense is assumed to equal the interest expense in LTM 09/30/11 (December 8, 2011 Lender Presentation, p. 49 (KKR-
             SAM_0056452-502, at -500)).
        (10) Assumes net working capital is included in the enterprise values of the public companies considered.
        (11) 2011.12.21 - SAMS0471710 - SIC Segmented BS as of 12.21.11.XLSX.
        (12) KKR Projections, Base Case, 10-years' fees, discounted using the corporate model midpoint WACC of 12.5%.
        (13) BRG calculation and estimate; Corporate Valuation: Theory, Evidence & Practice, Holthausen/Zmijewski, Chapter 15: Leverage Buyout Transactions; and
             Principals of Corporate Finance, Thirteenth Edition, Brealey, Myers, Allen, Chapter 17: The Effect of Financial Leverage, Chapter 19: Adjusted Present Value,
             Adjusting WACC when Debt Ratios and Business Risks Differ.”
        (14) Morningstar, Inc., Stocks, Bonds, Bills, and Inflation Valuation Edition: 2011 Yearbook (Chicago: Morningstar, Inc., 2011), Damodaran, Aswath,
             Marketability and Value: Measuring the Illiquidity Discount (Stern School of Business, June 2005), and Damodaran, Aswath, The Cost of Illiquidity (retrieved
             at http://people.stern.nyu.edu/adamodar/pdfiles/country/illiquidity.pdf on December 28, 2020). A discount range of 10%-35% is supported by




 Sources: S&P Capital IQ, Bloomberg, and Public Companies’ Form 10-Ks and 10-Qs.




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      Values have been rounded to the nearest whole dollar amount.



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   E. M&A Transactions Analysis
   185.   The M&A Transactions Analysis is a valuation method and another market approach wherein a comparable set of M&A transactions
          are selected, key multiples are calculated, and then those multiples are applied to the subject company to obtain an estimated FMV.
   186.   In evaluating my M&A Transaction methodology, I identified ten “corporate” upstream E&P M&A transactions which met the
          following criteria: (i) had occurred over the prior six years (2006 through 2011) from the Closing Date, (ii) were in size between $1.0
          billion and $20.0 billion in value, and (iii) had as their primary geographic operations located Onshore U.S with generally overlapping
          basins with Samson Onshore’s operating basins. These ten corporate M&A transactions are shown in Table 48.
                                                                            Table 48.
                                                            U.S. Upstream Corporate M&A Transactions




           (1) Consideration paid plus long-term debt assumed by the buyer as reflected in the press releases and filings with the Securities and Exchange
               Commission.




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   187. In conducting M&A Transaction Analysis, it is very important in selecting M&A transactions to only include those transactions
          which are “comparable” to the transaction being evaluated for a number of important reasons. I note that, in performing this
          methodology for this Transaction, it is only appropriate to use “Corporate” M&A transactions and not “Asset” sale transactions for
          several reasons, including:
              A. This Transaction was structured as a sale of stock between Selling Stockholders and the LBO Buyer Consortium — this defines
                 a corporate transaction; it was not an “asset” transaction, it was not a sale of the assets.




              B. Secondly, in asset transactions, the buyer generally receives a “Step-up Tax Basis” in the assets which allows the buyer to
                 depreciate those assets for tax purposes and shield income at higher levels; thereby, adding incremental value and higher prices
                 are typically to be paid.
                                            65
                                               No such Step-up Tax Basis is typically granted for corporate stock sale transactions,

              C. Third, asset sale transactions do not place the buyers in the title chain. Not being in the title chain enables buyers to eliminate
                 certain potential litigation and contingent liability risk that would otherwise need to be deducted from the purchase price, whereas
                 a corporate transaction places the buyer in the title chain and exposes the buyer to these risks which typically results in a lower
                 price paid for the same assets.
              D. Fourth, asset sale transactions will also typically exclude G&A since it is only the assets that are being acquired whereas corporate
                 stock transactions generally the buyer assumes the employees and other corporate G&A items,


       188.
                                                                             , Samson’s “excessive” geographical diversity has a negative impact
              on the potential value of SIC, which demonstrates the importance of identifying and considering only “Corporate” M&A transactions,
              which could potentially account for any impact such excess diversity in the assets may have on the value of the company as a whole.
              “Asset” transactions that only capture a portion of the company’s activities do not reflect this “corporate” discount.


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      JEFF00013208.



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   189. Similar to the Public Companies Analysis, I then evaluated the revenue comparability to identify which corporate M&A transactions
          involved targets with at least 50% overlap with Samson Onshore’s basin revenues, using 5% overlap as a minimum materiality
          threshold, and assigning revenue weightings then based on Samson’s Onshore basin revenue percentages. As shown in Table 49,
          none of the ten corporate M&A transactions had 50% or more comparability.


                                                                          Table 49.
                                             Comparability Analysis of M&A Transactions to Debtor (Samson Onshore)167

                                                     [A]            [B]             [C]          [D]          [E]      [F]        [G]         [H]        [I]
                                                                                    Mid-         Mid-                           r
                Samson's Business Units              East                           Cont         Cont          San   Powder   Green          Total
                                                            (2)               (3)          (4)          (5)                         (6)
                                                    Texas         Williston         West         East         Juan    River   River        Identified
                               (1)
                   Revenue %
                                                                                                                                           Samson
           M&A Transactions Revenues
                                              (7)                                                                                         Comparable Include as
                                                                                                                                                  (8)
                                                                                                                                           Assets      Comp
           1.     Encore Acquisition                                31%                          14%                  36%                                No
           2.     KCS                               50%                                          9%                                                      No
           3.     Houston Expl.                     5%                                           16%                                                     No
           4.     Brigham                                           74%             2%            7%                                                     No
           5.     Pogo Prod.                                                        9%                        9%                                         No
           6.     Petrohawk                         72%                                                                                                  No
                                       (9)
           7.     Hunt Petroleum                    48%                                                                                                  No
           8.     Western                                                                                     4%      47%         17%                    No
           9. Kerr-McGee                                                                                                          1%                     No
           10. Arena                                                                             4%                                                      No




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      Values have been rounded to the nearest whole number. See Appendix T for the detailed calculations.



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               (1) Samson Resources 2014 10-K (revenues and production from 2012).
               (2) Haynesville, Bossier, Cotton Valley.
               (3) Bakken and Three Forks formations.
               (4) Cleveland, Granite Wash, Douglas Formation Texas Panhandle.
               (5) Anadarko Basin in Central and Western Oklahoma and Arkoma.
               (6) Includes Pinedale Anticline for comparable companies.
               (7) Estimated by BRG based on the Companies’ 10-Ks and Acquisition S-4s details.
               (8) Sum of Samson's % of revenue in all Reporting Units where the comparable company's share of revenue is 5% or higher.
               (9) Based on Reserves, Hunt Petroleum was private with limited disclosure.
               (10) NM=Not Meaningful.

      190.   Accordingly, since there were no prior corporate M&A transactions that I consider to be even close to comparable to Samson
             Onshore,168 I did not calculate or include an M&A Transactions Analysis methodology for my Balance Sheet Test.


      F. Other Scenarios
      191.   Separately, I have been asked by Counsel to run a cash flow projection scenario based on an assumed set of Spot pricing and hedge
             assumptions provided to me by Counsel. I will call this additional pricing scenario from Counsel, “Case C.” The summary of the
             hedging volume and pricing assumptions used for Case C is presented below in Table 50, with further pricing assumptions contained
             in Appendix X. As shown in Table 51 below, Samson is projected to breach the RCF Covenant Ratio within just two quarters if they
             were to receive credit for the LTM EBITDA; they breach the RCF Covenant Ratio almost immediately if I annualize the EBITDA
             under this Case C scenario. The cash flows generated from this Case C, similar especially to the KKR Stress Case, and BRG Case
             B, all result in not only Samson breaching the RCF Covenant Ratio, but they are not able to generate enough free cash flow to service
             their total interest expense, not mention fund CAPEX. The end result of this scenario Case C is similar to the result of the KKR
             Stress Case and the BRG Case B—Samson Onshore will ultimately be forced to file for bankruptcy given how thinly it was capitalized
             given the amount of debt incurred—it was only a matter of time given reasonable downside and foreseeable commodity pricing
             scenarios.




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   In addition to the lack of common operating assets/revenue basins, the historical M&A transactions also lacked comparability with Samson Onshore in the capital
  structure, the type of buyer (strategic or financial), and the prevailing industry and macro environment, among other factors.



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                                                Table 50.
                             Case C Hedging Volume and Pricing Assumptions169




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                                             Table 51.




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   VII. Limiting Conditions
   192.   As of the date of this Onshore Report, I understand that discovery is ongoing and, as such, additional relevant information may
          become available to me after the date of this Onshore Report. Therefore, I reserve the right to supplement this Onshore Report.
   193.   The opinions expressed in this Onshore Report are based on a reasonable degree of certainty within my areas of expertise. This
          Onshore Report was prepared solely for use in this matter and should not be used for any other purpose. Possession of this Onshore
          Report, or a copy thereof, does not carry with it the right of publication of all or part of it, nor may it be used for any other purpose
          (other than stated above) without the previous written consent of BRG, and in any event only with proper authorization.




                                                            *       *      *       *       *

       Respectfully submitted,




       ________________________
       C. Scott Baxter
       Managing Director
       July 27, 2021 (Amended August 23, 2021)




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         EXHIBIT C
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 Samson Resources Corp., et al.,
 Case No. 15-11934 (BLS)



Expert Report of Scott Baxter
Part 2 of 2 - Samson GoM Transaction:
BRG FMV and Reasonable Equivalent Value Analyses
July 27, 2021 (Amended August 23, 2021)



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  I. ASSIGNMENT




Assignment

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            1. Berkeley Research Group, LLC (“BRG”) has been retained by White & Case LLP (“Counsel”) in connection with its
               representation of Samson Settlement Trust (“Settlement Trust” or “Plaintiff”) in the matter referenced on the cover and below.
            2. I have been asked to evaluate and form opinions regarding the fair market value (“FMV”) of the equity (“Equity FMV”) of the
               Gulf Coast Division (“Gulf Coast”) and Offshore Division (“Offshore”), as well as certain other miscellaneous assets
               (collectively referred to in this Report1 as “Samson GoM Assets”), transferred to the Schustermans pursuant to the November
               22, 2011 stock purchase agreement (“SPA”)2 (the “Samson GoM Transaction”). The transfer of the Samson GoM Assets from
               Samson Investment Company and/or its subsidiaries (“SIC” or “Sellers”) to the Schustermans (their family including but not
               limited to the Schusterman Trusts, et al. collectively referred in this Report as the “Schustermans”)3 closed on
                      (the “Samson GoM Closing Date”).
            3. I have also been asked to determine if the Sellers, SIC, received reasonable equivalent value in the Samson GoM Transaction.
            4. The documents I have relied upon in reaching my opinions are listed in Appendix Z of Part 1 of this Report, further described
               in para. 6. I note that both SIC and Samson Energy Company, LLC (“SEC”), the entity into which the Samson GoM Assets
               were transferred at the Samson GoM Closing Date, were privately held both prior to, and after, the Samson GoM Closing Date.
               Accordingly, we do not have any public equity market trading values to evaluate.
            5. A list of defined terms and abbreviations is contained in Appendix A.
            6. Concurrent with this Report, I have also provided another part of this report that reflects my analysis and opinions related to the
               Samson Onshore Transaction and the LBO Buyer Consortium’s acquisition of the stock of SIC pursuant to the SPA, which
               closed on December 21, 2011 (the “Part 1” or “Onshore Report”). In order to prevent duplication and redundancy on many
               topics, I am formally linking this Samson GoM Report to Part 1 and will reference in this Part 2 certain topics and defined terms
               which are contained in the Onshore Report.




1
  This Report is Part 2 of the Report, referred to as the “Samson GoM Report,” or “Part 2.”
2
  November 22, 2011 Stock Purchase Agreement.
3
  November 22, 2011 Stock Purchase Agreement, Section 7.7. “Schusterman” is defined in the SPA as the “Selling Stockholders” of SIC, including SFT (Delaware)
   Management, LLC, ST 2008 (Delaware) Management, LLC, and Charles and Lynn Schusterman Family Foundation, which I understand were owned/controlled by the
   Schusterman family. The Schustermans are also referred to in Part 1 as the “Defendants.”
4
  Consolidated Balance Sheet of Samson Energy Company, LLC and Subsidiaries as of January 31, 2012, note 1 (SEC-00195131).


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II. QUALIFICATIONS




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Mr. Baxter’s Qualifications
      6. Please see Section II of the Part 1 for a summary of my qualifications. A copy of my current curriculum vitae and a listing of my
         trial testimony during the past four years are attached to the Onshore Report as Appendices B and C, respectively.
      7. All the opinions stated in this Report are my own. However, I have also drawn on additional BRG professional staff and expertise
         in connection with this report.




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III. BACKGROUND for Samson GoM Transaction




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       Background for Samson GoM Transaction
              8. SIC was a privately held upstream Exploration and Production (“E&P”) company,5 headquartered in Tulsa, OK,6 and was
                 engaged in the exploration, development and production of natural gas, oil, and natural gas liquids (“NGLs”), both onshore in
                 the lower 48 United States, and offshore in the Gulf of Mexico.7 SIC held assets related to the Gulf Coast and Offshore Gulf of
                 Mexico in two divisions and included producing and undeveloped oil and gas properties in the Gulf Coast area of Texas and
                 Louisiana (“Gulf Coast” assets)8 and offshore assets in deeper water in the Gulf of Mexico, including interests in various projects
                 (including five discoveries), and additional exploration acreage (“Offshore” assets).9 SIC was privately owned and controlled by
                 the Schustermans via various corporate vehicles.10
              9. Samson GoM Transaction: The LBO Buyer Consortium did not purchase the Samson GoM Assets as part of the Samson
                 Onshore Transaction.



                                               12,13
                                                       On or about November 29, 2011, the Schustermans formed a new acquisition entity, Samson
                  Energy Company (“SEC”),

              10. The Schustermans capitalized SEC primarily with three subordinated SIC notes that they held, which were theoretical obligations
                  of SIC.14 These subordinated notes contained an aggregate outstanding principal balance (“Face Value”) of $553 million,
                                                                                                                               (collectively, the


5
  November 22, 2011 Stock Purchase Agreement, Annex A.
6
   Complaint dated September 15, 2017, p. 8.
7
  SIC Consolidated Financial Statements for Years Ended June 30, 2011 and 2010 (BBT-00000394-423, at -401, -421) (000036).
8
  Gulf Coast Presentation(SAMS0138465-570, at -465) , characterized as “Upside Reserve Potential.”
9
  Samson Investment Company, Management Presentation – Deepwater Division, July 2011 (SEC-00182821-43, at -22-23).
10
   Project Tulip Structure Memorandum, Exhibits 1 and 2 (KKR-SAM_0187397-423, at -410-411).
11
   Consolidated Balance Sheet of Samson Energy Company, LLC and Subsidiaries as of January 31, 2012, note 1 (SEC-00195131). It is my understanding that Samson
   Energy is and/or was owned by SFT (Complaint dated September 15, 2017, p. 7).
12
   Deposition of Drew Phillips, November 13, 2020, P.279, lines 5-9
13
     November 22, 2011 Stock Purchase Agreement, Section 12.3 (SAMS0039852-41129, at -39933).
14
     Samson Energy Company, LLC, Consolidated Financial Statements ended December 31, 2013 (audited) and December 31, 2012 (unaudited), p. 6 (SEC-00243824-44, at
     -31).


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                  “Subordinated Notes”).15 In the Samson GoM Transaction, SEC merely exchanged the Subordinated Notes for the Samson
                  GoM Assets.
              11. Shortly before and after the Samson GoM Closing Date, SIC produced two third-party valuation reports for the Samson GoM
                  Assets, one conducted by Duff & Phelps (“D&P” or “D&P Valuation”) dated December 15, 2011,16 and the other conducted by
                  Stout Risius Ross, LLC (“SRR” or “SRR Valuation”) dated December 28, 2011.17

              12. Samson Onshore Debtor Bankruptcy and Present Dispute: On or about September 16, 2015, SIC and certain Samson
                  affiliates (controlled by the LBO Buyer Consortium) filed for relief under Chapter 11 of the Bankruptcy Code.19 On November
                  7, 2017, the Settlement Trust filed this present suit, which alleges that:
                            “The Debtors’ LBO-related borrowings, and transfers of funds and other assets to the Selling Shareholders and Samson
                            Energy and its subsidiaries (and the remaining recipients of related transfers), left the Debtors balance sheet insolvent
                            and inadequately capitalized on the day of the closing. From the beginning, the Selling Shareholders left the Debtors
                            with unreasonably small assets to support their billions of dollars of debt and unable to withstand the systemic
                            foreseeable shifts in the energy market.”20
              13. In connection with the Samson GoM Transaction, it is alleged that SIC “fraudulently conveyed the valuable Gulf Coast and
                  Offshore Assets for no value.”21




15
   Assignment of Subordinated Promissory Notes (SEC-00245885-93, at -85).
16
   Duff & Phelps Est. of the FMV of Certain Interests in Gulf Coast and Offshore Assets as of December 01, 2011 (SAMS0096525-7319).
17
   SRR Valuation of Offshore and Gulf Coast Division (Valuation of Offshore and Gulf Coast Divisions as of 12.01.11 (SAMS0097321-7407).
18
   November 22, 2011 Stock Purchase Agreement, Section 7.7 (SAMS0039852-41129, at -39911).
19
   Complaint dated September 15, 2017, p. 41.
20
   Complaint dated September 15, 2017, p. 29.
21
     Complaint dated September 15, 2017, p. 23.



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IV. SUMMARY OF OPINIONS




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     A. Equity FMV Summary Valuations
           14. Table 1 summarizes my calculations for the Equity FMV for the Samson GoM Transaction using four valuation methodologies:
               (i) Net Asset Value Method (“NAV Analysis”); (ii) Discounted Cash Flow Method (“Corporate DCF Analysis”); (iii) Guideline
               Public Company Method (“Public Companies Analysis”); and (iv) Asset Mergers & Acquisitions Transactions Method (“M&A
               Transactions Analysis”). The four valuation methodologies are weighted using “BRG Weightings” based on my 30-years’
               experience as an oil and gas valuation practitioner. For convenience, I also show the results of using equal weightings for the
               methodologies.
           15. It is my opinion, that the Equity FMV (on a going concern basis)22 of Samson GoM Assets, as of the Samson GoM Closing Date
               was $846 million (using the midpoint). Table 1 also shows the Schustermans’ ascribed equity value of $488 million
               (“Schustermans Ascribed Equity Value”) for the Samson GoM Transaction as of the Samson GoM Closing Date.23
           16. I also note the D&P Valuation,

                                                   , but this deemed value for the Subordinated Notes had nothing to do with the face value of
               the Subordinated Notes, as I also comment on in the Background section.25




22
   See Definition of Fair Market Value in Part 1, Section VI.A.2.
23
   SEC Inception Balance Sheet (SEC-00245871-2, “Total shareholders equity”)
24
   D&P Valuation, sum of Concluded Business Enterprise Values for Gulf Coast and Offshore (SAMS0096525-7319, at-6530-31).
25
   Para. 10.


                                                                                                                                           11
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                                                                     Table 1.
                                                             Samson GoM Equity FMV




     (1) Utilizes $578 million for Public Companies Analysis (Table 19) and $583 million for M&A Transactions Analysis (Table 21), which are the equity
     values based on the BRG weights for these methodologies.
     (2) Utilizes $602 million for Public Companies Analysis (Table 19) and $561 million for M&A Transactions Analysis (Table 21), which are the
     equity values based on equal weighting for these methodologies.
     (3) Based on the BRG Weighted Average Value Range.



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     B. Reasonable Equivalent Value
            17. It is my opinion that there was not reasonably equivalent value given by the Schusterman’s to SIC for the Samson GoM
                Transaction. As indicated in Table 2 below, SIC received approximately $846 million less than the FMV of the Samson GoM
                Assets it gave to the Schustermans.26
            18. The only consideration theoretically “given” by the Schustermans to SIC for the Samson GoM Assets were the returned or
                forgiven Subordinated Notes. I have assigned a FMV of zero ($0) dollars to these Subordinated Notes for three primary reasons.
            19. First, my valuation of SIC in the Onshore Report has a negative Equity FMV as of the Onshore Transaction Closing Date, and
                effectively also as of the Samson GoM Closing Date as further explained in the Onshore Report. In the Onshore Report, I have
                estimated the Equity FMV of the Samson Onshore Transaction to be a negative $984 million, which implies a FMV of zero for
                the Subordinated Notes as of December 21, 2011, or as of                      , the respective transactions’ closing dates. The
                Subordinated Notes were ranked below the Debtor’s senior debt obligations (both secured and unsecured debt obligations).
            20. Second, there is no reason to believe that the LBO Buyer Consortium would have purchased Samson Onshore subject to the
                Subordinated Notes without a corresponding $553 million decrease in the purchase price since, in that scenario, the LBO Buyer
                Consortium’s equity would sit behind an additional $553 million in liabilities. So, in order to consummate the Samson Onshore
                Transaction at the actual purchase price of approximately $7 billion, the Schusterman’s would have had to cancel the
                Subordinated Notes in any event. In this sense, the Subordinated Notes were not actually consideration given for the Samson
                GoM assets.
            21. Third, and consistent with the second point above, Ms. Stacey Schusterman testified in her deposition she did not think they paid
                anything for the Samson GoM Assets. In Ms. Schusterman’s words, the Samson GoM Transaction was not “a sale. That was just
                us keeping the assets.”27 In her statement, she said “the family sold [Samson Onshore] and the family kept the Gulf Coast and
                Deepwater.”28 Further, when asked how it was “determined what consideration would be given to [SIC] in exchange for the
                Gulf and Offshore Assets,” Ms. Shusterman testified that “I don’t think it was an issue, because KKR was just buying the shale
                [onshore] assets, and so it didn’t matter what we paid, other than I think for taxes.”29 This testimony further confirms that the




26
   I understand from counsel that this reasonably equivalent value figure would form the basis for damages. This figure does not include pre-judgment interest, which would
   need to be calculated as of the date of the judgment using the applicable rate(s).
27
   Deposition of Stacy Schusterman, January 15, 2021 (P. 222, line 25, P 223 lines 2, 22-24).
28
   Deposition of Stacy Schusterman, January 15, 2021 (P.223, lines 22-24).
29
   Deposition of Stacy Schusterman, January 15, 2021 (P. 291, lines 9-15).


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                   Subordinated Notes did not contain any genuine FMV consideration for the GoM assets, other than being used as a structuring
                   mechanism to avoid or minimize the taxes paid by the Schusterman’s for the Samson GoM Transaction.
              22. For these three reasons, it is my opinion that the FMV of the consideration paid by the Schustermans for the Samson GoM Assets
                  (i.e. Subordinated Notes) was zero.


                                                                  Table 2.
                                                Summary of Reasonable Equivalent Value30
                                     FMV of Assets from SIC to the Defendants as of Samson GoM Closing Date

                             ($millions)

                        Asset Value Received by the Schustermans for Samson GoM Assets
                                                                            (1)
                        1.   Equity Value Midpoint as of 12/19/11                                                            $846
                                                                      (2)
                        2.   Plus: Debt Assumed in Transaction                                                                 $0
                        3.     Total FMV of Assets Going Concern                                                             $846

                        Asset Value Given to SIC by the Schustermans for Samson GoM Assets
                                                                                  (3)
                        4.   FMV of "Forgiven" SIC Subordinated Notes                                                          $0
                        5.     Total Value for Asset Value Received at Closing                                                 $0

                        6.   Reasonable Equivalent Value                                                                     $846

                             (1) See Table 1.
                             (2) SIC Segmented Balance Sheet as of 12.21.11 (SAMS0471710).
                             (3) Fair Value of $0 due to insolvency of Samson Onshore. Face value of $553 million, held by Schusterman Family
                                 entities - Cons. Balance Sheet of SEC as of January 31, 2012 (SEC00195132-143, at -134).




30
     Values have been rounded to the nearest whole dollar amount.


                                                                                                                                                14
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     C. BRG Assumptions

            23. I made the following assumptions which were used in my analysis.
             1. Volume Assumptions—PDP, PUD, Probable, Possible, Contingent Resources, Prospective Resources
            24. For a description of SPE PRMS reserve categories and industry standard definitions please see Section IV.A. of the Onshore
                Report.
            25. Gulf Coast PDP and PDNP Volume Assumptions. Regarding our assumptions for the Samson GoM reserve assets, I
                understand from Counsel that, through discovery, there are no third-party reserve engineering evaluations which were ever
                commissioned for the Samson GoM Assets either concurrent with, or prior to, the Samson GoM Transaction.31 Accordingly,
                BRG’s valuation analyses uses certain of SIC’s internal management estimates for the Samson GoM Proved Developed
                Producing (“PDP”) reserves, and Proved Developed Non-Producing (“PDNP”) reserves (collectively referred to as the “SIC
                Reserves Estimates”).32 Accordingly, we relied on SIC Reserves Estimates for projections of production volumes related to Gulf
                Coast PDP and PDNP for use in my NAV, Corporate DCF, Public Companies, and M&A Transactions Analyses.
            26. Gulf Coast Undeveloped Volume Assumptions. For my annual estimates for the Gulf Coast Undeveloped reserve production
                volumes, I relied on the production volumes forecasted by SIC management contained in their development model created in
                201133 (the “SIC Projections”), which was developed by SIC management prior to the Samson GoM and Samson Onshore
                Transactions. These annual projections were used for my NAV and DCF Analyses, Public Companies Analysis, and M&A
                Transaction Analysis methodologies.
            27. However, in evaluating what would be a reasonable assumption for the Gulf Coast Undeveloped reserves for my NAV
                methodology, a considerable amount of additional analysis was involved, given the absence of third-party independent
                engineering estimates and industry-standard “SPE PRMS” classifications for the Samson GoM assets in general, as well as
                conflicting available information regarding the Samson Gulf Coast undeveloped reserve assets.
            28. The SIC Projections34 for Gulf Coast undeveloped reserves and resources do not credibly distinguish among various SPE PRMS
                reserve categories or sub-assets. In order to estimate the allocation of Samson’s Undeveloped reserves into reasonable SPE


31
   For definition of hydrocarbon reserves and resources categories, see Section IV.A of Onshore Report.
32
   Gulf Coast Reserves and Online (SEC-00254368-73, at -72-73).
33
   SEC-00240205 – Samson Development Model.
34
   Samson Development Model (SEC-00240205), worksheet “CF-Gulf Coast.”


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                PRMS assumption categories in order to value and factor in market risking RAFs or RADRs to reasonably estimate FMV, I
                reviewed in detail the assumptions contained in the SIC Projections, various information related to SIC’s risking of the Gulf
                Coast undeveloped inventory, the SRR and D&P Valuation assumptions pertaining to the Samson GoM Undeveloped assets,
                SIC’s historic drilling success rate in the Gulf Coast35, numerous supporting technical presentations36 related to the Gulf Coast
                Undeveloped assets, Jefferies’ sale material documents, and deposition testimony. I also relied on my 30-years career experience
                in this industry.
            29. On one hand, Mr. Richard, a former Vice President of SIC’s Offshore Division, commented regarding the Samson Gulf Coast
                assets by saying that “Gulf Coast had a… relatively small amount … of proven reserves, all of the new drilling were for unproven
                possible reserves. That’s exploration.” He also characterized it as an “exploration portfolio” vs. a “proven portfolio.”37
            30. On the other hand, Gulf Coast Undeveloped reserves were further characterized by Jeffries as

                                                       Assuming Samson and Jefferies were accurately representing the nature of their assets to
                potential buyers, these types of statements would lead me to think a significant amount of the Gulf Coast Undeveloped reserves
                could be classified as PUDs, Probable and Possible.
            31. Some of the other information which I considered was as follows: (i) SIC Projections applied a     factor to get from unrisked
                to risked volumes in their Gulf Coast Undeveloped prospect inventory,39 which is a RAF factor very close to a credible PUD
                RAF for Gulf Coast Undeveloped assets in general, and in no way would resemble a RAF applicable to pure exploration,40 (ii)
                the SIC Projections show
                                      , which indicates to me management’s confidence and near-term plans associated with these Undeveloped
                reserves, which I would typically assume                                                  would indicate the presence of some




35
   Gulf Coast prospects identified in Aries database (JEFF00013007_CONFIDENTIAL – Att. To JEFF00013006.xlsx), worksheet “Identified Prospects.”
36
   Gulf Coast Presentation (SAMS0138465-8570).
37
   Deposition of Rene Richard, November 6, 2020, P. 77-78. There is an ambiguity in those statements on their own, since hydrocarbon reserves and resources span several
   categories in-between Proved reserves and exploration (i.e. Probable, Possible and Contingent Resource reserves). See Section IV.A of the Onshore Report for reserve
   category definitions.
38
   Samson Investment Company, Management Presentation – Gulf Coast Division (SEC-00189546-582, at -547). See also, SEC-00190558-9 (Mr. Brent Cox, an Engineering
   Manager in SIC’s Business Development group, valued
39
   Gulf Coast identified prospects identified in Aries database (JEFF00013007_CONFIDENTIAL – Att. To JEFF00013006.xlsx), worksheet “Identified Prospects,” calculated
   by dividing Risked volumes by Unrisked volumes.
40
   See Table 6.


                                                                                                                                                                   16
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               PUDs, Probable and Possible reserves,41 (iii) Samson GoM had an approximate                        historic drilling success rate on their
               Undeveloped assets.42
           32. In the D&P and SRR Valuations, they valued the Gulf Coast Undeveloped reserves
               and arrived at an approximate identical value of             .43 SRR specifically stated that


           33. In deciding on BRG’s assumptions for the Gulf Coast Undeveloped reserve allocation between the various SPE PRMS estimated
               categories, I took all of the above information and several other facts into account to ultimately conclude that a reasonable
               assumption for the Gulf Coast Undeveloped reserves would be to allocate them evenly at 20% for each of the five categories
               between PUDs, Probables, Possible, Contingent Resources, and Prospective Resources based on as a starting point (before
               applying RAFs) of the PV10% for the total Gulf Coast Undeveloped reserves category. I then apply my respective RAF market
               risking assumptions, which further reduce the values according to the respective reserve category, and these RAF assumptions
               are detailed in Table 6.
           34. In my BRG valuation analysis for Gulf Coast Undeveloped, as you can see from Table 11, 20% of the Gulf Coast Undeveloped
               reserves received zero FMV credit (Prospective), 20% received only a 5% FMV credit (Contingent Resources), and so on. While
               I am not opining that my estimated reserve allocations into these reserve categories would actually conform to SPE PRMS
               definitions, I do believe it is a reasonable independent and objective assumption based on the information available to me which
               I have reviewed and relied upon.
           35. The FMV from my NAV in from the Gulf Coast Undeveloped is approximately $289 million (medium). A materially more
               conservative alternative would have been for me to have merely assumed the D&P Valuation for the Gulf Coast Undeveloped
               assets as cited above (approximately             ), however it seemed unduly conservative to me.
           36. Offshore Undeveloped Resources Volume Assumptions. The Offshore division held interests in five deep-water discoveries:
               Gunflint, Buckskin, Moccasin, Samurai, and Deep Blue, all with minority interests and operated by other companies. In addition,




41
   Samson Development Model (SEC-00240205), worksheet “CF-Gulf Coast,” cells H15:K26.
42
   Gulf Coast identified prospects identified in Aries database (JEFF00013007_CONFIDENTIAL – Att. To JEFF00013006.xlsx), worksheet “Historical Results.”
43
   Duff & Phelps Est. of the FMV of Certain Interests in Gulf Coast and Offshore Assets as of December 01, 2011 (SAMS0096525-7319, at -6530); SRR Valuation of
   Offshore and Gulf Coast Division (Valuation of Offshore and Gulf Coast Divisions as of 12.01.11, SAMS0097321-7407 at -362).
44
   SRR Valuation of Offshore and Gulf Coast Division (Valuation of Offshore and Gulf Coast Divisions as of 12.01.11, SAMS0097321-7407 at -349).


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                the Offshore division held interests in a number of other prospects and acreage in various stages of exploration activities. In
                total, Gulf Coast and Offshore divisions had contractual rights or interests in about      gross acres.45
            37. In my analyses, we made the conservative assumption in favor of the Schustermans, to only include in our valuations the three
                largest confirmed discoveries:46 Gunflint, Buckskin, and Moccasin. We relied on the SIC Projections for the production volume
                assumptions supporting these three discoveries.47
            38. Since these three discoveries were located in deep water48 in the GoM, even when deemed to be potentially economic, they
                would still usually be classified as Contingent Resources within the industry until the owners approved a clear plan of
                development. I am not aware of a development plan, nor have I reviewed any documentation that would show that such approved
                development plan existed as of the Samson GoM Closing Date. Therefore, I classified the associated projected cash flows from
                these three discoveries as Contingent Resources for the purposes of applying my RAFs and RADRs in my valuation analyses.
            39. Table 3 below summarizes the volume assumptions we used in my FMV analyses.
            40. Throughout this Samson GoM Report, I will refer to the sum of Samson GoM Assets’ PUDs, Probable, Possible, Contingent,
                and Prospective categories, including Offshore Undeveloped Discoveries, as “Samson GoM Undeveloped.”




45
   Samson Investment Company, Management Presentation – Deepwater Division, July 2011 (SEC-00182821-43, at -22-23).
46
   Samson Investment Company, Management Presentation – Deepwater Division, July 2011 (SEC-00182821-43, at -23).
47
    Samson Development Model (SEC-00240205), worksheets “Gunflint,” “Buckskin,” and “Moccasin.”
48
   Based on BOEM Deepwater Gulf of Mexico Report, December 31, 2019, P. 1. A variety of criteria can be used to define deep water in E&P industry. The threshold
   separating shallow water and deep water can range from 656 to 1,500 feet (ft), or 200 to 457 meters (m). For the purposes of this report, deep water is defined as water
   depths greater than or equal to 1,000 ft (305 m).


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                                                                             Table 3.
                                                                       Volume Assumptions49
                                                                                                     BRG Case Volumes
                                                                                                 Gas        Oil,   Equivalent (1)
                                  Reserves & Resources                                           BCF      MMBBL       BCFE
                                                      (2)
                                  Gulf Coast PDP
                                                        (2)
                                  Gulf Coast PDNP
                                   Total Proved Developed Reserves
                                                                         (3)
                                  Gulf Coast Undeveloped (PUD)
                                                                        (3)
                                  Gulf Coast Undeveloped (Prob)
                                                                        (3)
                                  Gulf Coast Undeveloped (Poss)
                                                                        (3)
                                  Gulf Coast Undeveloped (C.R.)
                                                                                (3)
                                  Gulf Coast Undeveloped (Prospective)
                                    Subtotal Gulf Coast Undeveloped
                                                                                      (4)
                                  Offshore Undeveloped Discoveries (C.R.)
                                     Total Undeveloped
                                  Total

                                 (1) Assumes conversion ratio of one barrel of oil or NGLs equal to 6,000 cubic feet of gas; Gas includes
                                 NGLs.
                                 (2) Gulf Coast Reserves and Online (SEC-00254368-73, at -72-73) for PDP and PDNP
                                 (3) Undeveloped based Samson Development model (SEC-00240205, tab worksheet "CF-Gulf Coast").
                                 Gulf Coast Undeveloped contains a mix of reserves and resources. The mix is assumed to be evenly split
                                 allocated on the basis of 20% each between among PUD, Probable, Possible Reserves, Contingent
                                 Resources and Prospective Resources.
                                 (4) Discoveries Buckskin, Moccasin, and Gunflint from Samson Development Model (SEC-00240205).




49
     Values have been rounded to the nearest whole number.


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                     2. Pricing Assumptions
                        a.   “Hedged” Volumes and Pricing Assumptions
           41.                                                                                                      .50 Accordingly, in our projections,
                 we assumed no hedged volumes or hedged pricing assumptions.
                        b. Spot Pricing Assumptions
           42. For all of our projected Samson GoM volumes in computing revenues, we assumed unhedged (“Spot”) price assumptions
               multiplied by our projected production volume estimates to derive our revenue projections. For our Spot oil and gas price
               assumptions, we used the annual average NYMEX forward curves51 as of the Samson GoM Closing Date for the five projected
               years 2012 through 2016, and then escalated the prices at 1.5% per year thereafter. Prices for NGLs are calculated as a 50%
               discount to our projected oil price per barrel (consistent with the SIC Projections’ assumption of 50%).52
           43. Table 4 and Table 5 below show our Spot pricing assumptions for natural gas and oil, respectively.53




50
   November 22, 2011 Stock Purchase Agreement, Annex B.
51
   The forward NYMEX curve prices used are tied to NYMEX WTI crude oil at Cushing, OK, and NYMEX natural gas prices at Henry Hub, LA.
52
   Samson Development Model (SEC-00240205), worksheet “Inputs,” cell L16.
53
   See Appendix B for detailed price assumptions.


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                                             Table 4.
                         Unhedged Spot Pricing Assumptions for Natural Gas




                              (1) Source: S&P Capital IQ




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                                                                       Table 5.
                                                       Unhedged Spot Pricing Assumptions for Oil




                                                          (1) Source: S&P Capital IQ



                          c. Basis Differentials
             44. For our basis differential assumptions, we use the basin (“Basis”) pricing differentials consistent with those assumed in the SIC
                 Projections.54 Basis differentials are the price differences realized at the geographic location of hydrocarbon production in the
                 field compared to a major pricing hub, such as the NYMEX pricing for natural gas off Henry Hub in Erath, LA or for domestic
                 oil pricing off the Cushing hub in Cushing, OK.




54
     For Gulf Coast Undeveloped, PDP and PDP: Samson Development Model (SEC-00240205), worksheet “CF-Gulf Coast,” cells columns P, Q, and R. For deep water
     discoveries Samson Development Model (SEC-00240205),worksheets “Buckskin,” “Moccasin,” and “Gunflint,” cells P and Q.


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            3. Cost Assumptions
                        a. Operating Expenses Assumptions
           45. For the Samson GoM PDP and PDNP operating expense assumptions, we assumed the operating expenses, including lease
               operating expenses (“LOE”), ad valorem and production/severance taxes) (“Operating Expenses”) used in the SIC Reserves
               Estimates and SIC Projections. For the Samson GoM Undeveloped operating expenses, we used the assumptions in the SIC
               Projections.55
                        b. CAPEX Assumptions
           46. We assume the annual capital expenditures (“CAPEX”) used in the SIC Reserves Estimates for PDP/PDNP, and in the SIC
               Projections for Samson GoM Undeveloped reserves and resources.56
                        c. G&A Assumptions
           47. For our General and Administrative (“G&A”) expenses assumptions, we use the G&A assumptions used by the SRR Valuation
               that provided assumptions for a time period compatible with our own NAV and Corporate DCF time periods.57
                        d. Corporate Taxes Assumptions
           48. We assumed zero corporate cash taxes in our Samson GoM Asset projections for the primary reason that since SEC (the buyer
               for the Samson GoM Transaction) was a limited liability company (“LLC”), it is treated as a “flow-through entity” for income
               tax purposes, and as such, it would not pay an entity-level corporate cash income tax (such as would be the case with a C-
               Corporation).
                                             .58
                        e. Costs Escalation Assumptions
           49. We project all Operating Expenses and CAPEX in nominal terms as shown in SIC Reserves Estimates for PDP and PDNP and
               in SIC Projections for Samson GoM Undeveloped categories. We apply an annual 1.5% escalation factor to the G&A

55
   Gulf Coast PDP/PDNP assumptions: Gulf Coast Reserves and Oneline (SEC-00254368-73, at -72-73).; Gulf Coast Offshore Undeveloped assumptions: Samson
   Development Model (SEC-00240205), worksheet “CF-Gulf Coast.”
56
   Gulf Coast PDP/PDNP assumptions: Gulf Coast Reserves and Online (SEC-00254368-73, at -72-73); Gulf Coast Offshore Undeveloped assumptions: Samson
   Development Model (SEC-00240205), worksheet “CF-Gulf Coast.”
57
   SRR Valuation of Offshore and Gulf Coast Division (Valuation of Offshore and Gulf Coast Divisions as of 12.01.11, SAMS0097321-7407 at -7382 and -7390).
58
   SRR Valuation, Exhibit E.1 – Proved oil and Gas Wells (SAMS0097389). Present




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                  assumptions described above,

                           f.   Market Risking of Cash Flow
              50. For a general description of applying RAFs and RADRs to valuing upstream E&P companies and assets, please see Section IV.
                  B. of the Onshore Report.
              51. In Table 6 below we show the RAFs assumptions used by BRG in this Samson GoM Report by reserve category. For
                  convenience, we also show the RAFs published in the June of 2011 SPEE 30th Annual Survey of Parameters Used in Property
                  Evaluation (“June 2011 SPEE Survey”).59
              52. We note that developing GoM-related properties is inherently riskier than developing onshore assets due to higher capital and
                  operating costs, higher environmental compliance costs, risks of hurricanes, and other factors.




59
     June 2011 SPEE Survey, Table 15.


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                                                                 Table 6.
                                                     BRG RAF Assumptions v. SPEE Survey
                                                                                                                          (1)
                 BRG RAFs by Reserves Category (%)                                                     SPEE RAFs
                 Risking Percentage Applied to PV10%                                       Risking Percentage Applied to PV10%

                                          [A]          [B]         [C]                                             [A]            [B]      [C]
            SPE PRMS-Defined                                                       SPE PRMS-Defined
                                                                                                                                                 (2)
            Category                     Low          Med         High             Category             Median                  Average   Mode
         1. PDP                          100          100         100           1. PDP                   98                       96       100
         2. PDNP                          80           85          90           2. PDNP                  75                       78        75
         3. PUD                           50           60          70           3. PUD                   60                       60        50
         4. Probable                      25           35          45           4. Probable              25                       24        50
         5. Possible                      10           15          20           5. Possible               5                        7        0
         6. Contingent Resources           2           5           10           6. Contingent Resources  NA                       NA       NA

               (1) June 2011 SPEE Survey, Table 15 (P.34). Minimum and Maximum survey values are also shown in the table,
               however those are, by definition, outlier values, and are not appropriate benchmarks. Contingent Resources were not
               separately reported in this survey.
               (2) Mode is the value that appears most often in a set of data, or in this case the value used by the highest number of
               survey participants.



      53. While in this Samson GoM Report, I primarily use RAFs in my valuation analysis. In a couple of instances, I do though reference
          and use RADRs. Table 7 shows, on the left-hand-side, my RADR assumptions reference where I use them here in the Samson
          GoM Report. For convenience, the right-hand side of Table 7 shows the SPEE Reported RADRs per SPE PRMS reserve
          category.




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                                                                      Table 7.
                                                          BRG RADR Assumptions v. SPEE Survey
                                                                                                                    (1)
                                       BRG RADRs by Reserves Category                              SPEE RADRs
                                                  PV%                                                  PV%

                                                                             [A]                                            [B]
                                        SPE PRMS-Defined                   RADR            SPE PRMS-Defined
                                        Category                            %              Category                       Average
                                     1. PDP                                 10          1. PDP                              11
                                     2. PDNP                                13          2. PDNP                             16
                                     3. PUD                                 18          3. PUD                              22
                                     4. Probable                            28          4. Probable                         34
                                     5. Possible                            35          5. Possible                         41
                                     6. Contingent Resources                45          6. Contingent Resources             NA

                                (1) June 2014 SPEE Survey, Table 11 (p. 36), the first year that SPEE reported RADR survey results by
                                category of reserves. Contingent resources were not separately reported in this survey.


                           g.   Assumptions from Third-Party Valuations
              54. As noted above for our G&A assumptions, we used SRR’s assumption. However, there are also many areas where we differ
                  materially from the assumptions used by D&P and/or SRR. I did not attempt to address each of those differences of opinions in
                  this Samson GoM Report, but rather primarily state my own assumptions which I consider reasonable given the information I
                  have reviewed. However, I do wish to comment on two important differences of opinions related to the D&P and SRR Valuation
                  analyses wherein they deducted material amounts related to: (i) well casing collapse risks, and (ii) risks of contingent pending
                  litigation.
              55. Well casing collapse risks.




60
     D&P Valuation, Exhibit 9.11 (SAMS0096525-7319, at -7307-7309); SRR Valuation, Exhibit E.1 (SAMS0097389).


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                                                                                     I find this way of accounting for potential loss of production
                 or well repair costs and risks from potential casing collapse highly irregular. Normally, the expense of repairing wells on an
                 ongoing basis is part of the operating expenses forecast used (which is incorporated into LOE) and is also typically included in
                 the CAPEX assumptions. I assumed the SIC Projections were prepared by management on a reasonable basis and included
                 normal ongoing operating expenses and CAPEX which anticipated Samson GoM Asset history relating to well casing collapse
                 risks. Therefore, I considered this risk to already be encompassed within the SIC Projections, the free cash flow projections of
                 which I risked even further using RAFs to also take this type of risk into account.
           56. Contingent liabilities from pending litigation.


           57.




           58.




61
   SAMS0138300.
62
   SRR Valuation, Gulf Coast – Material Litigation (SAMS0097370); D&P Valuation (SAMS0096525-7319, at -6530)
63
   SRR Valuation, Gulf Coast Conclusion of Value (SAMS0097363).
64
   Duff & Phelps Estimated FMV of Certain Interest in GC&O Assets (SAMS0096530).
65
   Deposition of David Scott (P. 196, P. 331)
66
   SIC Consolidated Financial Statements for Years Ended June 30, 2011 and 2010 (BBT-00000394-423, at -418)
67
   Samson Energy Company, LLC Consolidated Balance Sheet as of January 31, 2012 (SEC-00195132-43, at -35).
68
   Samson Energy Company, LLC Consolidated Balance Sheet as of January 31, 2012 (SEC-00195132-43, at -35).


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                    For the above reasons, I concluded that no deduction for pending litigation is warranted in deriving the Equity FMV for the
                    Samson GoM Transaction.
               59. Exploration acreage and seismic data. In favor of the Schustermans, I also did not add any value attributed to any additional
                   exploration acreage or proprietary seismic data.



                4. Weighted Average Cost of Capital
               60. The WACC represents a company’s blended cost of capital for all sources of capital, including cost of equity and cost of debt.69
                   Conservatively, in favor of the Schustermans, I have applied an illiquidity or private company risk discount to my WACC (which
                   increases the discount rate and lowers the valuation), the percentage of which is based on academic studies70 and is consistent
                   with my experience in valuations in this industry.
               61. Table 8 and Table 9 summarize my calculation of the cost of equity and cost of debt for my WACC for the Samson GoM
                   Transaction.




69
     See Table 9 for details of calculating GoM Public Peer Companies’ cost of debt.
70
     Morningstar, Inc., Stocks, Bonds, Bills, and Inflation Valuation Edition: 2011 Yearbook (Chicago: Morningstar, Inc., 2011), Damodaran, Aswath, Marketability and Value:
     Measuring the Illiquidity Discount (Stern School of Business, June 2005), and Damodaran, Aswath, The Cost of Illiquidity (retrieved at
     http://people.stern.nyu.edu/adamodar/pdfiles/country/illiquidity.pdf on December 28, 2020).


                                                                                                                                                                      28
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                                                       Table 8.
                                Determination of Cost of Equity for Samson GoM Assets
                                                                                        GoM Public Peer
               Determination of Cost of Equity
                                                                                       Companies Median
               Comparable Public Companies
                              (1)
               Unlevered beta                                                                1.52
                            (2)(3)
               Debt-to-TIC                                                                  30.4%
                                       (4)
               Debt-to-equity ratio                                                         43.9%
                                   (5)
               Effective tax rate                                                            0.0%
                                             (6)
               Target equity (relevered) beta                                                2.19
               Cost of Equity (CAPM)
                              (7)
               Risk-free rate                                                               2.5%
               Target equity (relevered) beta                                                2.19
                                       (8)
               (x) Equity risk premium                                                      6.0%
                 (=) Market risk premium                                                    13.1%
                                              (9)
               (+) Private company discount                                                 4.0%
                               (10)
               Cost of equity                                                               19.6%
                                              (11)
               (-) Private company discount                                                 (4.0%)
                                                                 (12)
               Cost of equity excluding private company discount                            15.6%




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                                                                     Table 9.
                                               Determination of Cost of Debt for Samson GoM Assets

                                                                                                                   GoM Public Peer
                              Determination of Cost of Debt
                                                                                                                  Companies Median
                              GoM Public Peer Companies / Samson Cost of Debt
                                                    (13)
                              Pre-tax cost of debt                                                                        8.2%
                                                            (14)
                              (x) [1 - Effective tax rate]                                                               100.0%
                                                       (15)
                              After-tax cost of debt                                                                      8.2%

 (1) Median unlevered beta of the GoM Public Peer Companies (see Determination of Beta).
 (2) Total invested capital ("TIC") is defined as the sum of the book value of debt plus the market value of equity. (Includes any preferred equity and minority
      interest).
 (3) Median debt to TIC for the GoM Public Peer Companies is calculated in Appendix F. is calculated using the median debt to TIC of 30.4% for the Comparable
      Public Companies.
 (4) Median debt-to-equity for the GoM Public Peer Companies is calculated in Appendix F. is calculated using the median debt-to-equity ratio of 43.9%.
 (5) Assumed Median zero effective tax rate since SEC is a pass-through tax entity and no cash taxes are included in the analysis. for the GoM Public Peer
      Companies is calculated in Appendix F.
 (6) Target equity (relevered) beta for the GoM Public Peer Companies is calculated as follows: Median unlevered beta of 1.52 x [(1 + ((the median Debt-to-equity
      ratio of 43.9%) x (1 – the median zero effective tax rate))).
 (7) See Principles of Corporate Finance – Brealey, Myers, Allen Thirteenth Edition pgs. 167 – 169. Yield on 20-year constant maturity U.S. Treasury bills as of
      12/19/2011, retrieved at https://www.treasury.gov/resource-center/data-chart-center/interest-rates/pages/TextView.aspx?data=yieldYear&year=2011.
 (8) Source: 2011 Ibbotson SBBI Valuation Yearbook: Appendix C, Table C-1 Note: KPMG, in its third-party valuation of Samson as of 12/21/2011, selected an
      Equity Risk Premium of 6.0% after KPMG’s own independent reviews ((KKR-SAM_0088942, Schedule K-1).
 (9) Private company discount for Samson GoM as a private company. See Marketability and Value: Measuring the Illiquidity Discount by Aswath Damodaran pg.
      47 - 48.
 (10) Cost of equity developed using the Capital Asset Pricing Model (“CAPM”) formula calculated as risk-free rate of 2.5% plus multiplication of the relevered beta
      of 2.19 by the market risk premium of 6%, plus private company discount of 4.0%.
 (11) See footnote 9 above for further details.
 (12) Cost of equity excluding private company discount is calculated as 19.6% cost of equity minus the 4.0% private company discount.
 (13) Pre-tax cost of debt for the GoM Public Peer Companies is calculated by taking the median of the total weighted average cost of debt for the GoM Public Peer
      Companies based on their respective balance sheets as of 09/30/2011. Please see the weighted average cost of debt calculations in Appendix G
 (14) Assumed zero effective tax rate since SEC is a pass-through tax entity and no cash taxes are included in the analysis. Median effective tax rate for the GoM
      Public Peer Companies is calculated in Appendix F
 (15) After-tax cost of debt calculated by multiplying the pre-tax cost of debt by [1 - the effective tax rate]. Note: effective tax rate is zero per fn (5) and (14).




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      62. Based on Table 8 and Table 9, and assuming a sensitivity range for whether or not I included the private company discount, the
          WACC range for Samson GoM is 13.4% to 16.1%, with a midpoint WACC of 14.8%, as presented below in Table 10.

                                                           Table 10.
                                         Determination of WACC for Samson GoM Assets
                                                                                              GoM Public Peer
                    Determination of WACC
                                                                                             Companies Median
                    Weighted Average Cost of Capital (WACC)
                                   (1)
                    Cost of Equity                                                                 19.6%
                                          (2)
                    (x) Weight of Equity                                                           69.6%
                                             (3)
                    After-tax Cost of Debt                                                          8.2%
                                       (4)
                    (x) Weight of Debt                                                             30.4%
                            (5)
                    WACC                                                                           16.1%
                                                            (6)
                    WACC excluding private company discount                                        13.4%
                    Midpoint WACC                                                                  14.8%




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          (1) Cost of equity calculations in Table 8. We are using Capital Asset Pricing Model (“CAPM”), where cost of equity equals: K(e) = R(f)
              + B(R(m) - R(f)), where K(e)= Cost of Equity ; R(f)= Risk-Free Rate of Return; B = Beta Coefficient; R(m) – R(f) = Total Market Risk
              Premium. While we are not adding a Size or Small Stock Premium, we are applying an Illiquidity or Private Premium to the Cost of
              Equity (See Marketability and Value: Measuring the Illiquidity Discount by Aswath Damodaran pg. 47 – 48).
          (2) Weight of Equity calculated as one minus the Weight of Debt.
          (3) See Table 9 for calculation of after-tax cost of debt.
          (4) See Appendix F for the calculation of the weight of debt.
          (5) WACC is calculated as the cost of equity multiplied by the weight of equity plus the after-tax cost of debt multiplied by the weight of
              debt, using the following formula: WACC = ((E/V) x (K(e)) + ((D/V) x (K(d)) x (1-Tc)), where: E = Value of the firm’s equity; D =
              Value of the firm’s debt; V = E + D; K(e) = Cost of Equity; K(d) = Cost of Debt; and Tc = Corporate tax rate (Brealey, R. A., Myers,
              S. C., & Allen, F. (2020). Principles of corporate finance. New York, NY: McGraw-Hill/Irwin, p. 232.).
          (6) WACC excluding private company / highly leveraged discount is calculated using a cost of equity excluding the private company /
              highly leveraged discount.




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D. Samson GoM Equity FMV Analysis
       5.   NAV Analysis
      63. The NAV Analysis calculates the FMV for each major asset, and then subtracts the FMV for each major liability to arrive at a
          Net Asset Value (“NAV”). More specifically for an upstream E&P company, a NAV typically uses a DCF for the life of each
          asset reserve category to arrive at the FMV for each of the major reserve categories. We discount the projected reserve cash
          flows back to the Samson GoM Closing Date using a 10% discount rate and then apply our assumed RAFs applicable the
          respective reserve categories. The PV of corporate G&A and the FMV of other assets and other liabilities and long-term debt
          are also then added and/or deducted from the value of the assets to arrive at the FMV for the NAV methodology.
      64. Table 11 below reflects our NAV Analysis for the Samson GoM Transaction using RAFs cited earlier in Table 6. The detailed
          supporting analysis for the reserves valuation and NAV Analysis are in included in Appendix C.




                                                                                                                                   33
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                                                                       Table 11.
                                                   NAV Analysis - Risked Reserve Values using RAFs71
                                                                                       [A]        [B]         [C]               [D]
                                                                                     Risked Fair Market Value Using
                     $millions                                                              Forward Curves
                     Reserve Categories                                                Low      Medium       High           RAF(%)(1)
                                           (2)
                     1.   Gulf Coast PDP                                                                                        100
                                             (2)
                     2.   Gulf Coast PDNP                                                                                    80-85-90
                     3.     Total Proved Developed Reserves
                                                             (3)
                     4.   Gulf Coast Undeveloped (PUD)                                                                       50-60-70
                                                            (3)
                     5.   Gulf Coast Undeveloped (Prob)                                                                      25-35-45
                                                            (3)
                     6.   Gulf Coast Undeveloped (Poss)                                                                      10-15-20
                                                            (3)
                     7.   Gulf Coast Undeveloped (C.R.)                                                                       2-5-10
                                                                    (3)
                     8.   Gulf Coast Undeveloped (Prospective)                                                                    0
                                                                   (3)
                     9.    Subtotal Gulf Coast Undeveloped
                                                                          (4)
                     10. Offshore Undeveloped Discoveries (C.R.)                                                              2-5-10
                     11. Samson GoM Reserves Value
 (1) See Table 6.
 (2) PV10% of Gulf Coast PDP/PDNP calculated with 12/19/2011 NYMEX forward curve pricing escalated after 5 years at 1.5%. All other inputs from
 SIC Reserves Estimates (Gulf Coast Reserves and Online (SEC-00254368-73, at -72-73), which did not include PUDs.
 (3) PV10% of GC Undeveloped calculated with 12/19/2011 NYMEX forward curve pricing escalated after 5 years at 1.5%. All other inputs from SIC
 Projections (SEC-00240205, worksheet "CF-Gulf Coast"). Based on supporting materials and descriptions (e.g., SAMS0138465, SEC-00189526, SEC-
 00190526, SEC-00190561), Gulf Coast Undeveloped contains a mix of reserves and resources. The mix is assumed to be evenly split on the basis of
 PV10% (20% each) between PUDs, Probables, Possibles, Contingent Resources and Prospective Resources. Value of Proprietary 3D Seismic Data
           - Geological and Geophysical Costs, SEC-00245871) is conservatively assumed to be contained within this asset category.
 (4) PV10% of discoveries (Buckskin, Moccasin, Gunflint) with 12/19/2011 NYMEX forward curve pricing escalated after 5 years at 1.5%. All other
 inputs from SIC Projections (SEC-00240205). Cash flow projections include ARO expenditures at the end of project life in addition to balance sheet ARO
 liabilities.




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      65. For comparison purposes, Appendix D shows the estimated risked reserve values for the Samson GoM, calculated using RADRs
          (presented earlier in Table 7). The results show that the FMV for reserves are higher using the RADR valuation methodology
          than when using RAFs, therefore, conservatively in favor of the Schustermans, I have elected to use the lower reserve values
          using the RAF assumptions for my NAV valuation methodology.
      66. For our NAV analysis, Table 12 begins where Table 11 left off and begins by summarizing the Samson GoM Reserves Values.
          Table 12 then subtracts the PV of corporate G&A and the FMV of Current Liabilities and Other Liabilities to arrive at the Net
          Asset Value, or Equity FMV midpoint.




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                                                       Table 12.
                                      NAV Analysis as of Samson GoM Closing Date
               Valuation as of 12/19/2011 with Strip Pricing and Risked Cash Flows
                                                                         [A]       [B]                 [C]
                                                                                 Risked Fair Market Value

               No. $millions                                                    Low    Medium          High
               1.     Samson GOM Reserves Value
                                      (1)
               2.    Current Assets
                                                         (2)
               3.    Real estate and other PP&E
                                                   (3)
               4.    Other Long-Term Assets
                          (4)
               5.    G&A
                                (5)
               6.    Cash Taxes
               7.     Total Asset Value
                                            (6)
               8.    Current Liabilities
                                          (7)
               9.    Long-Term Liabilities
               10.    Total Liabilities                                                                       )

               11.    Net Asset Value (NAV) / Equity Value                  $ 804      $     957   $    1,166

               12. Equity Value Range:                                                $804 -- $1,166

               13. Equity Value Midpoint(8):                                               $957




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(1) Short-term investments and other current assets, SEC Balance Sheet as of 12/21/11 (SEC-00245871-2)
(2) Other PP&E includes aircraft, automobiles, and computer equipment (SEC-00245871-2)
(3) Includes tubular equipment, investments in partnerships, and prepaid life insurance (SEC-00245871-2).
(4) Annual G&A sourced from SRR Valuation of Offshore and Gulf Coast Division (SAMS0097321-407, at -382 and -390). G&A is escalated using 1.5% annual
escalation factor and discounted using a mid-point of the WACC (14.8%).
(5) SEC is a pass-through tax entity, so no estimated cash taxes are included in the analysis.
(6) Current Liabilities include revenues held for distribution, and local tax and employee-related accrued liabilities (SEC-00245871-2). Futures liability in the amount
of              is included from the Exhibit "A.4" of SRC and SEC Post-Closing Settlement Statement as of June 20, 2012, reflecting the unrealized losses on oil and
gas hedges allocated to Samson GoM Assets as of 12/20/2011 per the SPA (Annex B), and paid in cash (SEC-00195566, Cell AQ87; supported by SEC-00263483,
P.5 of pdf). Subsequent updates to SEC Post-Closing Settlement Statement items that we have reviewed did not update Exhibit “A.4.”
(7) Long-term liabilities include ARO and Other liabilities and exclude Natural gas future liabilities from 12/21/11 SEC Inception Balance Sheet (SEC-00245871-2).
(8) Here defined as Medium NAV value calculated using medium-level RAFs for cash flow risking.




        6. Corporate DCF Analysis
       67. The Corporate DCF method, which is often called the “income approach,” measures the PV of future unlevered free cash flows.
           Generally, the unlevered free cash flows are projected on an annual basis for a discrete period of time (usually five to ten years—
           I use ten years here), and include operating cash flows as well as G&A, potential cash taxes, changes in working capital, and
           CAPEX. The annual projected unlevered free cash flows are then discounted back to the valuation date using the WACC as the
           PV discount rate. A terminal value is then also calculated at the end of the discrete time period, which is also discounted back
           to the present using the WACC. The sum of annual discounted cash flows and the discounted terminal value is the Enterprise
           Value, from which total debt is subtracted to arrive at the Equity FMV.
                      a. Cash Flow Projections
       68. For our Corporate DCF Analysis, I projected free cash flows based on my assumptions for production volumes, prices, revenues,
           costs, etc. described earlier in the BRG Assumptions section. My pricing assumptions are applied to the production volume
           projections described under the BRG Assumptions section to arrive at the forecasted revenue. I then deduct the Operating
           Expenses to derive the operating cash flows for each reserve category. We then discount back to the Samson GoM Closing Date
           each reserve cash flow stream. I then apply the relevant RAFs (Medium values) to each reserve category to determine the net
           market risked operating cash flow projections.
       69. As an example, we show in Table 13 the calculation of the risked operating cash flow for projected year 2012.




                                                                                                                                                                     37
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                                                                        Table 13.
                                                 2012 Risked Operating Cash Flows by Reserve Category72
                               [A]                          [B]         [C]           [D]         [E]          [F]          [G]         [H]        [I]
                                                            PDP        PDNP          PUD        Probable     Possible    Contingent Prospective   Total
         1.   Production (Bcfe)
         2.   Revenue ($mil)
         3.       (-) Operating Costs
         4.       (-) Production/Severance Taxes
         5.       (-) Ad Valorem
         6.   Unrisked Operating Cash Flows ($mil)
         7.   RAF (medium values)
         8.   Risked Operating Cash Flows               $



               70. Once the risked operating cash flows are estimated, other expenses, including G&A and CAPEX (where we also apply our
                   respective RAFs per reserve category), are deducted to calculate the unlevered free cash flows for the company. We then discount
                   these free cash flows, as well as the terminal value, back to the Samson GoM Closing Date using the midpoint of our WACC
                   calculation (see Table 10).
               71. Table 14 below summarizes the PV of the annual unlevered free cash flows for our Corporate DCF Analysis.73




72
     Values have been rounded to the nearest whole dollar amount. The detailed cash flows for GoM are provided in Appendix E
73
     The detailed cash flows are reflected in Appendix E.


                                                                                                                                                          38
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                                                                                          Table 14.
                                                                                   Corporate DCF Analysis74

                                                                [A]          [B]        [C]       [D]          [E]          [F]          [G]          [H]           [I]          [J]          [K]
               $ in millions, FYE December 31                   2011         2012      2013       2014         2015         2016         2017         2018         2019          2020         2021
            1. Risked Operating Cash Flows(1)
                                                      (2)
            2.   (-) General & administrative expenses
            3. EBITDA
                               (3)
            4.   (-) Cash taxes                                                                                                                                                                      -
                                                      (4)
            5.      (+/-) Change in net working capital                                                                                                                                              -
            6. Operating Cash Flow
            7. (-) Total capital expenditures(5)
            8. Free cash flows to the firm(6)
            9. PV factor: WACC 14.8%                            0.9977       0.9292    0.8098     0.7057       0.6149       0.5359       0.4670       0.4070       0.3546        0.3090       0.2693
            10.    PV of unlevered free cash flows (7)      $          6 $     179 $      134 $         94 $         82 $         52 $         39 $         32 $          25 $         21 $         18

(1) Operating cash flows include PDP, PDNP, Gulf Coast Undeveloped PUD, Probable, Possible, Contingent Resources, Prospective Resources and Undeveloped Discoveries.
    These cash flows are risked in accordance with RAF methodology as follows: PDP - 100%, PDNP - 85%, PUD - 60%, Probable - 35%, Possible - 15%, Contingent - 5%,
    Prospective – 0% and includes Gulf Coast PDP/PDNP calculated with 12/19/2011 NYMEX forward curve pricing escalated after 5 years at 1.5%. All other inputs from Gulf
    Coast Reserves and Online (SEC-00254368-73, at -72-73), which did not include PUD. GC Undeveloped calculated with 12/19/2011 NYMEX forward curve pricing escalated
    after 5 years at 1.5%. Taken with risked production from SIC Projections (SEC-00240205) categorized as a combination of PUD, Probable, Possible, Contingent and Prospective.
    Allocated 1/5 of total to each category, and RAF applied to the respective categories. Discoveries (Buckskin, Moccasin, Gunflint) valued using 12/19/2011 NYMEX forward
    curve pricing escalated after 5 years at 1.5%. Categorized as Contingent Resources. All other inputs from SIC Projections (SEC-00240205).
(2) General & administrative expenses are sourced from SRR Valuation of Offshore and Gulf Coast Division (SAMS0097321 - Valuation of Offshore and Gulf Coast Divisions as
    of 12.01.11, at 7382 and 7390).
(3) Samson Energy Company, LLC, is a pass-through tax entity, so no estimated cash taxes are included in the analysis.
(4) Working capital changes are assumed at $0.
(5) Capital expenditures are risked in accordance with SPEE RAF methodology using the same RAFs as asset operating cash flows above for each reserve category.
(6) Free unlevered cash flows to the firm are calculated as: Risked asset operating cash flows less G&A less CAPEX.
(7) Calculated as unlevered after-tax free unlevered cash flows to the firm times the partial period factor times the present value factor in each respective year.




       74
            Values have been rounded to the nearest whole dollar amount.


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                           b. Terminal Value Assumptions
              72. We used two different terminal value methodologies for our Corporate DCF Analysis:
                        i. the Gordon Growth Perpetuity (“GGP”) model, which assumes the terminal free cash flow is grown by a certain
                           percentage annually into perpetuity, and is then divided by the WACC less that same growth percentage, and
                       ii. the EBITDA multiple method, which applies a multiple of EBITDA to the terminal year EBITDA, and this result
                           becomes the terminal value.
              73. Both terminal value methodologies are generally accepted and widely used in both academia and the valuation industry,
                  including in the upstream E&P industry, and I used both methods in my Corporate DCF Analysis and weighted them equally.
                  In the GGP model, I assumed a long-term growth rate of 1.5%, which is consistent with our pricing escalation assumptions. For
                  the EBITDA terminal multiple, we used 4.0x which is the approximate median of our Public Companies Analysis (provided in
                  this Samson GoM Report below).75
              74. Table 15 summarizes the PVs of our annual projected cash flows and our two terminal value methodologies. The table then
                  sums the PVs of the annual unlevered free cash flows and the PVs of the terminal values to arrive at the Enterprise FMV. From
                  the Enterprise FMV, I subtract the debt on the balance sheet as of the Samson GoM Closing Date, which in this case was zero.
                  The table then shows the Equity FMV for Samson GoM Assets as a going concern as of the Samson GoM Closing Date.




75
     We utilize the 2011E EBITDA multiple.


                                                                                                                                            40
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                                                                                     Table 15.
                                                                            Corporate DCF Analysis
                                                                           Samson GoM Equity FMV76
            $ in millions
            WACC at 14.8%                                           2011      2012   2013    2014   2015      2016     2017    2018      2019   2020        2021
                                              (1)
            1. Unlevered after tax cash flows     6.346504            6       193    166     133    134        97       83      78       70      67         65
            2. PV of unlevered after tax Cash Flows(2)                6       179    134      94     82        52       39      32       25      21         18

                          Total Enterprise Value: Gordon Growth Method                                     Total Enterprise Value: EBITDA Multiple Method




            Note: Percent of Enterprise Value derived from PV of terminal value        16%                                                                       9%




76
     Values have been rounded to the nearest whole dollar amount. The detailed calculations can be found in Appendix E of this Report.


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(1) Unlevered after-tax free cash flows to the firm are calculated as: Risked operating cash flows less G&A less tax depreciation less cash taxes plus tax depreciation less
     increases in working capital less capital expenditures.
(2) Calculated as unlevered after-tax free cash flows to the firm times the partial period factor times the present value factor in each respective year. Present value factor
for the terminal year is calculated assuming cash flows are received at the end of FY 2021. Calculated as: 1/(1+WACC of 14.8%)^years.
(3) Calculated as the sum of the present value of unlevered after-tax free cash flows from above
(4) Present value of terminal value is calculated by multiplying the terminal year value by the present value factor based on WACC of 14.8% - growth of 1.5%
(5) Indicated Enterprise Value is calculated as the sum of the present value of unlevered after-tax free cash flows to the firm of $682 million plus the present value of
     terminal year value of $126 million using the GGP method.
(6) Sourced from SIC Segmented Balance Sheet as of 12.21.11 (SAMS0471710)
(7) Calculated as the sum of the present value of unlevered after-tax free cash flows from above.
(8) Present value of terminal value is calculated by multiplying the terminal year value by the present value factor
(9) Indicated Enterprise Value is calculated as the sum of the present value of unlevered after-tax free cash flows to the firm of $682 million plus the present value of
     terminal value of $71 million using the EBITDA Multiple Method.
(10) Sourced from SIC Segmented Balance Sheet as of 12.21.11 (SAMS0471710)



                             c. Sensitivities
                75. Table 16 reflects the resulting enterprise value (“Enterprise Value” or “TEV”) based on the sensitivities under each terminal
                    value methodology (rows 2-7). The WACC sensitivity analysis uses a range of 13.5% to 16.0% and shows how the valuation
                    could vary based on whether we were to include (or exclude) the private company discount of 4.0% in the cost-of-equity portion
                    of WACC calculation.77
                76. For the terminal value sensitivities, we used a range of 1.0% to 2.0% for the long-term growth rate under the GGP model method,
                    and a range of 3.5x to 4.5x for the EBITDA terminal multiple method. I used the lowest and highest values between the two
                    terminal value methods (which in this instance the low happens to be under the EBITDA terminal method, and the high happens
                    to be under the GGP method) both taking into account the WACC sensitivities to derive my Enterprise Value range. From the
                    Enterprise Value range, I again subtract the debt (which was zero) on SEC’s balance sheet as of the Samson GoM Closing Date.
                    The result is my Equity FMV range and midpoint.




  77
       See Tables 9 and 10 for the WACC calculation, the values of WACC discount and WACC-based range are rounded.


                                                                                                                                                                            42
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                                                                          Table 16.
                                  Corporate DCF Analysis Sensitivities and Equity FMV Conclusion for Samson GoM 78

                               $ in millions
                                                    [A]                               [B]                     [C]                        [D]
                                    Weighted Average Cost of                  With private          Without private              Concluded WACC
                                                                                            (1)                     (2)                    (3)
                                      Capital ("WACC")                     company discount       company discount                   Range
                               1. Comparable Public Companies(4)                  16.1%                      13.4%                13.5% - 16.0%

                                      [E]           [F]        [G]              [H]                   [I]             [J]         [K]              [L]
                                   Implied enterprise value: Gordon Growth Method(5)              Implied enterprise value: EBITDA Multiple Method(6)
                                                         Long-term growth rate                                             Exit EBITDA Multiple
                                   #REF!           1.0%           1.5%            2.0%              #REF!               3.5x           4.0x       4.5x
                          2.          13.5% $ 854 $               860 $           867                    13.5% $      774 $           784 $      794
                          3.              14.0% $    833   $         838   $           844                  14.0% $    762   $          771    $     781
                                   WACC




                                                                                                     WACC
                          4.              14.5% $    813   $         818   $           823                  14.5% $    750   $          759    $     768
                          5.              15.0% $    794   $         799   $           803                  15.0% $    738   $          747    $     756
                          6.              15.5% $    777   $         781   $           785                  15.5% $    727   $          736    $     744
                          7.              16.0% $    761   $         764   $           767                  16.0% $    716   $          724    $     732

                                                  8. Enterprise Value Range(7)                              $724       --    $860
                                                  9. (-) Pro forma funded debt at close(8)                            $0
                                                  10. Equity Value Range(9)                                 $724       --    $860
                                                  11. Equity Value Midpoint(10)                                      $792




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     Values have been rounded to the nearest whole dollar amount.


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 (1)  WACC with private company discount of 4.0% in the cost of equity is 16.1%. See WACC analysis in Table 10.
 (2)  WACC without private company discount of 4.0% in the cost of equity is 13.4%. See WACC analysis in Table 10.
 (3)  Concluded range between the WACC with a private company discount and WACC without a private company discount.
 (4)  Comparable Public Companies WACC is derived from the WACC analysis as shown in Table 10 of the Report.
 (5)  Implied Enterprise Value: GGP sensitivity values are derived from a long-term growth rate range of 1.0% to 2.0% and a WACC range of 13.5% to 16.0%
 (6)  Implied Enterprise Value: EBITDA Multiple Method sensitivity values are derived from a EBITDA Multiple range of 3.5x to 4.5x and a WACC range
     of 13.5% to 16.0%.
 (7) Enterprise Value range of $724 million to $860 million derived from the selected range between the exit EBITDA multiple method and the GGP method.
 (8) Sourced from SIC Segmented Balance Sheet as of 12.21.11 (SAMS0471710)
 (9) Equity value range calculated as Enterprise Value less pro forma funded debt at close.
 (10) Midpoint equity value calculated as the average of $724 million and $860 million equity value range.




        7. Public Companies Analysis
       77. A Public Companies Analysis attempts to derive the value of a company based on a relative comparison with other public
           companies with similar assets, operating metrics, and financial characteristics. Under this methodology, the Enterprise Value for
           each selected public company is determined by examining the trading prices for the equity securities of such company in the
           public markets and adding the aggregate outstanding amounts of preferred securities, minority interests and debt for such
           company. Then multiples are derived for the comparable companies and applied to the relevant metrics for the company being
           valued.
       78. As mentioned in my Onshore Report, one of the challenging aspects of a Public Companies Analysis is finding companies that
           are even somewhat comparable to the subject company being analyzed. While it would be ideal to find companies that are nearly
           identical or very similar to the target firm, it is often very difficult to find such companies. As such, it is important to identify
           companies that have similar key characteristics. In the upstream E&P industry, one of the most critical comparable factors one
           must find is a significant percentage of overlapping revenues in the basins in which the subject company operates (which also
           implies similar hydrocarbon mixes of gas and oil).
       79. In my experience, using a comparison of revenues by basin is a reasonable and credible basis upon which to assess comparability
           for upstream E&P companies since revenue accounts not only for production volumes, but pricing variances across basins,
           hydrocarbon mix, and other factors that influence the economics of assets that are geographically located within respective
           basins. In addition, one must find comparability in overall corporate size and debt-to-capital (leverage) and other financial
           measures. As of the Samson GoM Closing Date, SEC had no long-term debt, and therefore arguably could command a premium



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                   multiple in our public comparable analysis. However, conservatively, in favor of the Schustermans, I have not applied any such
                   premium to my multiples or judgements.
              80. To select the potential public comparable companies, I identified 14 publicly traded U.S. E&P companies that (i) had Enterprise
                  Values between $250.0 million and $3.0 billion and operated in the GoM (either Offshore and in the Gulf Coast, or both),79 (ii)
                  generated at least 5% of their revenues (a minimum materiality threshold) specifically from the Gulf Coast or shallow GoM
                  basins and (iii) generated at least 50% of their total revenues from the GoM.80
              81. The 14 potential companies that met the above criteria in general are listed in Table 17 below. Columns [D] and [E] demonstrate
                  whether each company meets criteria (ii) and (iii) respectively. From the list of 14 companies in this Table, ten companies met
                  all three criteria, and therefore I selected them for my Public Companies Analysis (“Samson GoM Public Peer Companies”).




79
     Included two companies with TEV of $3.2 billion for Energy XXI and $3.4 billion for McMoran due to being close to $3 billion.
80
     Based on known facts at the time of the acquisition of Samson GoM Assets, and using the public companies’ 2011 10-K filings with financial statements as of 12/31/2010,
     and 10-Q filings with financial statements and information as of 09/30/2011. For more details on methodology, see Appendix H.


                                                                                                                                                                      45
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                                                             Table 17.
                                            Comparability of Public Companies to Samson GoM
                                                        [A]         [B]          [C]         [D]          [E]     [F]
                                                         Revenues by Operating Area        Selection Criteria
                                                    Gulf Coast/                         >5% in Gulf
                                                     Shallow                 Total GoM    Coast/      >50% in Include as
                                                      GoM       Deep GoM       Revenue Shallow GoM Total GoM    Comp
                                          (1)
                    Samson GoM Revenue
                                          (2)
                    Estimated Revenues
               1.   ATP Oil & Gas Corp                   0%            91%            91%             ✖             ✔           No
               2.   Callon Petroleum Co                 12%            76%            88%             ✔             ✔          Yes
               3.   Comstock Resources                 20%             0%             20%             ✔             ✖          No
               4.   Contango Oil & Gas Company         100%            0%            100%             ✔             ✔          Yes
               5.   Crimson Exploration                 88%            0%             88%             ✔             ✔          Yes
                                    (3)
               6.   Energy XXI                         100%            0%            100%             ✔             ✔          Yes
               7.   GeoResources                        21%            0%             21%             ✔             ✖           No
               8.   Goodrich Petroleum                   9%            0%             9%              ✔             ✖           No
               9.   Gulfport Energy                     87%            0%             87%             ✔             ✔          Yes
                              (3)
               10. McMoran                              96%            0%             96%             ✔             ✔          Yes
               11. PetroQuest Energy                    59%            0%             59%             ✔             ✔          Yes
               12. Stone Energy Corp                    49%            26%            75%             ✔             ✔          Yes
               13. Swift Energy                         72%            0%             72%             ✔             ✔          Yes
               14. W&T Offshore, Inc.                   47%            53%           100%             ✔             ✔          Yes


      (1) LTM 09/30/2011 (SAMS0471710 - SIC Segmented BS as of 12.21.11).
      (2) Estimated based on companies’ Form 2010 10-Ks.
      (3) Included in selected companies due to Enterprise Values ($3.2 billion for Energy XXI and $3.4 billion for McMoran) being close to $3 billion.




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      82. In computing the multiples for the Samson GoM Public Peer Companies, I multiplied the trading prices of their common stock
          as of the Samson GoM Closing Date by the number of issued and outstanding shares for each company. To the equity market
          capitalization, I added the amount of outstanding preferred equity, minority interests, and total debt obligations as of the most
          recent balance sheets to calculate the TEV. I then calculated the Samson GoM Public Peer Companies’ multiples. Total or
          Enterprise Value-related multiples are calculated by dividing TEV by metrics such as Production, Proved Reserves, latest-
          twelve-month (“LTM”) EBITDA and EBITDA estimates for the current and next fiscal years (“NFY”). Equity value related
          multiples are calculated by dividing the Equity Value (or Market Capitalization) by LTM after-tax cash flows and NFY after-
          tax cash flows.
      83. Table 18 below shows the Samson GoM Public Peer Companies’ various financial and operating measures, along with their
          respective multiples based on TEV and Equity Value (or Market Capitalization) multiples.




                                                                                                                                        47
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                                                               Table 18.
                                           Samson GoM Public Peer Companies’ Market Multiples
                                       [A]       [B]        [C]        [D]           [E]           [F]         [G]        [H]        [I]
                                          Company Information                                    Reserve Information
                                                           Total
                                               Market                Proved
                                      Stock              Enterprise                 PDP          Prod.
                   Company Name            (1)   Cap            (3) Reserves                                  % PD(6)   % Gas(7)    R/P(8)
                                      Price               Value                   (Bcfe)(4)    (Mmcfe/d)(5)
                                               ($mil)(2)            (Bcfe)(4)
                                                           ($mil)
           1.  Callon Petroleum Co   $ 4.66 $      184 $       310       81.9          39.7            31.0       49%        49%       7.2 x
           2.  Contango              $ 57.42 $     882 $       882      296.7         257.7            83.4       87%        76%       9.7 x
           3.  Crimson Exploration   $ 2.41 $      109 $       293      166.5          80.1            51.8       48%        70%       8.8 x
           4.  Energy XXI            $ 27.95 $ 2,137 $ 3,189            699.6         489.4           247.5       70%        31%       7.7 x
           5.  Gulfport              $ 27.96 $ 1,424 $ 1,427            134.4          49.4            36.3       37%         6%      10.1 x
           6.  McMoran               $ 13.22 $ 2,133 $ 3,402            255.8          71.4           180.8       28%        65%       3.9 x
           7.  Petroquest            $ 6.12 $      394 $       544      192.7         125.5            82.5       65%        80%       6.4 x
           8.  Swift (Silverbow)     $ 28.23 $ 1,199 $ 1,671            796.7         362.4           159.3       45%        47%      13.7 x
           9.  Stone Energy Corp     $ 23.35 $ 1,144 $ 1,719            473.9         324.9           208.8       69%        52%       6.2 x
           10. W&T Offshore, Inc.    $ 19.26 $ 1,434 $ 2,128            485.5         391.0           265.2       81%        53%       5.0 x
           11. Median                                                                                             57%        53%

                                                                                                Reserve Information
                                                                                                 Prod.
                                                 Company Name          Proved       PDP
                                                                                               (MMcfe/d)     % PD       % Gas(12)   R/P
                                                                      (Bcfe)(9)   (Bcfe)(10)       (11)

                                     12.       Samson GoM

                                                                     TEV/                                      Equity Value/
                                                                                                                  2011E      2012E
                                                                                                    LTM After-
                                      Proved    PDP        Prod.       LTM     2011E      2012E                 After-Tax After-Tax
                   Company Name                                                                      Tax Cash
                                     ($/Mcfe) ($/Mcfe)   ($/Mcfed)    EBITDA EBITDA(13) EBITDA(13)                 Cash       Cash
                                                                                                      Flow(14)
                                                                                                                 Flow(15)    Flow(15)
           13. Callon Petroleum Co   $ 3.78 $ 7.80 $ 10,004              3.7 x     3.4 x      3.1 x       2.0 x       2.1 x      2.2 x
           14. Contango              $ 2.97 $ 3.42 $ 10,570              5.7 x        na         na       7.7 x          na          na
           15. Crimson Exploration   $ 1.76 $ 3.65 $ 5,643               4.4 x     3.9 x      3.3 x       2.6 x       3.2 x      2.0 x
           16. Energy XXI            $ 4.56 $ 6.52 $ 12,886              4.9 x     3.9 x      3.1 x       4.2 x       2.8 x      2.1 x
           17. Gulfport              $ 10.62 $ 28.85 $ 39,304            9.7 x     9.0 x      6.9 x       9.8 x       8.7 x      6.8 x
           18. McMoran               $ 13.30 $ 47.63 $ 18,816           12.5 x    11.3 x     13.1 x      17.9 x      17.7 x     23.5 x
           19. Petroquest            $ 2.82 $ 4.33 $ 6,588               5.3 x     5.3 x      4.2 x       4.3 x       6.2 x      4.2 x
           20. Swift (Silverbow)     $ 2.10 $ 4.61 $ 10,488              4.6 x     4.3 x      3.7 x       3.6 x       3.3 x      3.0 x
           21. Stone Energy Corp     $ 3.63 $ 5.29 $ 8,231               3.0 x     2.9 x      3.0 x       2.2 x       2.0 x      2.1 x
           22. W&T Offshore, Inc.    $ 4.38 $ 5.44 $ 8,024               3.6 x     3.4 x      3.3 x       2.7 x       0.1 x      2.9 x
           23. Median                        $ 5.37 $ 10,246             4.7 x     3.9 x      3.3 x       3.9 x       3.2 x      2.9 x




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            (1)     Stock prices are closing prices on 12/19/2011. Stock prices for Callon Petroleum Co, Contango, Crimson Exploration, W&T Offshore, Inc, and
                   Gulfport were sourced from Bloomberg. Stock prices for Energy XXI, Swift (Silverbow), Stone Energy Corp were sourced from CapIQ -Investing
                   Archives, and Petroquest’s stock price from Eikon.
            (2)    Stock price times outstanding number of shares as of the Q3 2011 10-Q.
            (3)    Market Capitalization plus Total Debt as of Q3 2011.
            (4)    As of 12/31/2010 10-K.
            (5)    LTM as of 09/30/2011 per company 10-K and 10-Q.
            (6)    As % of Proved Reserves.
            (7)    As % of LTM production.
            (8)    Proved Reserves divided by annual LTM production.
            (9)    Samson GoM reserves estimates omit PUD reserves, so total Proved reserves are not Reported.
            (10)   Total PDP reserves as of 12/01/2011 per internal Samson valuation Gulf Coast Reserves and Oneline (SEC-00254368-73 at -72-73), also utilized in
                   SRR Valuation (confirmed by matching PV10% (PDP) and PV18% (PDNP) on SAMS0097389).
            (11)    As of 06/30/2011 (not available as of 09/30/2011). Calculated by difference between total SIC and pro-forma Samson Onshore (KKR-SAM_0086396,
                   at -6403) - (KKR-SAM_0043776, at -3790).
            (12)   As % of PDP, from Gulf Coast Reserves and Oneline (SEC-00254368-73, at -72-73) includes NGLs using a conversion of 1 Bbl of NGLs to 6,000 cf of
                   gas
            (13)   Based on consensus street analysts' estimates and Reported by Capital IQ.
            (14)   LTM After Tax Cash Flow as of 09/30/2010 calculated as (Net Income + Depreciation, Depletion, Amortization, and Accretion for ARO + Impairment
                   + Deferred Taxes) from companies' 10-K's and 10-Qs.
            (15)   2011E and 2012E After Tax Cash Flow based on consensus street analysts' estimates and Reported by Capital IQ.


               84. The ten (10) GoM Public Peer Companies are all publicly traded while SEC and the Samson GoM Assets were privately held.
                   Accordingly, conservatively and in favor of the Schustermans, I deducted a “Private Company” discount range of 10% to 35%
                   (with a midpoint of 22.5%) consistent with the academic literature (see footnote 9 in Table 19)81 which is also consistent with
                   my experience in valuations in this industry.
               85. In my Public Companies Analysis, I apply the median multiples of the Samson GoM Public Peer Companies to the Samson
                   GoM Assets’ parameters to estimate the Samson GoM value as of the Samson GoM Closing Date. I then apply weightings to
                   each multiple based upon what I have observed over my career to be the most valid in the context of E&P valuations. For
                   illustrative purposes, however, I also show how those numbers would change if I had used equal weightings. I then deduct the

81
     Liquidity refers to the ease in which an asset can be converted into cash. Morningstar, Inc., Stocks, Bonds, Bills, and Inflation Valuation Edition: 2011 Yearbook (Chicago:
     Morningstar, Inc., 2011), Damodaran, Aswath, Marketability and Value: Measuring the Illiquidity Discount (Stern School of Business, June 2005), and Damodaran,
     Aswath, The Cost of Illiquidity (retrieved at http://people.stern.nyu.edu/adamodar/pdfiles/country/illiquidity.pdf on December 28, 2020).


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         total debt as of the Closing Date (which was zero) to arrive at a preliminary equity value, and I then further subtract the private
         company discount described above to arrive at an Equity FMV for Samson GoM as of the Transaction Closing Date.
      86. Table 19 below calculates the Public Companies Analysis for this market approach.




                                                                                                                                         50
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                                                              Table 19.
                                              Estimated Equity FMV of Samson GoM 82
                                                     Public Companies Analysis
                                                 As of the Samson GoM Closing Date
                                                              [A]            [B]           [C]        [D]             [E]
                                                             Public                      Implied
                                                           Comparables    Metric for    Enterprise    BRG            Equal
                     $millions                               Median      Samson GoM       Value      Weight          Weight

                  Enterprise Value / EBITDA
               1.   LTM 09/30/2011                            4.7 x                                  5%              13%
               2.   FYE 2011E                                 3.9 x                                  10%             13%
               3.   FYE 2012E                                 3.3 x                                  10%             13%
                     Enterprise Value / PDP Reserves
               4.      PDP ($ / Mcfe)                         $5.37                                  10%             13%
                  Enterprise Value / Production
               5.   Production ($ / Mcfe/d)                 $10,246                                  10%             13%

                  Equity value / After-Tax Cash Flow
               6.   LTM 09/30/2011                            3.9 x                                   5%             13%
               7.   FYE 2011E                                 3.2 x                                  25%             13%
               8.   FYE 2012E                                 2.9 x                                  25%             13%
                                                                                                     100%            100%


               9.    Enterprise value - weighted average
               10. Less: Total Debt as of 12/21/11
               11.  Subtotal Equity Value                                                            $746            $777
               12. Less: Private Company Discount (22.5%) (9)                                        ($168)          ($175)
               13. Implied Equity Value of Samson GoM                                                $578            $602

               14. Equity Value:                                                                              $578




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(1) SIC Segmented Income Statement as of 09/30/2011 (SEC-00024954).
(2) Midpoint of a range estimated using several SIC sources: 2011.03.31 - SEC-00175534 - Gulf Coast I&E (for 1Q or 1H FY2011), 2011.09.30 - SEC-00024954 - Segmented
    Income 09.30.11.pdf (for LTM 09.30.2011), Samson Development Model SEC-00240205 (for 4Q 2011 est.), 2012.06.28 SEC-00263483 - Post-close transition and
    financial settlements, and operating cost details in 2011.12.09 SEC-00261806 (b).xlsx.
(3) Risked EBITDA for calendar year 2012 per BRG Base Case with 12/19/2011 NYMEX strip pricing.
(4) Total PDP reserves as of 12/01/2011 per internal Samson valuation Gulf Coast Reserves and Oneline (SEC-00254368-73 at -72-73), also utilized in SRR Valuation
    (confirmed by matching PV10% (PDP) and PV18% (PDNP) on SAMS0097389).
(5) As of 06/30/2011 (not available as of 09/30/2011). Calculated by difference between total SIC and pro-forma Samson Onshore (KKR-SAM_0086396, at -6403) - (KKR-
    SAM_0043776, at -3790).
(6) LTM 09/30/2011 Net Income plus DD&A, plus Deferred Taxes per SIC Segmented Income Statement as of 09/30/2011 (SEC-00024954).
(7) Midpoint of a range estimated using several SIC sources, see Appendix I.
(8) Risked operating cash flow for CY2012 per BRG Base Case with 12/19/2011 NYMEX strip pricing. Income taxes are deemed to be zero due to Samson Energy Company
    LLC's status as a pass-through tax entity.
(9) Morningstar, Inc., Stocks, Bonds, Bills, and Inflation Valuation Edition: 2011 Yearbook (Chicago: Morningstar, Inc., 2011), Damodaran, Aswath, Marketability and
    Value: Measuring the Illiquidity Discount (Stern School of Business, June 2005), and Damodaran, Aswath, The Cost of Illiquidity (retrieved at
    http://people.stern.nyu.edu/adamodar/pdfiles/country/illiquidity.pdf on December 28, 2020). The selected range is supported by valuation discounts used in SRR Valuation
    of Offshore and Gulf Coast Divisions as of December 1, 2011 (SAMS0097321-7407, at -7357). Duff & Phelps Estimation of the FMV of Certain Interests in Gulf Coast
    and Offshore Assets as of Dec 01, 2011 (SAMS0096525-7319, at-6577), and Stout Risius Ross Samson Investment Company Valuation of Common Shares as of August
    1, 2011 (SEC-00187605-771, at -7668). I have relied on the midpoint of the range for my analysis.

       Sources: S&P Capital IQ, Bloomberg, ADFVN, and Public companies' 10-Ks and 10-Qs.




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     Values have been rounded to the nearest whole dollar amount and percentage (13% Equal Weight is actually 12.5%).


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               8. M&A Transactions Analysis
              87. The M&A Transactions Analysis is a valuation method and another market approach wherein a comparable set of M&A
                  transactions are selected, key multiples are calculated, and then those multiples are applied to the subject company to obtain an
                  estimated FMV.
              88. For my M&A Transactions Analysis, I used five primary selection criteria including: (i) prior “asset” M&A transactions (rather
                  than “stock” transactions for the analogous reciprocal reasons as listed in my Onshore Report regarding this topic). The Samson
                  GoM Transaction was treated as an asset purchase, and the buyer (SEC) received a stepped-up basis for tax purposes in the assets
                  (see para. 10 of this Report) (ii) transactions which had occurred over the prior five years (January 2007 through December 19,
                  2011) to the Samson GoM Closing Date, (iii) transactions which ranged in size from $100.0 million to $3.0 billion in value, (iv)
                  transactions which had their primary assets located in either the Gulf Coast and/or Offshore GoM, and (v) transactions which
                  had associated with them existing production and reserves.83
              89. Table 20 lists 29 GoM-related M&A transactions (“GoM Asset Transactions”) which met the above criteria which I used for my
                  analysis for the M&A Transactions Analysis methodology.




83
     Excluding transactions that involve only undeveloped acreage.


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                                         Table 20.
                                      Market Multiples
                                   M&A Transactions Analysis




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              90. Table 21 shows the resulting estimated Equity FMV value based on my M&A Transactions Analysis using my BRG Weightings.
                  For convenience, I also show how the numbers change if equal weightings were used. In the Samson GoM Transaction, no debt
                  was assumed, therefore no debt was deducted in moving from the Enterprise Value to derive Equity FMV.
                                                                         Table 21.
                                                       Estimated Equity FMV of Samson GoM Assets84
                                                               M&A Transactions Analysis

                                                                          [A]           [B]            [C]        [D]      [E]
                                                                         M&A
                                                                       Precedent                     Implied
                                                                      Transaction    Metric for     Enterprise    BRG     Equal
                                $millions                               Median      Samson GoM        Value      Weight   Weight
                                Total Enterprise Value /
                                                                                              (1)
                           1.     LTM 09/30/2011 EBITDA                  3.3 x                                   50%      33%
                                                                                              (2)
                           2.     Production ($/Mcfe/d)                 $7,301                                   25%      33%
                                                                                              (3)
                           3.     PDP ($/Bcfe)                           $3.80                                   25%      33%
                                                                                                                 100%     100%


                           4.   Enterprise Value Range (weighted average)                                        $583     $561
                           5.   Less: Debt Assumed in Transaction
                           6.   Equity Value                                                                     $583     $561




84
     Value have been rounded to the nearest whole dollar amount or percentage.


                                                                                                                                        55
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            (1) SIC Segmented Income Statement as of 09/30/2011 (SEC-00024954).
            (2) As of 06/30/2011 (not available as of 09/30/2011). Calculated by difference between total SIC and pro-forma Samson Onshore (KKR-
            SAM_0086396, at -6403) - (KKR-SAM_0043776, at -3790).
            (3) Total PDP reserves as of 12/01/2011 per internal Samson valuation Gulf Coast Reserves and Oneline (SEC-00254368-73 at -72-73), also
            utilized in SRR Valuation (confirmed by matching PV10% (PDP) and PV18% (PDNP) on SAMS0097389).
                    Sources: Public companies' 10-Ks and 10Qs, S1, Enverus.




              91. Finding truly comparable M&A transactions (or publicly traded comparable companies) is very challenging and most
                  management and boards in my experience do not base either their transaction decisions or valuation judgments using really either
                  of these methods. Said differently, managements, boards and valuation experts in this industry generally assign these
                  methodologies very low weightings. The low weightings I am assigning to these two methodologies is based upon my own
                  career experience, my academic experience as a student and a professor, and these weightings are also supported by general
                  industry sources, which place the predominance of weightings on the DCF analyses (which would also typically include NAVs)
                  as I cited in Part 1, Table 37.


       E. Other Supporting Analyses and Information
              92. My opinions listed above and my analyses supporting the Equity FMV included in Table 1 rely solely on the above valuation
                  methodologies.
              93. Separately, as I discuss below, I have also been asked to review and to summarize other indicative indications of value for the
                  Samson GoM Assets which existed around the time of the Samson GoM Transaction, but, conservatively, I have not factored
                  these indications into my Equity FMV Analysis.
               1. Stock Appreciation Rights’ (“SARs”) Valuation Implied Value of Samson GoM “Undeveloped Assets”
              94.



85
     Samson Investment Company, 2008 Stock Appreciation Rights Plan (SAMS0294648-710 at -656-661..)
86




                                                                                                                                                      56
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            95. In Table 22 below, I compare the values for the Samson GoM Undeveloped reserves used in the SARs valuation as of June 30,
                2011 (bar#1) and December 19, 2011 (bar#2) (both are valuations calculated within a proximate period of time prior to the
                Samson GoM Transaction). We also show the values for the Samson GoM Undeveloped reserves from my BRG NAV Analysis
                (bar#3).88 All three of these indications of value are then compared to the red bar#4 which is the value ascribed to the Samson
                GoM Undeveloped reserves in the Samson GoM Transaction based on the value of Samson GoM Undeveloped reserves on the
                SEC balance sheet post-Samson GoM Transaction (which by definition in the SPA, uses the D&P FMV as the deemed purchase
                price for Samson GoM Assets as an input, rather than the traditional SARS methodology). The table indicates that the value for
                the Samson GoM Undeveloped Reserves ascribed in the Samson GoM Transaction was significantly lower than both the previous
                SARs valuations89 and BRG’s valuation.




87
   See, for example, the Stipulated Value Calculation as of June 30, 2011 (SEC-00187474-80 at -77).
88
   See Table 11.
89
   Valuation performed using the methodology shown in SAMS0294648-710 at -656-661.


                                                                                                                                            57
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                                                                     Table 22.
                                                      Samson GoM Undeveloped Reserves Valuations




(1) SEC-00187474-80, at – 77 and SAMS0098726. “Undeveloped” reserves value for SARS is calculated as the sum of Proved undeveloped leasehold, Undeveloped oil and
gas leases, Geological and geophysical costs, and Wells in progress based on values reported on the balance sheet.
(2) SAMS0471710, Pre-transaction value for GoM Undeveloped Assets based on SARS methodology
(3) BRG NAV Analysis (see sum of Gulf Coast Undeveloped and Offshore Undeveloped Discoveries from Table 11).
(4) Calculated using SARS methodology but using SEC ascribed GoM Transaction value derived from the SPA purchase price (i.e. D&P Valuation), as of 12/21/11 (SEC-
00245871)




                                                                                                                                                              58
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     Confidential
             2. Apache Offer
            96. In the Samson GoM Equity FMV Analysis section above, I evaluated the Equity FMV assuming a hypothetical buyer, on a going
                concern basis, excluding any potential synergies from a strategic buyer. However, Counsel has also asked me to review the bids
                received from the Jefferies sale process and to comment how I view the bids and their potential impact if the Court decided to
                take them into account in determining a valuation judgement for the Samson GoM Transaction.
            97.


            98.




            99. Ms. Stacy Schusterman, in her deposition, stated the reason why the Apache Offer was rejected was that she did not feel that
                they could do two deals at once. 93 Her reason does not appear to be credible. On the face of it, it appears she may have merely
                wanted to do the “two-deals-at-once” with the second transaction just involving herself (Schustermans) as opposed to another
                credible third-party bidder as Apache at a materially higher valuation. As a matter of fact, SIC conducted two transactions: one
                for the sale of Samson Onshore to the LBO Buyer Consortium, and another for the sale of Samson GoM Assets to the
                Schustermans as the buyers. It would have been relatively easy enough to merely replace “Apache” for the Schustermans in the
                SPA relating to the sale of the Samson GoM Assets. Further, the fact that Ms. Schusterman considered the two events to constitute
                only one transaction only exemplifies that the Samson GoM Transaction was not treated as an arms-length sale of assets by the
                Schustermans.



90
   Apache letter dated October 13, 2011 (JEFF00018092-96, at -93).
91
   October 20, 2011 email chain (SEC-00190640)
92
   October 21, 2011 email chain (SEC-00190642)
93
   Deposition of Stacy Schusterman, January 15, 2021 (P. 252, lines 11-12).


                                                                                                                                              59
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               100. As the Apache offer was not an accepted offer, I did not include it in my Equity FMV Analysis. However, I know Apache was
                  a credible strategic buyer and was active in the M&A market. For example, Apache purchased the offshore assets of Devon
                  Energy in 2010 for about $1 billion (see Table 20). Apache had existing operations in the Gulf of Mexico, and there is no doubt
                  that Apache would have brought synergies to the Samson GoM Transaction. Steven Farris, Chairman and CEO of Apache at
                  the time of Samson GoM Transaction, has testified that Apache had interest specifically in the Samson GoM Assets, conducted
                  significant due diligence on them, and submitted a “serious offer.”94 Apache’s second offer, which included a bid for Samson’s
                  GoM Assets for $2.5 billion, indicated Apache’s Board had deep involvement and readiness to approve the transaction.95,96
               101. For these reasons, as an M&A and valuation practitioner, I view this offer by Apache as a good faith and serious proposal to
                  purchase the Samson GoM Assets.




94
     Deposition of Steven Farris, April 14 2021 (P. 40, lines 10-14, P. 76, lines 13-15, P. 77, line 24, P. 149).
95
     Apache’s offer letter (JEFF00018092-96, at -93). Quote:
96
     Deposition of Steve Farris, April 14, 2021 (P. 138, lines 7-8, P. 149, lines 23-24).


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   F. Limiting Conditions
          102. As of the date of this Report, I understand that discovery is ongoing and, as such, additional relevant information may become
             available to me after the date of this Report. Therefore, I reserve the right, to supplement this Report.
          103. The opinions expressed in this Report are based on a reasonable degree of certainty within my areas of expertise. This Report
             was prepared solely for use in this matter and should not be used for any other purpose. Possession of this Report, or a copy
             thereof, does not carry with it the right of publication of all or part of it, nor may it be used for any other purpose (other than
             stated above) without the previous written consent of BRG, and in any event only with proper authorization.




                                                       *       *       *      *       *

Respectfully submitted,




________________________
C. Scott Baxter
Managing Director
July 27, 2021 (Amended August 23, 2021)




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G. APPENDIX




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         EXHIBIT D
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re
                                                          Chapter 11
SAMSON RESOURCES CORPORATION,

                                                          Case No. 15-11934 (BLS)
           Reorganized Debtor.



PETER KRAVITZ, as Settlement Trustee of
and on behalf of the SAMSON
SETTLEMENT TRUST;                                         Adv. Pro. No. 17-51524 (BLS)


               Plaintiff,
v.


SAMSON ENERGY COMPANY, LLC, et al.,
             Defendants.




                                EXPERT REPORT OF
              RICHARD F. STRICKLAND, PhD, PE


                                          July 27, 2021

                                (Amended on August 23, 2021)
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     I. QUALIFICATIONS

1.      I am the President of The Strickland Group, Inc. (“TSG”). TSG provides petroleum
        consulting services in the area of reservoir and geological engineering to oil-and-
        gas producers, pipeline companies, and other parties in the petrochemical industry.
        I have been a consultant for 37 years, during which time my work has been focused
        on reservoir engineering, numerical simulation, and reserve estimation. I have
        performed studies on fields throughout the United States, Eastern and Western
        Europe, the North Sea, the Middle East, China, Africa, the Commonwealth of
        Independent States of the former Soviet Union, India, Indonesia, Central America,
        and South America.

2.      I have a B.S., M.S., and a PhD in Petroleum Engineering from Texas A&M University.
        I served as an Associate Professor of Petroleum Engineering at Texas A&M
        University from 1977 to 1982, teaching courses in reservoir engineering and the
        numerical simulation of oil and gas reservoirs. I have also taught these same
        subjects in over seventy-five company-run or industry-sponsored courses
        attended by reservoir engineers and geoscientists from practically every major oil
        company in the world.

3.      I am a registered professional engineer in the State of Texas and a member of the
        National Society of Professional Engineers. I am also a member of the Society of
        Petroleum Engineers and have held several positions at the national and local level
        in that organization. I have served as an officer and director of the Accrediting
        Board of Engineering and Technology, which accredits graduate and
        undergraduate engineering programs in the United States, and have served on the
        Board’s Engineering Accreditation Commission, which is the only body that
        accredits such programs in the United States.

4.      A copy of my Curriculum Vitae is attached as Appendix A to this report which
        includes a list of publications. Appendix B is a list of all other cases in which, during
        the previous four years, I have testified as an expert at trial or by deposition. For
        my work in this matter, I am being compensated at a rate of $450 per hour. I have
        been assisted by other professionals at TSG whose rates range from $120 to $350
        per hour. Our fees are not contingent upon either the outcome of the litigation or
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        the conclusions expressed herein. Appendix C is a list of information I have
        reviewed and considered in forming my opinions in this matter.

5.      All the opinions stated in this report are my own. In addition to my own work,
        however, I have been assisted in this matter by professional staff working at my
        direction at TSG.

     II. ASSIGNMENT

6.      I have been retained to address the following questions:

           i.     What would be the reasonable evaluation of the volumes of Samson
                  Investment Company’s (“SIC”)1 reserves and resources as of September 30,
                  2011, in light of the information reasonably available by November 22, 2011
                  and December 21, 2011?

          ii.     How should Netherland Sewell & Associates’ (“NSAI”) evaluation of the
                  volumes of the SIC’s reserves and resources be used for a reasonable
                  valuation of SIC’s reserves and resources?

         iii.     Was the methodology employed by Kohlberg Kravis Roberts & Co. (“KKR”)
                  and RPM Energy LLC (“RPM”) to value SIC’s unproved reserves and resources
                  reasonable and generally accepted in the industry?

     III. SUMMARY OF OPINIONS

7.      To determine a reasonable evaluation of SIC’s hydrocarbon volumes and values as
        of September 30, 2011, I relied primarily on NSAI’s reserve report dated August 1,
        2012 (“NSAI 2012 Report”), 2 which evaluated Samson Resources Corporation’s
        (“SRC”) oil and gas reserves as of June 30, 2012 and made necessary adjustments


1
   It is my understanding that an investor group consisting of KKR, Natural Gas Partners (“NGP”), Crestview
  Partners (“Crestview”) and Itochu Corporation (“Itochu”) (collectively, “Sponsors”) acquired SIC under a
  stock purchase agreement. Under the terms of the agreement, the Sponsors acquired SIC’s stock (“LBO”),
  which at that point did not include SIC’s onshore Gulf Coast and offshore deep-water Gulf of Mexico assets
  (“GoM Assets”), which had been spun off to the Schusterman family. As part of the LBO, the Sponsors
  formed Samson Resources Corporation (“SRC”) to become the parent company of SIC, and the GoM Assets
  became owned by Samson Energy Company (“SEC”). This report addresses only the SIC assets that were
  acquired by the Sponsors. I have not been asked to opine on the GoM Assets.
2
   NSAI 17895-31134 (and its attachment). The term “NSAI 2012 Report” as used in this report refers to both
  the final report and its supporting files and database, as produced by NSAI on September 20, 2019.
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            to “roll back” that report to September 30, 2011. In my opinion, this is a reasonable
            way to estimate what NSAI (or another third-party engineering firm) would have
            concluded had it been retained to provide a full “3P” report (including Probable
            and Possible Reserves) prior to the acquisition of SIC by KKR and others from
            certain selling shareholders (the “Sellers”) on December 21, 2011 (the “LBO” or
            “Transaction”), instead of just the “1P” (Proved Reserves only) report that NSAI was
            retained to provide.

8.          Table 1 presents, by reserve category, a reasonable estimate of un-risked reserve
            volume in Bcfe as of September 30, 2011 and net present value (NPV) at a discount
            rate of 10% (“PV10” 3 ) in millions of dollars based on applicable pricing as of
            November 22, 2011 and December 21, 2011.
                                       NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
                                                      Un-Risked Reserves
     November 22, 2011 - Price Deck                          Net Reserves                     Future Net Revenue (MM$)
                                         Oil           Gas            NGLs         Gas eq                   Present Value
               CATEGORY                (MMBBL)        (BCF)         (MMBBL)        (BCFe)      Total           at 10%




      December 21, 2011 - Price Deck                         Net Reserves                     Future Net Revenue (MM$)
                                         Oil           Gas            NGLs         Gas eq                   Present Value
               CATEGORY                (MMBBL)        (BCF)         (MMBBL)        (BCFe)      Total           at 10%




                      Table 1: Un-risked Reserve Volumes and Values from Adjusted NSAI 2012
                      Report


3
     In this report, I use “PV10” and “PW10” interchangeably. “PW10” stands for present worth at a discount
    rate of 10%.
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9.       This conclusion on un-risked reserve volume and NPV can be relied on to calculate
         a reasonable value of SIC’s hydrocarbon assets by applying risk factors. Risk
         adjusted volumes and values are shown in Table 2 below.
                                 NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
                                         Risk Adjusted Values - Average Risk
November 22, 2011 - Price Deck                        Net Reserves                         Future Net Revenue (MM$)
                                     Oil           Gas           NGLs        Gas eq                       Present Value
           CATEGORY               (MMBBL)         (BCF)       (MMBBL)        (BCFe)         Total            at 10%




December 21, 2011 - Price Deck                       Net Reserves                          Future Net Revenue (MM$)
                                    Oil            Gas         NGLs         Gas eq                        Present Value
           CATEGORY               (MMBBL)         (BCF)      (MMBBL)        (BCFe)          Total            at 10%




                   Table 2: Risked Adjusted Values

10.      In my opinion, the methodology employed by KKR and RPM to value SIC’s
         unproved reserves and resources,               of the PV10 value, 4 resulted in an
         overstatement of volumes and value. The number of drilling locations was
         overstated by multiple factors and their risking methodology was inconsistent with
         industry accepted definitions of reserves.

      IV. TECHNICAL BACKGROUND

11.      The concept of uncertainty is crucial to determining the volumes and values of
         petroleum properties. Our industry has toiled for decades with the issue of how to
         convey to the user of an economic evaluation the degree of uncertainty inherent
         in an analysis of petroleum properties. Accordingly, the industry has developed a

4
    KKR-SAM_0208021,
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           set of terminologies with clear and nearly universal definitions to describe the
           uncertainties associated with petroleum properties.

12.        Evaluation of hydrocarbon assets thus starts with proper classification of the assets,
           which provides users of evaluation with a sense of relative confidence or
           uncertainty of various evaluation conclusions. The oil and gas industry has specific
           standards for classifying hydrocarbon volumes, known as either “Reserves” or
           “Resources.” The most widely accepted set of standards—called the Petroleum
           Resources Management System (“PRMS”)—is that offered jointly by the Society of
           Petroleum Engineers (“SPE”), the World Petroleum Congress, the American
           Association of Petroleum Geologists, and the Society of Petroleum Evaluation
           Engineers (“SPEE”).

13.        While various professional societies, international organizations, individual
           companies, government agencies and national governments have presented their
           preferred guidelines and definitions for petroleum resources and reserves
           classifications, the large majority of taxonomies in use around the world are close
           variations of PRMS, establishing a functionally universal set of terms5. Appendix D
           contains a complete set of reserve and resource definitions under the PRMS.
           Indeed, in relation to the LBO, the Sponsors commissioned multiple independent
           reserve reports to evaluate SIC’s oil and gas properties largely following the
           definitions under the PRMS, but only for Samson’s “Proved” or “1P” reserves, as
           explained further below.6

           A.      Definitions of Reserves and Resources

14.        The term “Resources” as used under the PRMS is intended to encompass all
           quantities of petroleum naturally occurring on or within the earth’s crust,
           discovered and undiscovered (recoverable and unrecoverable), plus those




5
    PRMS, p. 1.
6
    See, e.g., KKR-SAM_0041904, at -906; NSAI 16279-31134 (the “Definitions of Oil and Gas Reserves” section
    of the attachment); NSAI 17895-31134 (the “Definitions of Oil and Gas Reserves” section of the
    attachment).
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          quantities already produced.7 Among potential resources, “Contingent Resources”8
          are those quantities of petroleum estimated, as of a given date, to be potentially
          recoverable from known accumulations, but the applied project(s) are not yet
          considered mature enough for commercial development due to one or more
          contingencies.9 Contingent Resources may include, for example, projects for which
          there are currently no viable markets, or where commercial recovery is dependent
          on technology under development, or where evaluation of the accumulation is
          insufficient to clearly assess commerciality.10

15.       The term “Reserves” represents another subset to the concept of “resources.”
          Reserves are those quantities of petroleum anticipated to be commercially
          recoverable by application of development projects to known accumulations from
          a given date forward under defined conditions.11 It must further be discovered,
          recoverable, commercial, and remaining (as of the evaluation date) based on the
          development plan applied. Reserves represent the most certain category of
          potential resources. Reserves are further categorized in accordance with the level
          of certainty associated with the estimates and maybe sub-classified based on
          project maturity and/or characterized by development and production status.12

16.       More specifically, Reserves fall into two general categories, Proved Reserves and
          Unproved Reserves. Proved Reserves are those quantities of petroleum can be
          estimated with reasonable certainty to be commercially recoverable under defined
          economic conditions, operating methods, and government regulations. 13 The
          phrase “reasonable certainty” expresses a high degree of confidence that the
          quantities will be recovered.14 In probabilistic terms, there should be at least a 90%




7
    See, e.g., KKR-SAM_0041904, at -909.
8
  Another class of resources is termed “Prospective Resources,” which implicates greater uncertainty than
  “Contingent Resources.”
9
  See, e.g., id. at -910.
10
   See, e.g., id.
11
   See, e.g., id.
12
   See, e.g., id.
13
   See, e.g., id. at -917.
14
   See, e.g., id.
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         probability that the quantities actually recovered will equal or exceed the
         estimate.15

17.      Unproved Reserves are of lower certainty and, based on different levels of certainty,
         Unproven Reserves are either Probable Reserves or Possible Reserves. Probable
         Reserves are those additional Reserves which are less likely to be recovered than
         Proved Reserves but more certain to be recovered than Possible Reserves. 16 It
         should be equally likely that actual remaining quantities recovered will be greater
         than or less than the sum of the estimated Proved plus Probable Reserves (“2P”).17
         In probabilistic terms, there should be at least a 50% probability that the actual
         quantities recovered will equal to or exceed the 2P estimate.18

18.      Possible Reserves are those additional reserves that are even less recoverable than
         Probable Reserves, which means the total quantities ultimately recovered from the
         project have a low probability to exceed the sum of Proved plus Probable plus
         Possible (“3P”).19 In probabilistic terms, there should be at least a 10% probability
         that the actual quantities recovered will equal or exceed the 3P estimate.20

19.      As mentioned, Proved Reserves are of “reasonable certainty.” PRMS further
         provides three subdivisions for Proved Reserves based on their development and
         production status, which are Proved Developed Producing Reserves (“PDP”),
         Proved Developed Non-Producing Reserves (“PDNP”), and Proved Undeveloped
         Reserves (“PUD”).

20.      PDP is a class of reserves of highest certainty. They are proved reserves that are
         expected to be recovered from completion intervals that are open and producing
         at the time of the estimate.21 PDNP has lesser certainty only because such intervals
         are not in production at the time of the estimate, but their production can be



15
   See, e.g., id.
16
   See, e.g., id.
17
   See, e.g., id.
18
   See, e.g., id.
19
   See, e.g., id. at -918.
20
   See, e.g., id.
21
   See, e.g., id. at -916.
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         initiated or restored with relatively low expenditure compared to the cost of drilling
         a new well.22

21.      PUDs are proved reserves that are expected to be recovered through future
         investments. 23 PUDs can be (1) from new wells on undrilled acreage; (2) from
         deepening existing wells to a different (but known) reservoir; (3) from infill wells
         that will increase recovery; or (4) where a relatively large expenditure—when
         compared to the cost of drilling a new well—is required to recomplete an existing
         well or install production or transportation facilities.24

22.      One way to understand the relationship between these different categories and
         subdivisions of reserves and resources is to use a PDP well as a reference point and
         evaluate the uncertainties of petroleum assets based on their distance to the PDP
         well. The general rule is that an undrilled location next to an existing PDP well can
         be classified as PUD. Areas that are two locations away from a PDP well can be
         classified as Probable Reserve, and three or more locations away as Possible
         Reserve. In reality, there are numerous other facts would affect the categorization
         decision, such as geology and rock characteristics.




22
   See, e.g., id.
23
   See, e.g., id.
24
   See, e.g., id.
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              Figure 1: Reserve and Resource Classification Based on Distance to PDP25

23.    Of course, within each category there exists uncertainty in the estimated volumes
       of hydrocarbons that may be present. There are specific technical requirements
       that must be met for each of the categories.

24.    Evaluation engineers, such as those at NSAI, are charged with the task of estimating
       the volumes and values of an oil and gas asset. Implicit in that task is the duty to
       provide the user of the evaluation with not only an estimate of the potential
       volumes that may be produced in the future, but also an indication of the degree
       of uncertainty in the estimate. This is done by placing the volumes in reserve
       categories as an indication of the uncertainty in the estimate.

       B.     Reserve Reports

25.    In the oil and gas industry there are two widely used report types that present the
       economics of petroleum development, production, and estimates of future

25
  NSAI Supplemental Production Hard Drive (9/2019), 11764_SAMSONINV > SEC Training Presentation >
 1 Samson SEC Guidelines Presentation 2012.ppt, at 45.
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        volumes and values. They are referred to as “Reserve Report” and “Market Value
        (or Fair Market Value) Report.”26

26.     Reserve reports can be prepared for an individual investment such as the drilling
        of a well to test future net profits against investment criteria, but also for a group
        of wells, or a field, or as is the case here, for an entire company. As mentioned
        above, NSAI issued a series of reserve reports in relation to the LBO.

27.     Reserve reports are used for a wide variety of purposes, including company
        planning, budgeting, and reporting to governmental agencies, such as the Security
        and Exchange Commission (“SEC”). The SEC requires all publicly listed oil and gas
        companies to file an annual reserve report prepared to their specifications, which
        largely align with PRMS.

28.     Reserves and resources assessment relies on the integrity, skill, and judgment of
        experienced professional evaluators, who present expected future oil and gas
        volumes and net cash flows for different categories of reserves and resources. The
        oil and gas volumes are first placed into the appropriate categories according to
        industry standards such as the PRMS. Then, for each category of hydrocarbon
        volumes, future product prices and net hydrocarbon volumes yield a net cash flow
        stream. Capital and operating costs, royalties, taxes, and other costs are deducted
        from the net cash flow to determine future net profits. Future net profits are then
        discounted back to the “as-of” date for the evaluation using various discount rates
        usually ranging from 0% to 30% and the resultant NPV are represented along with
        the relevant discount rates (e.g., PV10).

29.     In a reserve report, uncertainty is communicated by placing anticipated reserves in
        categories of Proved, Probable, and Possible. 27 Beyond classification, reserve


26
   Common to both report types is the use of discounted cash flow (“DCF”) tables. DCF is a general term to
 describe the process of calculating future cash flow net profits discounted to a common date.
27
   To account for uncertainties, when estimating the future volumes to be recovered, evaluators attempt to
 quantify uncertainties by either “deterministic” or “probabilistic” methods. When using deterministic
 methods, an evaluator makes her “best estimate” of the future volumes to be recovered. In contrast, when
 using probabilistic methods, an evaluator attempts to determine a range of values around the most likely.
 The estimates of volume are then used to predict the future cash flows from the petroleum property. Due
 to their inherently highly uncertain nature, Contingent and Prospective Resources are generally evaluated
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       reports (such as the NSAI reports issued in relation to the LBO here) do not
       consider risk in the calculation of volumes and net profits, i.e., they are un-risked.
       The various categories of reserves and resources inform the user of the report the
       general direction and range of uncertainty in the volumes and the chance of
       commerciality of the project. A reserve report may serve as the starting point of a
       market value opinion. But it is not a market value opinion. NSAI includes the
       following statement in their reports:

       Reserve categorization conveys the relative degree of certainty; reserves
       subcategorization is based on development and production status. The estimates
       of reserves and future revenue included herein have not been adjusted for risk. . . .
       Future net revenue presented in this report, whether discounted or undiscounted,
       should not be construed as being the fair market value of the properties.28
30.    Economic values from a reserve report should not be represented to be market
       value or an estimate of fair market value. Because of different levels of uncertainty
       in each reserve classification, un-risked volumes and un-risked values should not
       be aggregated. The concepts of uncertainty and risk must be accounted for in a
       determination of fair market value.

       C.      Market Value Reports

31.    Market value or fair market value reports are like reserve reports but with material
       differences, principal among them is the handling of risk in the evaluation. A
       market value report, different from a reserve report, additionally applies risk factors
       for purpose of aggregating volumes and cash flows of different categories of
       reserves and resources.

32.    There are three major components of risks associated with estimating volumes and
       values of an oil and gas asset:




 using probabilistic techniques. Reserves, however, are frequently estimated with deterministic methods,
 though they can be estimated probabilistically as well. Here, both KKR/RPM and NSAI used deterministic
 methods. See, e.g., KKR-SAM_0208021; KKR-SAM_0041904, at -908; NSAI 16279-31134 (attachment); NSAI
 17895-31134 (attachment).
28
   KKR-SAM_0041904, at -906; see also, e.g., NSAI 16279-31134 (attachment); NSAI 17895-31134
 (attachment).
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               Technological uncertainty that the hydrocarbon values estimated do exist in
                the ground (the “Geological risks”) and that the recoverable amounts can
                be recovered within the time frame projected (the “Reserve risks”);
               Economic uncertainty that product prices, operating costs, equipment costs,
                inflation, and market conditions will be in reasonable agreement with the
                assumptions used in the economic analysis (the “Economic risks”); and
               Political uncertainty that world economics, international political stability,
                taxation, and regulations will not be significantly different than perceived at
                the time of the evaluation (the “Political and Regulatory risks”).
33.     In light of these risks, there have been numerous technical papers and industry
        surveys on the application and appropriate selection of risk factors for each reserve
        category29. One of the commonly used industry survey is published by SPEE, titled
        “Society of Petroleum Evaluation Engineers Survey of Economic Parameters Used
        in Property Evaluations.” The survey presents the responses received from oil and
        gas producers, consultants, and bankers, and it reflects the composite opinions of
        the respondents.

34.     More specifically, to compensate for risks in determining the volumes and values
        of oil and gas properties, two of the most common risking methods are: (1) Reserve
        Adjustment Factor (“RAF”); and (2) Risk Adjusted Discount Rate (“RADR”).30 Some
        use RAF exclusively, others use RADR exclusively, and still others use the two
        methods together.31 A majority of respondents in SPEE’s survey in 2011 used the
        RAF method exclusively. As will be explained below, it is my opinion that RAF
        method is preferable to RADR method.




29
    Garb, Forrest, “Which Fair-Market-Value Method Should You Use?”, SPE, Journal of Petroleum
 Technology, January 1990; Garb, F.A., “Assessing Risk and Uncertainty in Evaluating Hydrocarbon
 Producing Properties”, SPE 15921, 1986.; Gustavson, J.B., Murphy, D.J., “Risk Analysis in Hydrocarbon
 Appraisals”, SPE 18905, 1989; SPEE, “Perspectives on FMV of Oil and Gas Interests”, October 1998, p. 20.
30
   Society of Petroleum Evaluation Engineers, Thirtieth Annual Survey of Parameters Used in Property
 Evaluation, at 29 (Jun. 2011).
31
   Id.
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                    Figure 2: SPEE Survey of How Respondents Adjust Cash Flow Models to
                    Account for Risk and Uncertainty (June 2011)32

35.        RAFs are used to downward-adjust reserves (or the cash flows derived from
           reserves) for risk by reserve status and category, and these factors are generally
           expressed as a percentage as shown below.33




32
     Id. at 30.
33
     Id. at 29.
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                              Risk Adjusted Factors Used for Acquisitions-
                                    Respondents Who Use Only RAFs
                   (57 Respondents)             Average      Minimum         Maximum
                   Proved Producting                96.3       90.0           100.0
                   Proved Shut-In                   82.7       50.0           100.0
                   Proved Behind-Pipe               78.1       50.0           100.0
                   Proved Undeveloped               60.3       25.0           100.0


                   Probable Producing               36.2        0.0           95.0
                   Probable Shut-In                 27.8        0.0           60.0
                   Probable Behind-Pipe             27.5        0.0           55.0
                   Probable Undeveloped             24.4        0.0           50.0


                   Possible Producing               9.9         0.0           30.0
                   Possible Shut-In                 8.7         0.0           50.0
                   Possible Behind-Pipe             8.0         0.0           50.0
                   Possible Undeveloped             6.6         0.0           50.0
                  Table 3: SPEE Survey of RAFs Used for Acquisitions by Respondents who Use
                  RAFs Exclusively (June 2011)34

36.      Different from RAFs, RADRs are in the form of discount rates. When an evaluator
         uses increased discounting to account for risks in evaluating the acquisition price
         or value of an oil or gas asset, that evaluator is using a RADR.35 The RADR should
         include a consideration for the cost of capital, a profit or expected rate of return
         for the buyer and any risk/uncertainty that the evaluator may choose to impute to
         the asset.36 Because RADR is defined to include both a profit for the buyer and a
         compensation for risk, it is expected that RADR will be larger than a firm’s “cost of
         debt” or “cost of capital.”37

37.      In my opinion risk factors should be applied where the uncertainties exist. As risks
         reside in production volumes and pertinent future cash flows, risk factors should
         be applied there rather than as discount rates. In a DCF analysis risk should be
         applied to expected volumes and operating expenses with commodity price


34
   Id. at 34.
35
   Id. at 29.
36
   Id.
37
   Id.
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         uncertainty handled by pricing scenarios. In my experience, RADR tends to paint
         with a broad brush and its use often underestimates value. Therefore, it has been
         my experience that RAF represents a better approach than does RADR to account
         for risks in reserve evaluation.38

38.      It is worth noting that industry practitioners have different approaches when it
         comes to where they apply the RAFs. Some practitioners apply RAFs to reserve
         volumes before performing DCF analysis or to revenues within the DCF analysis
         before subtracting future operating costs and capital costs.39 Other practitioners
         apply RAFs to the discounted cash flows directly or to the future net revenues after
         subtracting future costs.40 These methods typically yield a less conservative (i.e.,
         higher) valuation because expenses are reduced in proportion to reserves and
         revenues.41 Based on my experience and expertise in the field, I generally prefer a
         variation of the former approach, which is to apply RAFs to reserve volumes and
         future operating costs but before subtracting capital costs. In my opinion, this
         approach better aligns with the nature of operating costs and capital costs:
         Operating costs are more directly linked to actual production and thus are
         appropriately risked along with the volume projection; by contrast, capital costs
         are incurred as a prerequisite of actual production, if any. In my experience,
         applying RAFs to capital costs tends to overestimate the value of undeveloped
         reserves.

         D.     Decline Curves and Type Curves

39.      Another relevant technical background is about decline curve and type curve
         methods. This section discusses these two concepts.

40.      A necessary first step in forecasting oil and gas production from any reservoir is to
         develop an understanding of (1) the physical characteristics of the reservoir, (2) the
         geologic formation, and (3) the development strategy, including a determination
         of the type of wells that are to be drilled. These issues significantly influence

38
  The SPEE’s survey did not publish RADRs used by respondents for different reserve categories in 2011.
39
  Society of Petroleum Evaluation Engineers, Thirtieth Annual Survey of Parameters Used in Property
Evaluation, at 36 (Jun. 2011).
39
   Id.
40
   Id.
41
   Id.
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        whether, and to what extent, oil and gas can be economically recovered from a
        reservoir, as well as what efforts must be made to fully realize the reservoir’s
        production potential.

41.     There is a variety of methods for estimating recoverable quantities. The choice of
        which method an evaluator uses to forecast production depends in part on the
        quantity and quality of available data, including how long the field has been in
        production, along with her understanding of the above issues.

42.     Decline curve analysis is one of the commonly used methods and,42 in this case,
        both the Sponsors and NSAI used decline curves to evaluate SIC’s and SRC’s
        reserves.

43.     Decline curve analysis has been widely used since 1945.43 The basis of the analysis
        is the assumption that future production will continue to follow a past trend. The
        most basic requirement is that historical production actually follows a trend, i.e.,
        the data is “well behaved.” Without well-behaved data, any extrapolation results in
        high uncertainty.

44.     The advantage of using the decline curve technique to forecast recovery is that the
        method is easy to use, fast, and only requires historical production data. It is often
        used when production records are the only data available and the time to do the
        analysis is short. The disadvantage is that the results can be uncertain if production
        has been erratic. Additionally, simple decline curves do not take into account
        changes in future operating conditions that are likely to happen.

45.     In short, for wells that have been drilled and producing (i.e., PDP), the decline curve
        method uses those wells historical production data to forecast their future
        production. For wells yet to be drilled, there are multiple methods that can be used.


42
   Oil and gas wells have declining production with time with the highest production volumes normally early
 in the life of the well. Declining production is caused by declining pressure in the reservoir. There are
 several techniques that can be used to support reservoir pressure and slow the production decline.
 Graphical presentations of production have characteristic shapes that can be analyzed to predict future
 volumes.
43
   Brian F. Towler, Fundamental Principles of Reservoir Engineering (SPE Textbook Series Vol. 8, Society of
 Petroleum Engineers, 2002).
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        The choice of which method to use again depends on the quantity and quality of
        data and the time available. One of the commonly used methods—and also the
        method used by the Sponsors and NSAI in connection with the LBO—is the use of
        “type curves”.44

46.     The type curve method essentially uses the decline curve of representative PDPs
        to extrapolate future production profile for undrilled wells. The key is to determine
        whether a set of PDP wells are typical enough, so that a weighted average depiction
        of their production schedule can be used to serve as a proxy for undrilled wells in
        areas with similar geology and rock characteristics. Type curves developed from
        PDP wells that have high production rates and Estimated Ultimate Recovery (“EUR”)
        will have very different shapes than those developed from wells with low
        production rates and EURs. Evaluators should use their best efforts to ensure type
        curves are actually typical, thus not overestimating or underestimating the reserve
        estimates for the relevant region.

47.     Even in the same reservoir, a common source of supply, the geology, and rock
        characteristics can vary rapidly moving away from existing production. Therefore,
        type curves are usually specific to the local conditions of geology and rock
        characteristics where the relevant PDP wells are producing. To use too few type
        curves for too large a region is prone to overestimate or underestimate the
        reserves in that region. The figure below shows how performance of wells in close
        proximity can vary drastically.




44
  A type curve is represented as a table of dates and volumes of oil or gas that would be produced at that
 date. Usually, volumes are expressed as barrels of oil per day (bbl/d) or thousands of cubic feet of gas per
 day (Mcf/d) and dates are listed as month and year. The value of oil and/or gas for each month is the
 product of the rate times the number of days in the month. The maximum monthly volume is normally in
 the first few months of production with declining volumes thereafter. Monthly values are used to determine
 economics.
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               Figure 3: Type Curve Development Slide in NSAI Training Presentation45

      V. BACKGROUND OF THE LBO

48.     I understand that, pursuant to a Stock Purchase Agreement executed on November
        22, 2011 and closed on December 21, 2011, the Sponsors acquired the outstanding
        stock of SIC in the transaction referred to herein as the “Transaction” or “LBO.”
        Jefferies was the investment bank for the Selling Shareholders and led the
        marketing process leading up to the LBO. As part of that process, Jefferies supplied
        potential bidders—including KKR—with information about SIC’s assets. 46 That
        information included a “Samson Development Model” apparently developed by
        Jefferies that purports to show the value of SIC’s reserves (“Jefferies Model”).47




45
   NSAI Supplemental Production Hard Drive (9/2019), 11764_SAMSONINV > SEC Training Presentation >
 1 Samson SEC Guidelines Presentation 2012.ppt, at 59.
46
   NSAI Supplemental Production Hard Drive (9/2019), 11553_KKR > Data from Client > VDR.
47
   NSAI Supplemental Production Hard Drive (9/2019), 11553_KKR > Data from > Client > VDR >
Economics > Economic Model - Excel - Version 5.xlsm
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49.      Prior to the LBO, during the fall of 2011, NSAI was retained by KKR to provide an
         estimate of SIC’s Proved Reserves (the “NSAI 2011” Report),48 excluding the GoM
         Assets. NSAI was not retained by KKR to provide an estimate of Unproved
         Reserves.49

50.      Instead of relying on an independent petroleum-engineering firm for their reserve
         estimates, KKR had SIC’s PUD, Probable and Possible Reserves analyzed “in-house”
         by RPM,50 a firm sponsored by KKR.51 I understand that the two-founders of RPM
         who assisted KKR on this LBO joined KKR in November 2011, when the LBO was
         not yet closed.52

51.      After the LBO, the Sponsors retained NSAI to provide a full 3P report. That report,
         which is referred to herein as the “NSAI 2012 Report,” was dated August 1, 2012
         and evaluated Samson Resources Corporation’s (“SRC”) oil and gas reserves as of
         June 30, 2012.53

      VI. ANALYSIS & OPINIONS
         A. KKR/RPM’s Reserve Estimates

52.      NSAI is a well-respected independent petroleum-engineering firm. One of the
         services they provide is independent reserve reporting in the context of
         acquisitions and divestitures. NSAI’s reserve reports follow the industry-accepted
         methodology of placing reserves in the categories of Proved, Probable and
         Possible.




48
   KKR-SAM_0041904, at -906. The term “NSAI 2011 Report” as used in this report refers to both the final
 report and its supporting files and databases, as produced by NSAI on September 20, 2019.
49
   Id.
50
   KKR-SAM_0115081.
51
   Rockecharlie Deposition, at 11:2-17:3 (Sept. 30, 2019); see also Farley Deposition, 25:3-21 (Oct. 15, 2019).
52
   Id.
53
   NSAI 17895-31134 (and its attachment).
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53.       In my opinion, NSAI or another well-respected independent petroleum-
          engineering firm—such as Ryder Scott54 or DeGolyer and MacNaughton55—could
          have been retained to estimate SIC’s 3P reserves.56 Had it been given enough time,
          NSAI or another well-respected independent petroleum-engineering firm was
          qualified and competent to issue reserve reports on SIC’s total reserves, as NSAI
          did in 2012.57 Instead, as noted above, the Sponsors relied upon KKR’s in-house
          consultant RPM to evaluate undeveloped reserves prior to the LBO.

                  1. KKR/RPM’s Reserve Categorization

54.       In performing that evaluation, RPM’s methodology differed from the methodology
          that is typically employed by an independent petroleum-engineering firm and that
          is widely accepted in the industry.




55.       It is my opinion that the model used by KKR to value SIC in connection with the
          LBO (“KKR Deal Model”)61 is different from a reserve report such as those prepared
          by NSAI for the LBO. The methodology employed by KKR and RPM to value SIC’s
          unproved reserves and resources,              of the PV10 value, resulted in an

54
     Smidt Deposition, at 56:13-22 (Mar. 17, 2021)


55
     www.demac.com
56

                  KKR-SAM_0087683, at -685.
57
   NSAI 17895-31134.
58
   See, e.g., KKR-SAM_0208021.
59
   SAMS0187904, at -922.
60
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      overstatement of volumes and value. The number of drilling locations was
      overstated by multiple factors and their risking methodology was inconsistent with
      industry accepted definitions of reserves.

56.   The KKR Deal Model is a spreadsheet containing the necessary components to
      determine SIC’s net asset value (“NAV”), among other things. Chief among the
      components is the volume of oil, gas, and NGL to be produced in the future. The
      KKR Deal Model differs from a reserve report as it relates to the use of reserve
      categories and the scheduling of production. For example, all the NSAI reports
      schedule the future production by well, either existing or to-be-drilled wells. After
      a schedule of production is made, commodity prices, ownership interests, costs,
      taxes, and royalties are applied to determine an un-risked net cash flow, which is
      then used to determine NPV. If NSAI is tasked to issue a 3P report, then each well
      is assigned a reserve category of Proved, Probable, or Possible Reserves. Volumes
      and economics of all wells in each category are then summed.

57.   By contrast, the KKR Deal Model
                                                                . This is problematic. Both
      KKR and NSAI used deterministic methods to estimate reserves. When using
      deterministic methods, reserve categories are the first step in quantifying risk. If
      reserve categories are not used, it has been my experience that uncertainties and
      risks are prone to be underestimated. That is, reserve volumes and economic value
      tend to be overstated.

58.




                   Such a treatment makes it difficult to appropriately evaluate the
      uncertainties inherent in oil and gas properties and to later apply the appropriate
      risking methodologies.
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                2. Risking Methodology Employed by KKR/RPM

59.

                                            . For my analysis, I use gross locations, as this
        represents the actual wells to be drilled in order to produce the scheduled volumes
        of oil, gas and NGL.

60.     In the KKR Deal Model62, risk factors are tabulated for each sub-region and applied
        to the number of wells to be drilled. To get a general picture of KKR risk factors, I
        grouped the number of wells into three categories corresponding to the reserve
        category risk factors previously discussed. For example, in the KKR Deal Model
        spreadsheet, there is a tab for the Powder River region labeled “Powder River
        Inputs.” On this tab the Powder River region is divided into 18 sub-regions. Each
        sub-region lists the EUR for gas, oil and NGL, un-risked gross locations and a risk
        factor among other things. I tabulated this information then grouped sub-regions
        according to the assigned risk factor. Of the 18 sub-regions, 7 showed a risk factor
        of 60% or greater, 5 had risk factors between 30% and 59% and 6 had risk factors
        less than 30%. For each of the three risk groups I totaled the number of gross
        locations: 2,114 in the 60% or greater group, 2,480 in the 30% to 59% group and
        2,374 in the less than 30% group. I used the same procedure for each region and
        tabulated the results by region. Table 4 below presents the results along with the
        NSAI well count by reserve category (taken from my rollback of the NSAI 2012
        Report63 discussed more fully below).




62
  KKR-SAM_0208021, Development Input tabs show risk factors and unrisked gross locations.
63
  NSAI 17895-31134, together with supporting digital files, spreadsheets and databases. The NSAI files
contain spreadsheets called “Oneline”. Preliminary Reserves and Contingent
Rsources_Oneline_7.26.12.xlsx.
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                                                          Gross Well Locations
                        Regions




                                                   PUD         Probable          Possible
                NSAI Gross Well Locations
                 Table 4: Gross Well Locations Grouped by KKR Risk Factor

61.        There is a stark difference in the well count between KKR and NSAI. The KKR total
           gross wells to be drilled are            compared to        identified by NSAI, a
           multiple of six times as many wells. Differences of this magnitude go beyond
           qualified evaluators’ difference of opinion about geology and reservoir extent. It
           speaks to a fundamental difference in the approach to estimating reserves. For
           example, the PUD reserve sub-category is part of Proved reserve category and
           carries a “reasonable certainty” standard with it.

62.




63.



64
     Id.
65
     NSAI Supplemental Production Hard Drive (9/2019),11764_SAMSONINV\ARIES\NS0712.mdb.
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64.




                           Removed Locations from NSAI August 1, 2012 Report
                             NSAI Reserve Category             Wells




                   Table 5: Removed locations form NSAI August 1, 2012 Report

65.




66.       In summary, for the Development portion of the KKR Deal Model, without regard
          to issues of commodity price or costs, the number of locations is overstated by
          multiple factors, risk factors are not consistent with the concepts of the PRMS
          reserve definitions, and the resulting volumes and associated economics are
          significantly overstated.

                  3. The Type Curve Method Employed by KKR/RPM

67.       An additional issue with KKR Deal Model is how the volumes of oil, gas, and NGL
          were scheduled. The future production of PDP is normally forecast by extrapolating
          historical production. For wells yet to be drilled, both KKR and NSAI used the “type


66
     NSAI 2012 Report and associated files.
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      curves” method as discussed above. But KKR’s application of the type curve
      method was a significant departure from recognized methods.

68.   As mentioned above, type curves are specific to the local conditions of geology
      and rock characteristics, where the existing wells are producing.




69.




71.   This method deviates from standard industry practice and distorts the present
      value calculation.
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                4. KKR Deal Model and Jefferies Model

72.




                                                     Gross Well Locations
                              Regions
                                                      KKR        Jefferies




                Table 6: Comparison of gross well locations.

73.




67
     KKR-SAM_0208021 (

68
     KKR-SAM_0208021
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        B.       Rollback of NSAI 2012 Report

74.     The NSAI 2012 Report provided estimates for Proved, Probable, and Possible
        Reserves by qualified evaluators, and the results went through rigorous quality
        control for accuracy. 69 The PDPs are estimated using decline curve analysis to
        forecast oil, gas, and NGL production. The estimates for undeveloped reserves were
        determined by using type curves to estimate oil and gas reserves based on the
        proximity to producing wells with comparable reservoir characteristics. The
        undeveloped reserves were placed in the subdivision of PUD and the categories of
        Probable and Possible Reserves,70 while uneconomic properties were categorized
        as Contingent Resources.

75.     As comprehensive and rigorous as NSAI 2012 Report is, we can make certain
        adjustments to “roll” it back to reach reasonable estimates for SIC’s reserves and
        resources as of September 30, 2011, which was the effective date of the November
        2011 NSAI Report. 71 As one NSAI representative testified, “assuming no major
        discoveries between the [dates of the two reports] or major developments, one
        would think that the… gross volumes would be the same,”72 and that “on a pure
        technical basis, I would think they would be very similar between the two time

69
   See, e.g., NSAI 16489-31134; NSAI 11942-31134; NSAI 18218-31134; NSAI 18226-31134; NSAI 18238-
 31134; NSAI 18264-31134.
70
   NSAI 17895-31134 (attachment).
71
   It is my understanding that the Sponsors signed the Stock Purchase Agreement for the LBO in November
 22, 2011 and that the LBO closed on December 21, 2011. NSAI issued a reserve report by November 16,
 2011 to provide its estimates of SIC’s total proved reserves as of September 30, 2011. Based on my
 experience, I think this as-of date is sufficiently close to the signing and closing date so as to be relied on
 in evaluating the transaction with respect to volumes. Therefore, in my analysis I roll back the NSAI 2012
 Report to September 30, 2011. The Sponsors could have asked NSAI to update its reserve report on
 November 22, 2011 and December 21, 2011 with the commodities price decks of the day. This is why I
 have run three price decks in my rollback exercise: September 30, 2011, November 22, 2011, and December
 21, 2011.
72
   Norton Deposition, at 136:15-18 (Mar. 25, 2021).
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           periods.”73 That NSAI representative appropriately cautioned that “these reports
           are done under very different economic parameters, so results are going to be
           significantly different because of that.” 74 NSAI is correct that the economic
           parameters used in the NSAI 2012 Report were different from those used in the
           NSAI 2011 Report. The adjustments I make in my rollback analysis account for
           those differing economic parameters, as explained below. In general, adjustments
           to the NSAI 2012 Report are necessary to roll the effective date of the June 30,
           2012 report back to the effective date of the NSAI 2011 Report, which is September
           30, 2011:

                  Rollback of the commodity prices;
                  Classification of newly drilled wells;
                  Revival of uneconomic wells;
                  Adjustment of NGL;
                  Adjustment of costs.
76.        NSAI’s database,75 which contains all the information necessary to identify each
           property was used to perform the rollback. The database also includes historical
           production and economic information to allow an evaluator to forecast the future
           cash flow of each property. This database allows for summarizing groups of the
           properties, such as by reserve and resource categories for reporting. The rollback
           was performed by changing the effective date of June 30, 2012 for the NSAI 2012
           Report to the effective date of September 30, 2011 for the NSAI 2011 Report. None
           of NSAI’s production forecast or NGL component values were changed on any of
           the properties.

77.        Rollback of the commodity prices: The database for NSAI’s 2012 Report included
           price differentials for oil and natural gas, and these inputs were not changed. These
           price differentials are used to normalize the realized prices received for oil and
           natural gas for each property back to the associated NYMEX price.




73
     Id. at 136:22-23.
74
     Id. at 136:19-21.
75
     NSAI Supplemental Production Hard Drive (9/2019), 11764_SAMSONINV.
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78.    Commodity prices were changed to reflect NYMEX at the time of the LBO as
       opposed to the SEC pricing parameters used in the NSAI 2012 Report. The
       commodity prices were reviewed to determine the impact on the significant loss in
       PV10 between the fall of 2011 and August 2012. There are two graphs below show
       the trend of (1) NYMEX WTI Crude Oil Futures prices and (2) NYMEX Henry Hub
       Natural Gas Futures prices for natural gas as of three dates, September 30, 2011,
       November 22, 2011, and December 21, 2011.

79.    The oil, gas, and NGL NYMEX Futures Price decks were obtained from historical
       price data from the CME Group. These prices were the 10-year forward strip prices.
       The NYMEX WTI Futures Crude Oil Prices depicted in Figure 4 shows the oil futures
       prices trending into backwardation as of the dates of November 22, 2011, and
       December 21, 2011, which means the current price of oil is higher than the contract
       price of oil in the future. The NYMEX Henry Hub Futures prices for natural gas
       depicted in Figure 5 shows the future contract price of natural gas prices was in
       contango, which means future contract prices are higher than the current price,
       but the price was continuing to drop lower in the later price decks.

80.    Figure 4 shows the NYMEX WTI Crude Oil Futures Prices (NYMEX WTI Strip) forward
       curve for oil prices. The red curve is the price used in the NSAI 2011 Report.76 The
       NYMEX WTI Strip at the time of this report was $96.06 per barrel and increased to
       $101.49 by December 2013, then dropped off. The prices increased and peaked at
       $102.04 per barrel by the end of 2019. The green curve is NYMEX WTI Strip price
       as of November 22, 2011, starting at $98.01 per barrel, followed by a peak at $98.51
       in June 2012, then dropping to a low $92.02 by March 2016. The orange curve
       shows the NYMEX WTI Strip price as of December 21, 2011, starting at $98.67 per
       barrel in February 2012, dropping to a low of $90.39 per barrel, then increasing to
       $92.70 per barrel by 2021. This graph of NYMEX WTI Strip prices gives a reasonable
       indication that oil prices would be lower in the future.




76
  KKR-SAM_0041904, at -919 & 920. Although that report was of September 30, 2011, the price deck
used was as of July 31, 2011. George Deposition, at 256:5-12 (Feb. 25, 2020).
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            Figure 4: NYMEX WTI Futures Crude Oil Prices

81.   Figure 5 shows the NYMEX Henry Hub Natural Gas Futures Prices (NYMEX HH Strip)
      forward curve for natural gas prices with the prices as of the date of each in the
      legend. Note that NYMEX HH Strip prices were lower with each price deck but were
      increasing over time.
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               Figure 5: NYMEX Henry Hub Futures Natural Gas Prices

82.    Classification of newly drilled wells: 77




77
  The NSAI 2012 Report includes PUDs that were not yet determined to be proved reserves in the NSAI
2011 Report. Such PUDs thus were at most Probable reserves at the time of the NSAI 2011 Report. To give
SIC the benefit of the doubt, I have kept them as PUDs in this rollback exercise.
78
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83.




                                               .

84.     Revival of uneconomic wells: Locations that were not classified as reserves
        because they were uneconomic based on the economic parameters used in the
        NSAI 2012 Report, but which would have been economic under NYMEX prices as
        of the LBO, were included as reserves in the appropriate reserve category.

85.

                                                                                                          e
        a




79
   NSAI 17895-31134, together with supporting digital files, spreadsheets and databases. The NSAI files
contain spreadsheets called “Oneline.” Preliminary Reserves and Contingent
Rsources_Oneline_7.26.12.xlsx.
80
   PRMS, p. 3.
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86.       Adjustment of NGL:




87.       Adjustment of Costs:




                  .

88.       After the effective date rollback and changes described above, the reserves and
          associated economics were recalculated using NYMEX Futures prices for oil, gas,
          and NGLs on November 22, 2011 and December 21, 2011. Table 7 presents the
          volumes and PV10 value by reserve category.




81
     KKR-SAM_0041904, at -907.
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                                 NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
                                                Un-Risked Reserves
November 22, 2011 - Price Deck                         Net Reserves                       Future Net Revenue (MM$)
                                   Oil           Gas            NGLs         Gas eq                     Present Value
         CATEGORY                (MMBBL)        (BCF)         (MMBBL)        (BCFe)        Total           at 10%




December 21, 2011 - Price Deck                         Net Reserves                       Future Net Revenue (MM$)
                                   Oil           Gas            NGLs         Gas eq                     Present Value
         CATEGORY                (MMBBL)        (BCF)         (MMBBL)        (BCFe)        Total           at 10%




                    Table 7: Samson Investment’s Un-risked PV10 value as of 9/30/2011

89.       By November 22, 2011, NSAI would have reasonably concluded that Samson
          Investment had approximately       Bcfe of un-risked proved, probable, and
          possible reserves with          of un-risked PV10 value as of September 30,
          2011.

90.       By December 21, 2011, NSAI would have reasonably concluded that Samson
          Investment had approximately      Bcfe of un-risked proved, probable, and
          possible reserves with           un-risked PV10 value as of September 30,
          2011.

          C.        Value Estimates Based on Rollback Results

91.       In KKR Deal Model, the risking methodology disregarding reserve categorization,
          as explained above, is prone to overestimate the volumes and values of petroleum
          properties. In this section, I apply RAFs—a risking methodology well accepted in
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                          the industry—and arrive at an independent value estimate of SIC’s reserves and
                          resources based on the volume outcome in the rollback exercise described above.

             92.          For comparison, Table 8 below shows the PV10 values when run as Un-risked (no
                          RAFs applied), Minimum RAFs (high risk), Average RAFs (average risk), and
                          Maximum RAFs (low risk) using the appropriate risking factor specified.82

                                                 UNRISKED                                                           MINIMUM - HIGH RISK
                  NSAI 8/1/2012 Report Rolled Back as of 09/30/2011                             NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
  Price                                                                TOTAL          Price                                                         TOTAL
                  PDP        PDNP       PUD         PRB        POS                              PDP        PDNP       PUD         PRB        POS
Scenarios                                                              MM$          Scenarios                                                       MM$
 9/30/2011                                                                          9/30/2011
11/22/2011                                                                         11/22/2011
12/21/2011                                                                         12/21/2011


                                    AVERAGE - AVERAGE RISK                                                            HIGH - LOW RISK
                  NSAI 8/1/2012 Report Rolled Back as of 09/30/2011                             NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
  Price                                                                TOTAL          Price                                                         TOTAL
                  PDP        PDNP       PUD         PRB        POS                              PDP        PDNP       PUD         PRB        POS
Scenarios                                                              MM$          Scenarios                                                       MM$
 9/30/2011                                                                          9/30/2011
11/22/2011                                                                         11/22/2011
12/21/2011                                                                         12/21/2011

                                     Table 8: Risked Value of Samson Investment’s Reserves as of 9/30/2011




             93.          Table 9 below shows risked volumes and values for the average risking scenario
                          using pricing as of November 22, 2011 and December 21, 2011.




             82
                  See Table 3 above for the RAFs.
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                                 NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
                                         Risk Adjusted Values - Average Risk
November 22, 2011 - Price Deck                        Net Reserves                      Future Net Revenue (MM$)
                                     Oil           Gas           NGLs        Gas eq                    Present Value
           CATEGORY               (MMBBL)         (BCF)       (MMBBL)        (BCFe)      Total            at 10%




December 21, 2011 - Price Deck                       Net Reserves                       Future Net Revenue (MM$)
                                    Oil            Gas         NGLs         Gas eq                     Present Value
           CATEGORY               (MMBBL)         (BCF)      (MMBBL)        (BCFe)       Total            at 10%




                      Table 9: Risked Adjusted Values

    94.      For illustrative purposes, I have been asked to run a different scenario using the
             same methodology, but with RAFs that were higher (i.e. less risk), and result in a
             higher value. I understand that these are the RAF ranges used in the expert report
             of Scott Baxter of BRG, which are shown in Table 10 below.
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                               RAFs by Reserves Category (%)
                            Risking Percentage Applied to PV10%
                         PRMS‐Defined
                         Category          Low        Med         High
                         PDP               100        100         100
                         PDNP               90         90          90
                         PUD                60         70          80
                         Probable           25         35          50
                         Possible           10         18          25
             Table 10: Sensitivity Scenario Risk Factors

95.    Table 11 below shows the reserve value when run as Un-risked (no RAFs applied),
       and Medium RAFs (medium risk) using the BRG RAFs specified in Table 10.
                                             UNRISKED
                    NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
               Price                                                          TOTAL
                          PDP     PDNP       PUD        PRB          POS
             Scenarios                                                         MM$




                                   MEDIUM RAF % - MEDIUM RISK
                    NSAI 8/1/2012 Report Rolled Back as of 09/30/2011
               Price                                                          TOTAL
                          PDP     PDNP       PUD        PRB          POS
             Scenarios                                                         MM$
             9/30/2011   $4,587      $47      $957          $27          $0    $5,618
            11/22/2011   $2,903      $41     $1,022         $10          $0    $3,976
            12/21/2011   $2,768      $35      $369          $26          $0    $3,198
             Table 11: Risked Adjusted Values Based on Sensitivity Scenario Risk Factors

VII.   CONCLUSION

96. The NSAI 2012 Report is a comprehensive, rigorous, and better depiction of SIC’s
    reserves. The rollback of that report using commodity prices as of December 21, 2011
    provides a reasonable basis to determine the fair value of SIC’s reserves at the time
    of the Transaction. As seen in Table 8 above, values range from $2,371 million (High
    Risk) to $5,609 million (No Risk). A “no risk” scenario is not a reasonable
    representation of value and I exclude the value. Therefore, based on my rollback
    analysis, and using the average of the three risked values as of the date the LBO
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       closed, a reasonable estimate of the fair value of SIC’s reserves as of that date was
       $3,104 million ($3.104 billion).

97. I note further that my risking of Samson’s reserves results in very little value placed
    on Samson’s unproved reserves and does not allocate any value to Samson’s
    contingent resources. In my experience, purchasers will often place little-to-no value
    on such unproven acreage. However, I am aware that Samson’s own internal
    methodology for valuing all undeveloped reserves and resources (which include
    PUDs) -- a cost-based method -- placed a value on such assets of                   as of
    June 30, 2011.83 Even if one were to add this amount to the $3.104 billion value
    conclusion above, the total would be               and this would include potentially
    significant double-counting of PUDs. Therefore, even if one were to use Samson’s
    own method for determining the value of undeveloped assets, combined with my
    valuation above, the total value of Samson’s reserves and resources would be less
    than               .




83
     SEC-00187474, at -477.
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                                  LIST OF APPENDICES

1.   Appendix A: Dr. Richard Strickland CV

2.   Appendix B: List of other cases

3.   Appendix C: List of Reviewed Information

4.   Appendix D: PRMS

5.   Appendix E: Division Well Counts
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             EXHIBIT F
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             EXHIBIT I
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